Case 2:19-cv-04078-RBS   Document 90-1   Filed 04/07/25   Page 1 of 93




                         EXHIBIT 1
     Case 2:19-cv-04078-RBS    Document 90-1     Filed 04/07/25   Page 2 of 93



                                                                        Page 1

 1
 2        IN THE UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF PENNSYLVANIA
 3        PHILADELPHIA COUNTY
          CASE NO. 19-04078-RBS
 4        ----------------------------------------x
 5        EVELYN CINTRON,
 6                     Plaintiff,
 7              v.
 8        CITY OF PHILADELPHIA, et al,
 9                     Defendants.
10        ----------------------------------------x
11                                   1717 Arch Street
                                     Philadelphia, Pennsylvania
12
                                     October 28, 2022
13                                   11:03 a.m.
14
15                     VIDEOTAPED DEPOSITION of EVELYN
16        CINTRON, the Plaintiff, held at the
17        above-entitled time and place, taken before
18        Carolyn Crescio, a Professional Shorthand
19        Reporter and Notary Public of the State of
20        Pennsylvania.
21
22
23                              *       *        *
24
25

                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
 Case 2:19-cv-04078-RBS                               Document 90-1        Filed 04/07/25        Page 3 of 93


                                                             Page 2                                                    Page 4
 1                                                                     1               E. CINTRON
 2   A P P E A R A N C E S:
 3                                                                     2          of the City of Philadelphia and
     MINCEY, FITZPATRICK & ROSS, LLC                                   3          Joseph Sullivan.
 4   Attorneys for Plaintiff
       1650 Market Street                                              4            MR. GREEN: Isaac Green on behalf
 5     Suite 3600                                                      5          of plaintiff, Evelyn Cintron.
       Philadelphia, Pennsylvania 19103
 6   BY: ISAAC H. GREEN, ESQ.
                                                                       6            THE VIDEOGRAPHER: The court
 7                                                                     7          reporter, Carolyn Crescio, will now
 8
     O'HAGAN MEYER
                                                                       8          swear the witness.
 9   Attorneys for Defendant Police Athletic League                    9
       1717 Arch Street                                               10   E V E L Y N C I N T R O N, the witness herein,
10     Suite 3910
       Philadelphia, Pennsylvania 19103                               11   after having been first duly sworn by a Notary
11   BY: KEVIN L. GOLDEN, ESQ.                                        12   Public of the State of Pennsylvania, was examined
12
13                                                                    13   and testified as follows:
14   CITY OF PHILADELPHIA LAW DEPARTMENT                              14   BY THE COURT REPORTER:
     Attorneys for Defendant City of Philadelphia and
15   Joseph Sullivan
                                                                      15       Q. Please state your name for the
       1515 Arch Street                                               16   record.
16     16th Floor
                                                                      17       A. Evelyn Cintron.
       Philadelphia, Pennsylvania 19102
17   BY: SHARON ULAK, ESQ.                                            18   EXAMINATION
18                                                                    19   BY MR. GOLDEN:
19
20   ALSO PRESENT:                                                    20       Q. Good morning, Ms. Cintron.
     DENZEL SINCLAIR, Videographer                                    21       A. Good morning.
21
     CANDACE HARDY, Esq.                                              22       Q. My name is Kevin Golden. We met off
22                                                                    23   the record a couple minutes ago. Can I ask,
23
24
                                                                      24   have you ever been deposed before, a situation
25                                                                    25   like this, a deposition?
                                                             Page 3                                                    Page 5
 1                                                                     1                E. CINTRON
 2                 THE VIDEOGRAPHER: All right. We                     2        A. Yes.
 3               are now on the record. My name is                     3        Q. Okay. Approximately how long ago
 4               Denzel Sinclair. I'm the                              4   were you last deposed?
 5               videographer retained by -- on the                    5        A. I don't recall.
 6               record.                                               6             MR. GREEN: Excuse me, Kevin, I
 7                 This is a video deposition                          7           don't mean to interrupt. I just
 8               through the United States District                    8           want to just, at least for purposes
 9               Court of the Eastern District of                      9           of the record, reserve my client's
10               Pennsylvania.                                        10           right to read and sign.
11                 Today's date is October 28, 2022.                  11        Q. Ms. Cintron, what I would like to do
12               The time is 10:59 a.m.                               12   is, before we get started, go over some ground
13                 This deposition is being held at                   13   rules that will hopefully make today's
14               1717 Arch Street, Philadelphia, PA,                  14   deposition move a little bit more smoothly, and
15               in the matter of Evelyn Cintron                      15   make sure that we kind of understand each other
16               versus the City of Philadelphia, et                  16   as we work through the day.
17               al. The deponent is Evelyn Cintron.                  17        To your left you'll see the court
18                 Will all counsel please identify                   18   reporter. She will be taking down everything
19               themselves for the record.                           19   that I am saying and everything that you are
20                 MR. GOLDEN: My name is Kevin                       20   saying, so I'm going to do my very best not to
21               Golden of O'Hagan Meyer. I'm joined                  21   interrupt you when you are giving me an answer.
22               by my colleague, Candace Hardy. We                   22   And I would ask that, at the same time, if I'm
23               represent the defendant, Police                      23   in the question, you allow me to finish the
24               Athletic League.                                     24   question. You may sometimes know where I'm
25                 MS. ULAK: Sharon Ulak on behalf                    25   going with the question. You may know exactly

                                                                                                            2 (Pages 2 - 5)
                                           Veritext Legal Solutions
                         215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
 Case 2:19-cv-04078-RBS               Document 90-1            Filed 04/07/25         Page 4 of 93


                                                 Page 6                                                       Page 8
 1                 E. CINTRON                              1                E. CINTRON
 2   what I want to ask, but in order to prevent us        2   tell me, are you today currently employed?
 3   from talking over each other, which makes the         3        A. No.
 4   court reporter's job more difficult, I would          4        Q. Working backwards, what was the last
 5   like to -- I'm going to do my best to make sure       5   job that you held?
 6   I don't interrupt you, and hopefully we can work      6        A. I recently worked a few months at
 7   that way, we are not talking over each other,         7   Sephora as a beauty adviser.
 8   okay?                                                 8        Q. You know what, let me step back with
 9       A. Okay.                                          9   another question.
10       Q. If I ask you any questions that you           10        Do you currently reside in the state of
11   do not understand, if I've used a term, or the       11   Pennsylvania?
12   question itself you don't understand it, please      12        A. No.
13   just let me know. I'll do my best to rephrase        13        Q. Which state do you reside in?
14   and reask it in a way that is more clear for         14        A. Georgia.
15   you. Does that make sense?                           15        Q. And how long have you been in
16       A. Yes.                                          16   Georgia?
17       Q. I don't want you to have to guess.            17        A. I've been there since 2017, 2018,
18   So if I ask you a question and you don't know        18   when I left the job.
19   the answer, it's quite fine to say, I don't          19        Q. And when you say, "left the job," do
20   know. If you feel that it would help to say,         20   you mean with the City of Philadelphia?
21   Well, I don't know whether it was between X and      21        A. Yes.
22   Y, with an approximation, that's fine. I only        22        Q. The position that you held with
23   want to ask -- I only want to know from you the      23   Sephora, do you know approximately how long you
24   things you actually know.                            24   held that?
25       If we get to a point where you need to           25        A. I think it was just four months.
                                                 Page 7                                                       Page 9
 1                E. CINTRON                               1             E. CINTRON
 2   take a break, that's quite fine. Just let me          2        Q. And was that in 2022 or 2021, if you
 3   know, and we will work with you to take that          3   recall?
 4   break, for whatever reason. I don't need to           4        A. 2022.
 5   know what that reason is. The only question I         5        Q. And what was -- did you hold a
 6   would -- pardon me, the only reservation I would      6   position -- any jobs before working in Sephora?
 7   make is that if I have a question that I've           7        A. I worked for Off Duty Management.
 8   asked, that we allow you to answer that question      8        Q. And do you recall --
 9   before we take the break. Is that okay for you?       9        A. That was approximately 2020.
10       A. Yes.                                          10        Q. And do you know how long you held
11       Q. And the last, I guess, ground rule,           11   that job?
12   I would say, is because the court reporter is        12        A. Six months, approximately.
13   transcribing all of our exchanges, I'd ask that      13        Q. Was the position with Sephora, was
14   everything that you say -- and I'll do the best      14   that an hourly or salary position?
15   from my end -- is to make sure all of your           15        A. Hourly.
16   responses are verbal. If you sometimes shake         16        Q. And do you recall what that hourly
17   your head or nod, that's general -- I mean,          17   rate was?
18   people normally communicate that way, but it's       18        A. Seventeen dollars an hour.
19   harder to reflect it on the record. So at some       19        Q. Did you have a set schedule or could
20   point I may need to say to you, Oh, is that a        20   it change from week to week?
21   "yes" or is that a "no"? But just generally          21        A. It fluctuated.
22   speaking, if you could try, make sure all your       22        Q. And the job with Off Duty
23   responses are verbal. Is that okay?                  23   Management, was that an hourly or a salary?
24       A. Yes.                                          24        A. It was salary.
25       Q. All right. Ms. Cintron, can you               25             MR. GOLDEN: Let's do PAL-1.

                                                                                                3 (Pages 6 - 9)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
 Case 2:19-cv-04078-RBS               Document 90-1            Filed 04/07/25        Page 5 of 93


                                                Page 10                                                 Page 12
 1                 E. CINTRON                              1                 E. CINTRON
 2              (Off Duty Management letter is             2       Q. Okay. So the company would do that.
 3            received and marked as Exhibit PAL-1         3   Your position was to work to obtain other
 4            for identification, as of this               4   clients; is that correct?
 5            date.)                                       5       A. Yes. And they would feed us the
 6        Q. Ms. Cintron, just so you know, I'm            6   clients to work with.
 7   going to have the court reporter put a label on       7       Q. Was there -- apart from the Sephora
 8   it, and then she will allow you to look at it.        8   and Off Duty Management positions, have you held
 9        A. Okay.                                         9   any other jobs since the end of your employment
10        Q. You can familiarize yourself with            10   with the City of Philadelphia?
11   it.                                                  11       A. No. When I left Off Duty
12        Ms. Cintron, is this -- is this a -- let        12   Management, I was in good standing, and I had
13   me step back. This is a record we obtained from      13   over $30,000 in compensation that they owed me.
14   Off Duty. Does this appear to be the offer           14   And when we went to the Chief of Police
15   letter that extended you the employment with Off     15   Association Conference, my boss, Greg Doran,
16   Duty?                                                16   spoke to Deputy Commissioner Coulter. And after
17        A. It appears to be, yes.                       17   being given a great review of how I was doing
18        Q. And does the start date of                   18   with this company, a few days later I was
19   August 19, 2019, is that approximately when you      19   terminated.
20   began working with Off Duty?                         20       Q. That -- you mentioned -- what was
21        A. Yes.                                         21   the name of that conference you were attending?
22        Q. And this says there was a salary, a          22       A. It was the Chief of Police
23   base salary of 66,000. Is that accurate?             23   Conference. And while I was in -- I forgot what
24        A. Yes.                                         24   state I was in with one of my coworkers, Greg
25        Q. When you held this position, was             25   Doran attended the Chief of Police Conference, I
                                                Page 11                                                 Page 13
 1                 E. CINTRON                              1                E. CINTRON
 2   there any other pay that you received, like           2   believe here in Philadelphia, where he met
 3   overtime, bonuses, anything apart from the base       3   Deputy Commissioner Coulter and had a
 4   salary?                                               4   conversation with him about me. And the next
 5        A. I was supposed to receive bonuses,            5   thing you know, that Monday, I was told that
 6   but they never paid me for my bonuses.                6   they no longer needed me.
 7        Q. And this -- the position was a                7       Q. And so Mr. Doran -- so your
 8   business-development manager; is that correct?        8   employment at that time was terminated by Off
 9        A. They manage overtime hours for                9   Duty?
10   police departments throughout country.               10       A. Well, basically, they told me they
11        Q. And just so I'm clear, was your              11   didn't need me no more, and they claimed it was
12   title the business-development manager?              12   because of my performance, on that Monday. But
13        A. Yes.                                         13   that Friday they had -- we had a meeting, and I
14        Q. And, generally, can you tell me what         14   was given praise about how well I was doing --
15   the -- what that position entailed?                  15   until he had a conversation with Deputy
16        A. Greg Doran recruited me from                 16   Commissioner Coulter of the Philadelphia Police
17   LinkedIn. And my job was to basically secure         17   Department.
18   accounts for -- from the different police            18       Q. And so that conference, would it
19   departments for the company.                         19   have occurred in 2020?
20        Q. And so when you say to get those             20       A. I believe so.
21   accounts, I think, if I understand you               21       Q. And it was here in Philadelphia?
22   correctly, it would be accounts where you would      22       A. I believe this is where he spoke to
23   manage those police departments' overtime?           23   her, yes.
24        A. I wouldn't manage the overtime. The          24       Q. And that's Deputy Commissioner
25   company would.                                       25   Coulter, correct?

                                                                                            4 (Pages 10 - 13)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
 Case 2:19-cv-04078-RBS               Document 90-1            Filed 04/07/25        Page 6 of 93


                                                Page 14                                                  Page 16
 1                E. CINTRON                           1                     E. CINTRON
 2       A. Yes.                                       2       did not relay what was the content -- context of
 3       Q. What did -- did Deputy Commissioner        3       that conversation.
 4   Coulter tell you about that conversation?         4            Q. And so he didn't relay the contents
 5       A. No. My coworker, Jeff.                     5       of the conversation between Greg and Deputy
 6       Q. What is Jeff's last name?                  6       Commissioner Coulter, correct?
 7       A. I don't recall.                            7            A. Yes. He just told me -- giving me
 8       Q. He's an employee of Off Duty?              8       the heads-up, Prepare, because it doesn't sound
 9       A. Yes.                                       9       good.
10       Q. And can you tell me what you              10            Q. Do you recall the conference you
11   remember Jeff told you about that conversation?  11       were attending, the name of what that conference
12       A. He stated that while our boss, Greg       12       was?
13   Doran, was at the conference, he met my previous 13            A. It was -- basically, they had, like,
14   boss, Deputy Commissioner Coulter, and that he   14       different conferences about, you know,
15   had a conversation with her about me. And he --  15       equipment, police equipment, and they would send
16   and that Greg Doran had told him that. And he    16       us to get leads from those places. I can't
17   basically was telling me, Prepare, because I     17       recall exactly where I was at. I believe it
18   don't know what that's all about.                18       might have been -- I don't remember. We went to
19       Q. Did he tell -- did Jeff tell you --       19       so many places, I can't recall which one I was
20   I just want to try to be clear -- did Jeff tell  20       at, at that time.
21   you what Greg told Deputy Commissioner Coulter? 21             Q. So -- and then can you tell me how
22       A. No. He was just basically giving me       22       your employment -- what happened next? Did Greg
23   a heads-up, and it wasn't good because -- based  23       call you? Like, how did your employment with
24   on his conversation with Greg.                   24       Off Duty terminate?
25       Q. So this was a conversation, as Jeff       25            A. Well, Friday, prior to that Monday
                                                Page 15                                                  Page 17
 1                E. CINTRON                               1                E. CINTRON
 2   related to you, that he either participated in        2   where I received the call that I was no longer
 3   or overheard between Mr. Doran and Deputy             3   needed, we had a conference call where Greg
 4   Commissioner Coulter?                                 4   would talk to everyone on the line about
 5       A. No. This is a conversation that                5   everyone's achievements and celebrate the
 6   Greg Doran had with Jeff over the phone, while        6   achievement. And that Friday, he gave me my
 7   we were at a different location at a different        7   props about how great I was doing, how many
 8   conference.                                           8   accounts I had secured. And he even mentioned
 9       Q. So if I understand it correctly,               9   the bonus that I would receive. And that
10   Greg called Jeff and relayed the conversation he     10   Monday, to my surprise, he called and told me
11   had with Deputy Commissioner Coulter?                11   that I was no longer needed, and said the
12       A. Yes.                                          12   opposite of what he had said Friday, which was
13       Q. And then Jeff called you and said,            13   my performance, which was not true.
14   Heads-up, doesn't sound like that was a good         14       Q. In that call on Friday, did he
15   conversation?                                        15   explain to you what the amount of that bonus
16       A. No. When we were at the conference            16   would be?
17   we had to be there several days. And,                17       A. I was expecting at least $33,000.
18   apparently, Jeff spoke to Greg Doran the night       18       Q. So Off Duty, there was the base
19   before. So when we got together in the morning       19   salary, bonus eligibility. Any other, like,
20   to go to our next location, he explained to me       20   401(k) or profit-sharing plans that you were
21   that he had received a call from Greg Doran, and     21   entitled to?
22   that Greg Doran had told him that he had spoken      22       A. No.
23   to Deputy -- that he had met and spoken to           23       Q. Did the company provide any kind of
24   Deputy Commissioner Coulter at this event. And       24   health or dental insurance?
25   that they had a conversation about me. But he        25       A. No. I believe they do, but because

                                                                                            5 (Pages 14 - 17)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
 Case 2:19-cv-04078-RBS             Document 90-1          Filed 04/07/25        Page 7 of 93


                                              Page 18                                                Page 20
 1                 E. CINTRON                          1                 E. CINTRON
 2   I was a new employee, I wasn't qualified for it 2     was here in Philadelphia.
 3   at the time.                                      3              MR. GREEN: Excuse me. Can we go
 4        Q. So was it, in your understanding,         4            off the record for one second?
 5   like a probationary term?                         5              MR. GOLDEN: Sure.
 6        A. Yes.                                      6              THE VIDEOGRAPHER: The time is
 7        Q. Okay. Do you currently have health 7                   11:19. We are now off the record.
 8   or dental insurance?                              8              (A break was taken.)
 9        A. I have health and dental insurance        9              THE VIDEOGRAPHER: The time is
10   for another two years through the city. They 10                11:20. We are now on the record.
11   extend health care and dental care for five      11       Q. Prior to Russell Medical Group, can
12   years after you leave the job.                   12   you tell me the name of the doctors or
13        Q. Let me back up. The position with        13   therapists that you were treating with as it
14   Sephora, can you tell me how that ended?         14   relates to your PTSD and anxiety?
15        A. I had to resign due to medical           15       A. Yes. When I first started getting
16   reasons.                                         16   the symptoms, I told my doctor at Holmesburg
17              MS. ULAK: I'm sorry. What was 17           Medical, Dr. Carter. And based on my symptoms
18            the last word?                          18   and complaints that I was having, he told me
19              THE WITNESS: Medical reasons. 19           that he thought I had anxiety or depression.
20              MS. ULAK: Oh, okay. Thank you. 20          And he referred me to the proper doctor to --
21        Q. And trying to be respectful of that      21   for proper diagnosis.
22   line of inquiry, are those medical reasons -- do 22       Q. And what was the name of the doctor
23   they currently prevent you from working?         23   to whom he referred you?
24        A. Yes.                                     24       A. He referred me to Philmont Guidance
25        Q. May I ask, what is that condition?       25   Center. While there, I received counseling from
                                              Page 19                                                Page 21
 1                 E. CINTRON                          1                 E. CINTRON
 2        A. Well, I have PTSD due to job-related      2   Ms. Whitley, I believe her name is, and I saw
 3   stress. And I get anxiety. I can't sleep at       3   the nurse practitioner, Aurn. I believe it's
 4   night so it prevents me from properly             4   A-U-R-N.
 5   functioning sometimes at work. And I was          5       Q. Apart -- so let me kind of back up.
 6   getting headaches because of my thyroid           6   I want to be clear in the questions I'm asking
 7   condition.                                        7   you.
 8        Q. Ms. Cintron, are you currently            8       Holmesburg Medical, you said that was the
 9   treating with any doctors or therapists for the   9   entity that first diagnosed you with the PTSD
10   PTSD?                                            10   and the anxiety?
11        A. Yes. I just switched to a new            11       A. No. They didn't diagnose me. He
12   doctor. Russell Medical Group in Georgia. And    12   referred me based on my medical conditions.
13   they are treating me for my PTSD, anxiety, and   13       Q. And so Dr. Carter referred you to
14   related, you know, medical issues.               14   Philmont Guidance, and is that the entity that
15        Q. Prior to Russell Medical Group -- do     15   diagnosed your condition?
16   you know approximately when you started treating 16       A. Yes.
17   with that entity?                                17       Q. Did you -- is there anyone else
18        A. A few months ago. I believe, like,       18   besides Philmont Guidance that has provided
19   three or four months ago, I switched.            19   treatment for those conditions?
20        Q. And was there -- let me back up.         20       A. When I went to Georgia, I started
21        Apart from Russell Medical Group, is there  21   seeing Dr. Remalia, and he was my primary care.
22   anyone else that you're currently treating with  22   And he just continued my medical treatment in
23   as it relates to your PTSD or anxiety?           23   terms of my PTSD and medication management.
24        A. No, because everyone that I was          24       Q. And do you know, is Dr. Remalia
25   treating with prior to going to this new doctor  25   associated with a practice with the name of an

                                                                                        6 (Pages 18 - 21)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
 Case 2:19-cv-04078-RBS                Document 90-1             Filed 04/07/25        Page 8 of 93


                                                  Page 22                                                   Page 24
 1              E. CINTRON                                   1                E. CINTRON
 2   entity?                                                 2       Q. So it's the thyroid medication and
 3       A. I believe it's Remalia Medical                   3   then paroxetan [sic]?
 4   Group, or Highlands -- Highlands Medical Group.         4       A. Paroxetan, I believe, or paroxetine,
 5   That's what it's called.                                5   or something like that.
 6       Q. So Holmesburg Medical, Philmont                  6       Q. I'll Google --
 7   Guidance, Dr. Remalia. Are there any other              7       A. I don't know the correct --
 8   providers with whom you treated to seek care for        8       Q. I'll Google it later.
 9   your anxiety or depression?                             9       And then the trazodone, something like
10       A. And recently my new doctor.                     10   that, for insomnia?
11       Q. The --                                          11       A. Yeah. To help me sleep at night.
12       A. At Russell Medical.                             12       Q. So the -- so just so I can back up
13       Q. Right.                                          13   then, so you left the position with Sephora in
14       Can you tell me the -- when you were --            14   light of your medical conditions, correct?
15   let me back up. I'm sorry.                             15       A. Yes. Because I wasn't getting a lot
16       Apart from the anxiety and the depression,         16   of sleep at night, and just not able to
17   are there any other conditions that currently          17   function.
18   prevent you from working?                              18       Q. Did any of the doctors that you are
19       Oh, I'm sorry. I was wrong. I said                 19   treating with, or any of the entities we have
20   "anxiety and depression." So it's anxiety and          20   talked about, have they provided you any records
21   PTSD, correct? Is there any other conditions           21   that state that you should take time off, or you
22   that prevent from you working?                         22   can't work, anything like that, to apply --
23       A. Severe depression, anxiety, PTSD.               23   well, sorry, I don't want to be compound.
24   And I was recently diagnosed with having two           24       Did they give you any documentation saying
25   small tumors, one in my pituitary, and one             25   that you could not work?
                                                  Page 23                                                   Page 25
 1                E. CINTRON                                 1                E. CINTRON
 2   behind my left eye, which were causing me               2        A. I don't know what Ms. -- the nurse
 3   headaches.                                              3   practitioner from Philmont Guidance put in her
 4       Q. And so is -- Russell Medical Group,              4   records, but she recommended that I do not
 5   are they the only entity treating you currently         5   return back to work to the Philadelphia Police
 6   for the anxiety, depression, and PTSD?                  6   Department, and take a medical leave of absence.
 7       A. Yes. And I'm supposed to be                      7        Q. And do you know -- do you know
 8   scheduling, and since I just started with them,         8   approximately when that note was provided?
 9   I'm supposed to be scheduling to see a                  9        A. That was in 2017, I believe it was,
10   psychiatrist and continue my counseling, but it        10   2017, '18.
11   hasn't been set up yet.                                11        Q. Have you -- in light of your
12       Q. And forgive me, I just want to make             12   inability to work, have you applied for any kind
13   sure I'm clear. Apart from Holmesburg -- I'm           13   of Social Security Disability or other
14   sorry, Russell Medical Group, are there any            14   disability payments?
15   other -- any other counselors or psychiatrists         15        A. I just recently applied for Medicare
16   besides Philmont Guidance or Dr. Remalia that          16   to get medical because I know my medical is
17   you have sought treatment with?                        17   about to expire, but I have not gotten an answer
18       A. No.                                             18   yet.
19       Q. And are you -- can you identity the             19        Q. And so -- but apart from the
20   medications that you're currently taking for the       20   Medicare application, have you applied for any
21   conditions that you have?                              21   form of disability payments or income
22       A. I am taking paroxetine for my PTSD.             22   replacement?
23   I am taking trazodone for insomnia. And I just         23        A. No.
24   take my regular medication for my thyroid. I           24        Q. Prior to working at Off Duty, you
25   can't remember the name of it.                         25   were employed with the City of Philadelphia; is

                                                                                               7 (Pages 22 - 25)
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
 Case 2:19-cv-04078-RBS               Document 90-1            Filed 04/07/25        Page 9 of 93


                                                Page 26                                                  Page 28
 1                E. CINTRON                               1                E. CINTRON
 2   that correct?                                         2   did you report to a corporal? I guess let me
 3        A. Yes.                                          3   ask the question this way. I would like to find
 4        Q. And can you tell me -- I know you             4   out the reporting structure as you moved up.
 5   held several positions, and we will work through      5   And you may say, I reported to several
 6   that. Can you tell me when you started working        6   supervisors, but I would just -- for simplicity
 7   with the City of Philadelphia?                        7   sake, could you tell me, as a police officer, I
 8        A. I began working for the City                  8   reported to a corporal -- or did you have a
 9   of Philadelphia in 1999, going into 2000.             9   designated supervisor?
10        Q. And what was the title that you held         10       So with that long-winded exposition [sic]
11   at that time, if you remember?                       11   out of the way, can you tell me, as a police
12        A. I worked for the City                        12   officer, who did you report to?
13   of Philadelphia prison system. And I was a           13       A. As a police officer on patrol, you
14   correctional officer.                                14   report to your first-line supervisor, which is a
15        Q. And what is the position you held            15   sergeant. However, the corporal is an
16   next?                                                16   administrative position, so if they give you an
17        A. I then moved -- after working there          17   assignment, you also are supposed to follow
18   for seven years, I became a Philadelphia police      18   their orders, because they are a higher rank.
19   officer.                                             19       Q. So there is a chain of command in
20        Q. And did you have -- and forgive me,          20   the police force, correct?
21   I'm not versed in this -- what was -- did you        21       A. Yes.
22   have a rank when you became a police officer?        22       Q. All right. In the role as a police
23        A. Initially, I was a police officer.           23   officer -- withdraw that.
24   I then took the corporal's exam and became a         24       When you -- when you were elevated into
25   corporal. I then took the sergeant's exam and        25   the role of a corporal, what was the chain of
                                                Page 27                                                  Page 29
 1                 E. CINTRON                              1               E. CINTRON
 2   became a sergeant. I then took the lieutenant's       2   command there? Who did you report to?
 3   exam and became a lieutenant.                         3        A. A lieutenant.
 4        Q. So how long -- approximately. Don't           4        Q. And when you became a sergeant, who
 5   worry if you -- this is -- one of the ground          5   were you reporting to?
 6   rules I skipped in the beginning is, this isn't       6        A. The lieutenant. That's what you
 7   a memory test, so I said, you know, only tell me      7   just asked me?
 8   what you know, but if I'm asking for things           8        Q. No. When you were the -- as -- when
 9   going back, if you don't remember, that's quite       9   you were in the corporal role, who was your --
10   all right.                                           10   who did you report to?
11        Do you know how long approximately you          11        A. I reported to a sergeant. And
12   held the title of police officer?                    12   sometimes the corporal.
13        A. I believe it was like, six, seven            13        Q. And then when you were then promoted
14   years.                                               14   to lieutenant, who did you report to?
15        Q. And do you know how long you held            15        A. Can you rephrase that? Because
16   the title of corporal?                               16   you're confusing me.
17        A. Four years.                                  17        Q. Sorry. So let me back up. Let's
18        Q. How long did you hold the title of           18   make sure. I'm going to kind of go back over
19   sergeant?                                            19   what I think you and I both just explained, and
20        A. Three years.                                 20   that way we can both make sure we are on the
21        Q. And title of lieutenant?                     21   same page.
22        A. For the remainder.                           22        When you were a police officer, your --
23        Q. Who -- let me ask this in an easier          23   you were -- you were reporting to a sergeant?
24   way because there might be multiple names. As a      24        A. First-line supervisor, which is a
25   police officer, you -- did you have a certain --     25   sergeant.

                                                                                             8 (Pages 26 - 29)
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1             Filed 04/07/25       Page 10 of 93


                                                Page 30                                                  Page 32
 1                E. CINTRON                               1                E. CINTRON
 2       Q. Okay. When you were elevated into a            2   right now, my questions all relate to this
 3   corporal, you were then reporting to the              3   district position.
 4   sergeant, correct? That was your first-line           4       When you would get -- do you get paper
 5   supervisor?                                           5   checks or do you get direct deposit?
 6       A. No. I was reporting to the                     6       A. Both. Either.
 7   lieutenant.                                           7       Q. And those paychecks, would they come
 8       Q. And when you were elevated then into           8   from -- would it say the City of Philadelphia or
 9   the sergeant role, were you still reporting to        9   the Philadelphia Police Department? What would
10   the lieutenant?                                      10   that say?
11       A. Yes.                                          11       A. City of Philadelphia.
12       Q. All right. Then when you were                 12       Q. And when you were in that role as
13   elevated to the lieutenant, are you reporting to     13   the -- for the district, did you have a
14   the deputy commissioner?                             14   designated shift? I think traditionally there
15       A. When I was assigned to the district,          15   are three shifts; is that correct?
16   I reported to the captain. When I got appointed      16       A. Yes.
17   to the position of the commanding officer of         17       Q. And did you have a designated shift?
18   PAL, I reported to the deputy commissioner.          18       A. I worked Monday through Friday, 9 to
19       Q. And when you say "PAL," just for the          19   5, and I worked some afternoon initiatives from
20   purposes of the record, you're referring to the      20   time to time. And sometimes the captain would
21   Police Athletic League, correct?                     21   switch my schedule as needed.
22       A. Yes. But, in addition to that, when           22       Q. And just so -- was it Cram you said
23   I was appointed by Commissioner Ross to become       23   was the captain?
24   the commander of the Police Athletic League, he      24       A. Yes.
25   told me that I reported to him, but to go to the     25       Q. And was it Captain Cram then that
                                                Page 31                                                  Page 33
 1                E. CINTRON                               1                E. CINTRON
 2   deputy commissioner for the day-to-day things,        2   set your schedule?
 3   you know, things that he doesn't need to be           3       A. Yes.
 4   bothered with.                                        4       Q. And -- and was there anyone besides
 5       Q. So what I would like to do,                    5   Captain Cram that you reported to?
 6   Ms. Cintron, is just -- if I heard you                6       A. No.
 7   correctly, when you were elevated into the            7       Q. In your recollection, who was
 8   lieutenant role, you essentially held two roles;      8   responsible for elevating you into the
 9   the first was when you were appointed, you said,      9   commanding officer of the PAL unit?
10   to the district?                                     10       A. Commissioner Richard Ross.
11       A. Yes.                                          11       Q. Did you have any conversations with
12       Q. Can you briefly describe what that            12   Commissioner Ross about your elevation to the
13   position entailed?                                   13   commanding officer of PAL?
14       A. So when I first got promoted to               14       A. Well, initially, I received a call
15   lieutenant, they assigned me to the 25th Police      15   from his sergeant who informed me that
16   District. I was reporting to Captain Cram. And       16   Commissioner Ross has selected me for the
17   he selected me as the administrative lieutenant,     17   position of the commanding officer of the
18   as well as being in charge of the five squad         18   Philadelphia Police Athletic League.
19   officers, which consisted of narcotics team,         19       Q. Do you remember the name of that
20   technical team, the administrative staff in the      20   sergeant?
21   operations room. I also worked on the streets        21       A. I can't recall his name.
22   when needed. So I just held a lot of different       22       Q. And is it fair to say that you
23   hats.                                                23   were -- you assumed the role of commanding
24       Q. In the role as lieutenant -- and so           24   officer for PAL in or around June of 2016?
25   what I want to do, just so we're clear, focusing     25       A. Yes.

                                                                                             9 (Pages 30 - 33)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1             Filed 04/07/25       Page 11 of 93


                                                Page 34                                                  Page 36
 1                 E. CINTRON                              1                E. CINTRON
 2       Q. Do you know when the phone call with           2   Qualli, Maureen Rush, and a few other board
 3   this sergeant occurred?                               3   members. I can't recall the names, but it was
 4       A. About a week prior to being                    4   at least 15 people in that room. And they all
 5   reassigned to the Police Athletic League. He          5   began to ask me questions.
 6   told me to expect a call from Commissioner Ross       6        Q. Do you recall where that meeting
 7   with further instructions that afternoon.             7   occurred?
 8       Q. Did you submit any application for             8        A. Downtown, down here somewhere. But
 9   that role?                                            9   I can't recall. I believe it was like 17th and
10       A. No.                                           10   Market.
11       Q. Did you have any role in making an            11        Q. And can you tell me -- you mentioned
12   interest in that role known?                         12   that you were asked some questions. Can you
13       A. No.                                           13   tell me what, if anything specifically, you
14       Q. So it was something that                      14   remember you were asked during that meeting?
15   Commissioner Ross decided on his own?                15        A. They asked me about my background in
16       A. He decided it based on his                    16   terms of my positions, just like you -- you
17   recommendations from other deputies and other        17   asked. And they asked me about my community
18   supervisors that he spoke to. And when he            18   involvement. They asked me what would I bring
19   called me to give me further instructions about      19   to PAL. But, specifically, they were asking me
20   my role as a commanding officer, he explained        20   how I would handle disciplinary issues with the
21   that he had heard many great things about me and     21   police officers.
22   my leadership ability and my ability to work         22        Q. And so as -- if I understand that
23   with the officers, and that's why he had             23   correctly, those police officers, they would
24   selected me for the role.                            24   report to you as the commanding officer?
25       Q. Did he -- did he identify any of the          25        A. Yes.
                                                Page 35                                                  Page 37
 1                 E. CINTRON                              1                E. CINTRON
 2   deputies or supervisors on whom he was relying?       2       Q. Do you recall when that meeting
 3       A. Yes. It was Deputy Commissioner                3   occurred?
 4   Coulter and the other female deputy commissioner      4       A. It was the same week that I was
 5   who I had met at community events.                    5   assigned to PAL, because it all happened fairly
 6       Q. Do you recall that individual's                6   quickly. I think I received the call from the
 7   name?                                                 7   sergeant on a Wednesday. And that same
 8       A. I can't recall her name.                       8   Wednesday I spoke to Commissioner Ross. I went
 9       Q. Apart from Commissioner Ross, do you           9   to meet with the board the next day. And then
10   know if anyone else was involved in the decision     10   on Friday, I received another call from the
11   to appoint you as the commanding officer of PAL?     11   commissioner's office, informing me that I
12       A. No.                                           12   report -- that I would report to PAL that
13       Q. So, from your understanding, he was           13   Monday.
14   the only person who made that decision?              14       Q. Did anyone from PAL, those -- the
15       A. Yes and no. If I could explain                15   individual -- well, let me back up.
16   that.                                                16       Did any of the individuals on the board
17       Q. Sure. Go ahead.                               17   there that day ever tell you that they had
18       A. Commissioner Ross had me do an                18   approved your appointment as the commanding
19   informal interview with the PAL board. He            19   officer?
20   stated that it was his decision, but that            20       A. They explained that -- they were
21   because we were working in a collaborative           21   saying -- was that their approval was necessary
22   effort with the PAL board, that I needed to meet     22   for me to be on PAL. They did explain that,
23   with the PAL board to do an informal interview.      23   ultimately, it was Commissioner Ross's decision,
24       When I arrived to this meeting, at the           24   but that because we work collaboratively, that
25   meeting was Bernie Prazenica, Ron Rabena, Ted        25   they had a say in who goes to PAL.

                                                                                           10 (Pages 34 - 37)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1            Filed 04/07/25       Page 12 of 93


                                               Page 38                                                 Page 40
 1                 E. CINTRON                             1              E. CINTRON
 2       Q. After you were appointed -- so you            2   correctly.
 3   were told that Friday, beginning Monday you're       3        After you became -- is it -- Ms. Cintron,
 4   going to be -- you'll be acting as the               4   forgive me, because I'll try to make us move a
 5   commanding officer of PAL; is that correct?          5   little quicker. If I say, going forward,
 6       A. Yes.                                          6   "commanding officer," as it relates to your
 7       Q. After you were -- after that change,          7   title or your role, is it fair for -- what I
 8   did you continue to receive pay from the City        8   would like to do is say -- if I refer to your
 9   of Philadelphia?                                     9   position as commanding officer, I intend that to
10       A. Yes. The collaboration involves the          10   mean the commanding officer of the PAL unit. Is
11   police department covering the pay for all          11   that okay with you? That way I don't have to
12   officers assigned to PAL.                           12   say every time, "as the commanding officer of
13       Q. So just so I understand you                  13   the PAL unit," if I just say -- so is it
14   correctly, the paycheck you received, even          14   acceptable to you for me to simply say, "as the
15   though you were working as the commanding           15   commanding officer," will you understand that I
16   officer, still came from the City of                16   mean, as the PAL unit?
17   Philadelphia, correct?                              17        A. Yes.
18       A. Yes.                                         18        Q. Thank you.
19       Q. Did you receive any paychecks or             19        You -- in the role of the commanding
20   income directly from PAL?                           20   officer, you said that you would report to both
21       A. No.                                          21   Commissioner Ross, and then for the deputy
22       Q. When you were serving in the                 22   commissioner for day-to-day activities; is that
23   commanding officer role, did you continue to        23   correct?
24   receive your benefits through the city?             24        A. That -- those were the instructions
25       A. Yes.                                         25   that Commissioner Ross gave me when he assigned
                                               Page 39                                                 Page 41
 1                E. CINTRON                              1                 E. CINTRON
 2       Q. Did PAL pay for any of your                   2   me to PAL.
 3   benefits?                                            3        Q. And who was the -- at the time, who
 4       A. No.                                           4   was the Deputy Commissioner to whom you would
 5       Q. Did PAL ever pay you any bonuses?             5   report?
 6       A. No.                                           6        A. Deputy Commissioner Myron Patterson.
 7       Q. But if I understood you correctly             7        Q. And Deputy Commissioner Patterson is
 8   then, also the officers who were assigned to the     8   a police officer?
 9   PAL unit, they were also -- they were also paid      9        A. He was the first deputy right under
10   by the city; is that correct?                       10   Ross.
11       A. Yes. But there was an incident               11        Q. And so, forgive me, but even though
12   where PAL was paying the officers $25 to cover      12   he's the deputy commissioner, he's technically
13   some city events, which became an issue, because    13   still a police officer, correct?
14   I informed them that the officers have to get       14        A. Yes.
15   paid through the city.                              15        Q. And so he's an employee of the city?
16       Q. And why is it they have to be paid           16        A. Yes.
17   through the city?                                   17        Q. And Commissioner Ross is also an
18       A. Because they are considered                  18   employee of the city?
19   employees of the City of Philadelphia, and they     19        A. Yes.
20   have to get paid their -- at the rate that they     20        Q. When you took over as the commanding
21   are supposed to get paid.                           21   officer, did you have a set shift or schedule
22       Q. Pursuant to their rank?                      22   that you adhered to?
23       A. Yes.                                         23        A. It's difficult to have a set
24       Q. I'd like to back up and make sure I          24   schedule at PAL because, even though my hours
25   understood something you had said earlier,          25   were from eight to four, a lot of the events

                                                                                         11 (Pages 38 - 41)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS             Document 90-1           Filed 04/07/25      Page 13 of 93


                                              Page 42                                             Page 44
 1                E. CINTRON                           1              E. CINTRON
 2   happened after-hours or on weekends. So, even     2            MR. GOLDEN: We'll do PAL-2, Ike?
 3   though I was getting paid work eight to four, I   3            MR. GREEN: Sounds good.
 4   was not getting paid to work those extra hours.   4            MR. GOLDEN: Just this is a --
 5       Q. So that --                                 5         I'm going to give it --
 6       A. Most times.                                6            Ms. Cintron I'm going to have
 7       Q. Were there times you were paid for         7         this labeled PAL-2. You don't need
 8   those events?                                     8         to go through the whole thing. If
 9       A. There was a few events that I              9         you would like to, we can go off the
10   submitted overtime requests, and it was granted  10         record and you agree to do that, but
11   by Deputy Commissioner Patterson.                11         what I would like to do is I'm just
12       Q. And was that overtime paid by the         12         going to ask you some specific
13   city?                                            13         questions about this, and we can
14       A. Yes.                                      14         work our way through it. But if you
15       Q. Apart from Commissioner Ross and          15         would like, we can take a short
16   Deputy Commissioner Patterson, was there anyone 16          break and you can read it. Do you
17   else that you were reporting to at that time?    17         mind how we handle that?
18       A. Yes. In terms of receiving my             18            THE WITNESS: I would rather read
19   orders, I would receive my orders from the       19         it.
20   Deputy Commissioner and Commissioner Patterson 20              MR. GOLDEN: Okay.
21   and Commissioner Ross. But I worked jointly --   21            THE WITNESS: And take -- you
22   I was supposed to work jointly with Ted Qualli   22         know, take a break to read it.
23   and the board to obtain the resources and --     23            MR. GOLDEN: All right. We will
24   that we needed for PAL, and develop programs for 24         take -- we'll go off the record.
25   the kids at the PAL centers, and basically run   25            THE VIDEOGRAPHER: The time is
                                              Page 43                                             Page 45
 1                E. CINTRON                           1                  E. CINTRON
 2   the day-to-day operations of the PAL as a whole.  2             11:52. We are off the record.
 3       Q. So when you say that -- and I'll           3               (First Amended Complaint is
 4   come back to Ted and the board in a moment, but   4             received and marked as Exhibit PAL-2
 5   you said that the orders would come from Deputy   5             for identification, as of this
 6   Commissioner Patterson or Commissioner Ross, is 6               date.)
 7   that right that they were -- you would report up  7               (A break was taken.)
 8   to them in the chain of command?                  8               THE VIDEOGRAPHER: The time is
 9       A. Yes. In the structure of the chain         9             12:09. We are now on the record.
10   of command, I would report to them. But a lot    10               MR. GREEN: Excuse me, what was
11   of my instructions came from the board in terms  11             the last question that was asked,
12   of PAL matters.                                  12             and the answer?
13       Q. Can you tell me what instructions         13               MR. GOLDEN: Well, I was asking
14   came to you from the board?                      14             about -- I was going to ask
15       A. The board would plan events,              15             questions about PAL.
16   programming, initiatives, community events. And 16                MR. GREEN: Okay.
17   they would direct what they wanted to be done    17        Q. Ms. Cintron, in the document we've
18   for us to implement.                             18   labeled as PAL-2, in paragraph 5 it talks about
19       Q. And when you say "for us to               19   PAL being a nonprofit organization, and in
20   implement," do you mean the police officers, the 20   paragraph 6, an independently organized
21   civilian employees, or both?                     21   nonprofit. So am I to understand it correctly,
22       A. Everyone. Everyone involved in any        22   it is a -- PAL itself is a separate nonprofit
23   of those events or community initiatives.        23   organization that works with the city?
24       Q. Just -- let me back up.                   24        A. Yes. The Philadelphia Police
25       PAL is a -- it's an -- let me do this.       25   Athletic League began, as we know, 75 years
                                                                                     12 (Pages 42 - 45)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS            Document 90-1             Filed 04/07/25       Page 14 of 93


                                             Page 46                                                 Page 48
 1              E. CINTRON                           1                   E. CINTRON
 2   ago --                                          2          Q. And when you say "staff," is that --
 3        (Court reporter clarification.)            3      do you mean to say the employees of the
 4        A. Philadelphia Police Department PAL 4           nonprofit?
 5   unit was established 75 years ago. And they     5          A. I'm referring to Ted Qualli, as the
 6   began to work in collaboration with PAL, the 6         director, and I were supposed to be working
 7   nonprofit unit, to achieve the initiatives in   7      together to manage everyone in the PAL unit.
 8   the community.                                  8          Q. Ted --
 9        Q. So if I heard that correctly, there     9          A. With the exception that Ted Qualli,
10   is -- within the police department, there's a  10      by not being a sworn police officer or
11   unit that is assigned to PAL; is that correct? 11      supervisor, cannot dictate orders to the
12        A. PAL is a unit, and officers are        12      officers. So anything that Ted required, he
13   assigned to a unit, yes.                       13      would have to do it by letting the sergeant
14        Q. And those officers that are assigned 14        know, or I know, so that we can let the officers
15   to the unit, they work with the PAL nonprofit 15       know what they need to do.
16   organization, correct?                         16          Q. Gotcha. So if Ted needed something
17        A. Yes.                                   17      from one of the police officers, he would need
18        Q. So what I want to do to be clear is,   18      to either work through you or the sergeants to
19   there's a police unit on one hand, and then    19      have that order -- that they would need -- you
20   there's the nonprofit organization on another. 20      or those sergeants would need to give those
21   I just want to -- for the purposes of my next  21      orders, correct?
22   couple of questions, those are -- there are    22          A. If there was anything in reference
23   two -- two entities, correct?                  23      to an order, yes.
24        A. They are two entities working          24          Q. And do you know -- do you know who
25   together.                                      25      Ted reported to?
                                             Page 47                                                 Page 49
 1                 E. CINTRON                           1                E. CINTRON
 2       Q. In terms of the PAL unit, you were          2        A. Ted reported to the board. Board
 3   the commanding officer, correct?                   3   chair Bernie Prazenica, and co-chair at the
 4       A. Yes.                                        4   time, Ron Rabena.
 5       Q. And the -- approximately how many           5        Q. And within -- to give you -- who
 6   police officers were assigned to the unit?         6   within PAL reported to Ted?
 7       A. At the time I believe it was 27, two        7        A. The way he had it structured,
 8   sergeants.                                         8   everything went to Ted for approval.
 9       Q. So that the 27 includes the two             9        Q. So, what I mean by that is if
10   sergeants?                                        10   there's a PAL -- for example, the name -- you
11       A. No, I think it was 27 police               11   know the name Chase Trimmer; is that correct?
12   officers and two sergeants, approximately.        12        A. Yes.
13       Q. And did the -- did the police              13        Q. Did Mr. Trimmer report to Ted?
14   officers, in terms of their chain of command,     14        A. Ted was his supervisor, but he
15   did they report to the sergeants?                 15   worked with me on programs.
16       A. Yes. It's still the same                   16        Q. So that was my question.
17   chain-of-command structure.                       17        Mr. Trimmer would -- could work with you,
18       Q. And then those sergeants would             18   but he reported to Ted, correct?
19   report to you, correct?                           19        A. Ted was his immediate supervisor,
20       A. Yes.                                       20   yes.
21       Q. Apart from the sergeants and the           21        Q. And Mr. Trimmer was a PAL employee;
22   police officers, did anyone else in the unit      22   is that correct?
23   report to you?                                    23        A. Yes. But, in part, he would also
24       A. I would consult with the PAL staff         24   report to me in terms of working with me with
25   in reference to all matters.                      25   the programs and initiatives.

                                                                                       13 (Pages 46 - 49)
                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS                Document 90-1             Filed 04/07/25        Page 15 of 93


                                                 Page 50                                                    Page 52
 1              E. CINTRON                                  1                E. CINTRON
 2       Q.  For Ted, do you know who paid his              2   speak to someone in reference to an incident at
 3   salary?                                                3   PAL.
 4       A. The Police Athletic League, the                 4       Q. Is that the incident between
 5   nonprofit.                                             5   Mr. Trimmer and Officer Clayman?
 6       Q. And do you know, if you know, do you            6       A. No. I never disciplined Chase
 7   know who paid Mr. Trimmer's salary?                    7   Trimmer.
 8       A. The Police Athletic League, the                 8       Q. Then the incident that you referred
 9   nonprofit.                                             9   to, what was that incident where you went to
10       Q. Did Mr. Qualli have the ability to             10   Ted?
11   discipline or reprimand any of your officers?         11       A. I asked Ted to address a problem
12       A. He didn't have the ability to do so            12   with one of his employees -- actually, several
13   because of departmental policy, but he would          13   of the PAL employees at different times, and in
14   bring the complaints to me, and I would               14   reference to condescending remarks,
15   discipline accordingly.                               15   inappropriate remarks. And Ted would laugh it
16       Q. What is that, the policy you just              16   off and would tell me that people can say what
17   mentioned? I'm sorry, I -- the discipline --          17   they want to say.
18       A. Because Ted Qualli is not employed             18       Q. So these were --
19   by the City of Philadelphia, he cannot impose         19       A. And he would never address any
20   the disciplinary process on police officers.          20   discipline issues with his staff, that I brought
21       Q. Did -- as the commanding officer,              21   to his attention.
22   did you have the ability to discipline PAL            22       Q. If Mr. Qualli did not do that, why
23   employees?                                            23   would you not discipline them yourself?
24       A. That would be done through Ted.                24       A. I would try to go through Ted out of
25   Anything official would have gone through Ted.        25   respect that they reported to him. But when
                                                 Page 51                                                    Page 53
 1               E. CINTRON                                 1                E. CINTRON
 2       Q. So I think it's -- if I'm hearing               2   with no avail or remedial actions taken, I would
 3   you correctly, if Ted had a problem with a             3   have to address certain issues myself.
 4   police officer, he did not have the authority to       4       Q. And did you ever have a situation
 5   do anything. It had it to go through you,              5   where you addressed that situation with a
 6   correct?                                               6   specific PAL employee?
 7       A. Yes.                                            7       A. What situation?
 8       Q. And if you had a problem with one of            8       Q. Well, you're saying if you
 9   his employees, it would have to go through Ted         9   reported -- if you tried to go through Ted, and
10   to take any kind of adverse action, correct?          10   no remedial action was taken, I'm asking, do you
11       A. Not necessarily, because they also             11   recall any instances where you yourself then
12   reported to me.                                       12   took remedial action as it relates to that PAL
13       Q. And so the --                                  13   employee?
14       A. Under the structure, Ted and I were            14       A. I didn't take official remedial
15   responsible for supervising everyone in the           15   action against any PAL employee. I spoke to PAL
16   unit. The only exception was that because of          16   employees about different issues that were
17   sworn police personnel having contractual             17   happening at the center -- I mean, at the -- at
18   agreements and a union that had to be done            18   PAL.
19   through me, any official actions had to be done       19       Q. Did Mr. Qualli have the ability to
20   through me.                                           20   fire police officers?
21       Q. Do you recall any instances where,             21       A. No.
22   on your own, without Ted's involvement, you           22       Q. Did you have the ability to fire PAL
23   disciplined a PAL employee?                           23   employees?
24       A. I never disciplined anyone without             24       A. No. Well, let me reframe that. I
25   Ted's knowledge. He knew that I was going to          25   didn't have the authority to fire anyone. But

                                                                                              14 (Pages 50 - 53)
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS                Document 90-1             Filed 04/07/25       Page 16 of 93


                                                 Page 54                                                  Page 56
 1                E. CINTRON                                1                E. CINTRON
 2   while Ted was executive director of PAL, he did        2   Athletic League.
 3   fire a multitude of PAL employees.                     3        When I looked into the matter, the
 4       Q. And those were, like, PAL employees             4   individual had less than or approximately two
 5   that reported to him?                                  5   years on the job. He did not meet the
 6       A. Yes.                                            6   qualifications to transfer into PAL. He didn't
 7       Q. When you joined PAL, did you sign               7   have the points required of a transfer into a
 8   any contract or agreement governing your               8   special unit, which is points that officers
 9   relationship with them?                                9   accumulate based on their time on the job,
10       A. No. We were -- I was told -- we                10   accommodations, work in the community, basically
11   were told, when we were in the same, you know,        11   experience, and sick-time usage, and whether or
12   room, talking with the deputies, as well as PAL       12   not they had -- they were involved in any
13   staff and PAL board members, that Ted and I held      13   disciplinary matters at that time.
14   the same responsibilities as the top leadership.      14        And when I looked into it, this officer
15   And that we will work jointly to resolve all          15   didn't meet the qualifications. He didn't have
16   matters involving PAL. But nothing was done           16   the points. He didn't have the time. He didn't
17   officially on paper.                                  17   have the experience. So I relayed that
18       Q. I'm sorry. One question I -- I'll              18   information back to Ron Rabena, who still
19   come back.                                            19   insisted that I transfer this officer to the
20       In your role as the commanding officer,           20   unit. Every time I saw Ron Rabena, he would
21   was there anyone within PAL, Ted or otherwise,        21   bring up the topic, and I had to reiterate to
22   that had the ability to discipline you?               22   him at least four or five times that I cannot
23       A. I would get reprimanded sometimes by           23   bring the officer to the unit, that my decision
24   Ron Rabena or Prazenica based on either false         24   to transfer officers into the unit was based on,
25   information that was told to them by Ted Qualli,      25   you know, whether or not they were on that
                                                 Page 55                                                  Page 57
 1                 E. CINTRON                               1                 E. CINTRON
 2   or misleading information that they were being         2   transfer list and qualified to be transferred
 3   told, without looking into my side of the story,       3   into the unit.
 4   or what actually happened.                             4       After about the fourth or fifth
 5        Q. So are there -- is there a specific            5   conversation, I then received a call from the
 6   incident or incidents where Ron took adverse           6   captain from the 17th District, who stated that
 7   action against you?                                    7   she was calling me because Ron Rabena asked her
 8        A. Yes.                                           8   to call me about the same young man that he
 9        Q. What do you -- can you identify                9   wanted transferred into the unit. And she began
10   those incidents for me?                               10   to give me praises about the officer and why he
11        A. Okay. Well, Ron Rabena, the very              11   would be a good fit at PAL.
12   first day that I met Ron Rabena, he began to ask      12       I explained to the captain that I would
13   me if I would do him a favor and have a young         13   not transfer the officer in because, one, he
14   man that was at the 17th District, a police           14   didn't meet the qualifications. And I didn't
15   officer that was related to him -- at one time        15   have the authority to transfer this officer in
16   he said related to him; another time he said it       16   or requesting for this officer to be transferred
17   was a friend's son, so I'm not quite sure what        17   in, based on that information I just gave you.
18   was the relation -- the relationship there. And       18       A week after that, I went to visit the
19   he asked me to have this individual transferred       19   center, southwest PAL center. The officer was
20   into the unit, wrote his name on a piece of           20   working at the center. So I asked the officer,
21   paper, and I told him there was a process to          21   like, what are you doing here? And the officer
22   having officers transferred into the unit, and        22   stated that the captain from the 17th was
23   that I will look into it to see if this officer       23   assigning him to PAL, even though he was
24   had the qualifications to come to the Police          24   supposed to be working in the district.
25   Athletic League -- to transfer into the Police        25       At that point, I called the captain, and I

                                                                                            15 (Pages 54 - 57)
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1              Filed 04/07/25       Page 17 of 93


                                                 Page 58                                                   Page 60
 1                 E. CINTRON                               1                E. CINTRON
 2   told her that it's a liability to have an              2   with Darrell Clarke occurred?
 3   officer working at PAL without being properly          3       A. This happened in the few months that
 4   checked out because we do like a child                 4   I was at PAL. Like this was early on.
 5   background check, and he didn't have an official       5       Q. And so, if I understood you
 6   transfer into the unit. And I was actually a           6   correctly, Ron wanted the officer transferred
 7   little upset because, you know, you don't -- you       7   into the PAL unit, correct?
 8   don't do that to another commander, like, send         8       A. Yes.
 9   somebody to the unit without their permission or       9       Q. And -- but in the end, the -- well,
10   knowledge.                                            10   was that officer ever transferred into the PAL
11        And I then reported this incident to             11   unit?
12   Deputy Commissioner Patterson. And the officer        12       A. Yes, as soon as I left the unit.
13   was instructed that he cannot work on the PAL         13       Q. And so in terms of transferring
14   center until he meets the qualifications to come      14   officers in and out of the unit, who had the
15   to PAL, or he's transferred into the unit.            15   authority to do that?
16        I then received a call from Darrell              16       A. I could only suggest or request
17   Clarke, city council president, who literally         17   personnel based on who is on the transfer list
18   threatened me and told me that he was calling me      18   and qualified to come. The ultimate decision is
19   about a mutual acquaintance. He mentioned Ron         19   done by a superior officer. In this case, it
20   Rabena, and he began to talk to me about this         20   was Deputy Commissioner Sullivan. And the
21   officer that Ron Rabena wanted transferred to         21   reason I know this is because, when Deputy
22   the unit.                                             22   Commissioner Sullivan got promoted to that
23        At that point, I again explained to the          23   position, they called a meeting at Bernie
24   council president that -- the reasons why I           24   Prazenica's office, 6ABC, and Commissioner
25   couldn't have this officer transferred into the       25   Sullivan was present. And as soon as he walked
                                                 Page 59                                                   Page 61
 1                 E. CINTRON                               1                 E. CINTRON
 2   unit, and explained to him that, you know, the         2   into the room, he looked at me, went around,
 3   officer had to go through the process. And that        3   shook everybody's hand except mine. He flagged
 4   I would not violate departmental policy by what        4   me literally with his hand, one of these
 5   we call parachuting an individual into a unit.         5   motions, and said to Bernie Prazenica, Don't
 6   Which means, in the police department, that            6   worry about her. In reference to the Memorandum
 7   you're basically bypassing the policy and the          7   of Understanding, I'm going to make that go
 8   rules to get someone into a unit, that's               8   away. And then he turned to Ron Rabena -- to
 9   considered a good unit to work in.                     9   Ron Rabena -- And as far as that transfer of
10       And at that point, the counsel president          10   that young man in the 17th District, don't worry
11   told me, Well, I guess I'm going to have to make      11   about that. I'm going to make it happen.
12   a few calls about you, and, he says, starting         12       Q. Okay. And that conversation
13   with your boss, Richard Ross.                         13   happened when --
14       I, at that point, told him that he could          14       A. When we had a meeting at 6ABC in
15   call whoever he wants because I was -- I didn't       15   Bernie Prazenica's office.
16   have the authority to do that. And I told him         16       Q. And that's when Deputy Commissioner
17   that if you wanted to call Commissioner Ross,         17   took -- took over --
18   then that was his discretion.                         18       A. As soon as he came to PAL.
19       I took that as a threat, especially since         19       Q. Do you recall when that happened?
20   he mentioned, I'm going to call a few people          20       A. When he got promoted to deputy
21   about you. And intimidating. They were                21   commissioner, which was May of, I believe,
22   intimidating me into transferring this officer        22   '17 -- I don't know. May 7th, I believe it was.
23   into the unit. And, at that point, again I            23       Q. But sometime in May 2017?
24   reported this to the deputy.                          24       A. Yes.
25       Q. Do you recall when that phone call             25       Q. And then the officer was transferred

                                                                                            16 (Pages 58 - 61)
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1            Filed 04/07/25       Page 18 of 93


                                               Page 62                                                   Page 64
 1                E. CINTRON                              1                 E. CINTRON
 2   into the PAL unit after your employment ended?       2   adverse action against you. You identified Ron
 3       A. Well, by then, I went out on leave            3   and Bernie. And so when you said the adverse
 4   because of all of this stuff that was going on.      4   action, is it kind of the messaging that came
 5   And, eventually, that officer was transferred        5   from Ron?
 6   into the unit.                                       6       A. It was the interference that they
 7       Q. Do you know when the officer was              7   would cause in my ability to do my job. It was
 8   transferred in?                                      8   the influence, their influence to have council
 9       A. No. I just know that he's in the              9   president call me and threaten me. It was
10   unit now.                                           10   their -- the way they circumvented me, keeping
11       Q. Do you know if he had accumulated            11   me out of the loop on important matters, keeping
12   the points or the qualifications necessary to       12   me out of decision-making meetings, not sending
13   transfer in?                                        13   me chain emails that I should have gotten so
14       A. No, I'm not aware. He was really             14   that I could do my job effectively so that they
15   far from having those qualifications because one    15   could go directly to the deputy -- Deputy
16   is having five years on the job, and he only had    16   Commissioner Sullivan to get the results that
17   two. So I do not think he had the                   17   they wanted.
18   qualifications.                                     18       Q. Let me back up and clarify. Deputy
19       Q. So he had two years experience               19   Commissioner Sullivan, when he -- sorry. When
20   when -- in when, '16, when you joined?              20   you were originally appointed as commanding
21       A. Yes.                                         21   officer of PAL, you were reporting to Deputy
22       Q. Do you remember the officer's name?          22   Commissioner Patterson, correct?
23       A. To be quite honest with you, it's            23       A. Yes.
24   probably written somewhere, but I can't remember    24       Q. And that changed at some point, and
25   off the top of my head.                             25   you began reporting to Deputy Commissioner
                                               Page 63                                                   Page 65
 1                E. CINTRON                              1                E. CINTRON
 2       Q. So it was Ron Rabena who wanted the           2   Sullivan, correct?
 3   officer to, quote, parachute into the unit,          3       A. Yes. When Deputy Commissioner
 4   correct?                                             4   Sullivan got promoted to Deputy Commissioner, he
 5       A. Yes.                                          5   went to Deputy Commissioner Patterson
 6       Q. But he did not have the authority to          6   and requested to oversee the PAL unit, even
 7   do that, correct?                                    7   though the PAL unit wasn't under the purview of
 8       A. Right. Which is why he was going              8   deputy of operations.
 9   through all these means to intimidate me into        9       Q. So let's break that out. Is it
10   having him transferred into the unit.               10   deputy commissioner of operation, is that -- how
11       Q. Because the decision to do that              11   many deputy commissioners are there?
12   would go through you, correct?                      12       A. Well, at the time, there was --
13       A. The decision to have him transferred         13   there's usually four. Four to seven, they
14   in, no. I could only request based on who is on     14   handle different parts of running the
15   that list. And he wasn't on the list because he     15   department. You have a Deputy Commissioner of
16   didn't qualify.                                     16   Patrol, Patrol and Operations, which that was
17       Q. So there's a protocol within the             17   Deputy Commissioner Sullivan's title. You have
18   police department that governs how officers come    18   Deputy Commissioner of Organizational Services.
19   in and out of PAL?                                  19   There's, like, different titles. So PAL would
20       A. Yes. It's, I believe, Directive 12.          20   have fallen under the Deputy Commissioner of
21   Now, there is what we call parachuting, which is    21   Organizational Services, which was DC Patterson.
22   someone in the authority of commissioner can        22   But DC Sullivan volunteered to take over PAL.
23   transfer someone in.                                23   And I received a call from Deputy Commissioner
24       Q. So that -- what I had asked was              24   Patterson, who told me that. He says -- he
25   instances where anyone from PAL had taken           25   actually made a joke of it and said it's part of

                                                                                           17 (Pages 62 - 65)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1             Filed 04/07/25          Page 19 of 93


                                                Page 66                                                       Page 68
 1                E. CINTRON                               1                E. CINTRON
 2   my command, but if he wants to take it over, it       2       We had a meeting in the commissioner's
 3   alleviates some work from my desk. And that's         3   office where Ron Rabena attended, Bernie
 4   how DC Sullivan ended up being in control of          4   Prazenica, Ted Qualli, myself, Deputy
 5   PAL.                                                  5   Commissioner Patterson, and the commissioner's
 6       Q. So was Deputy Commissioner Sullivan            6   legal adviser. He's an attorney, Captain
 7   the Deputy Commissioner of Organizational             7   Hailey.
 8   Services?                                             8       At that meeting, I expressed my concerns
 9       A. He was Patrol. So he would have                9   about this policy. So did the commissioner.
10   been in charge of officers working districts,        10   And the commissioner ordered Captain Hailey to
11   making arrests.                                      11   draw up a memorandum of understanding to outline
12       Q. So do you know who is -- who is               12   everyone's authority in this policy. And to
13   Deputy Commissioner Sullivan paid his salary by?     13   solidify the relationship between PAL and the
14       A. City of Philadelphia.                         14   board, because the policy they were presenting
15       Q. Do you know, does PAL pay him any             15   didn't correctly represent that collaboration.
16   salary?                                              16       At that point, Captain Hailey began to
17       A. I know that PAL supports his                  17   draw up this memorandum of understanding that
18   nonprofit organization.                              18   the board, Bernie Prazenica, and Ron Rabena did
19       Q. Does PAL support other nonprofits?            19   not want for it to be implemented. They said
20       A. Yes, they do.                                 20   that at the meeting; they said that after the
21       Q. And so do they -- do you know, do             21   meeting.
22   they pay him -- apart from the nonprofits, do        22       And at that point, they were, like, really
23   they pay him any salary?                             23   upset that this memorandum would have some checks
24       A. I don't know.                                 24   and balances in place to make sure that there is no
25       Q. Any other actions by Ron where he             25   corruption, that there's no -- anything going on
                                                Page 67                                                       Page 69
 1                 E. CINTRON                              1                E. CINTRON
 2   took adverse action against you?                      2   that could be misconstrued, you know, with the --
 3       A. Just to circumventing me to go to              3   in the community.
 4   the deputy, to make false complaints about me         4       So Captain Hailey began to draw up this
 5   that were not accurate. And circumvent -- like        5   document, and right before the document was
 6   basically circumventing my authority as the           6   supposed to be released, which was supposed to
 7   commanding officer of the Police Athletic             7   be in December of 2017, it was like the final
 8   League.                                               8   draft for everybody to go over. And, obviously,
 9       Q. Can you give me any, like, examples,           9   they would have made different adjustments on
10   any specific examples of that?                       10   both sides, but when it was announced that it
11       A. Yes. There was a situation where              11   was going to be discussed December of 2017, I
12   the -- as soon as I got to PAL, the very first       12   received a call from -- actually, I got -- Ted
13   week I got to PAL, Ted Qualli, Sunny Lee, and        13   Qualli came to my office to tell me that he had
14   Pat Winter approached me with a policy that they     14   spoken to Maureen Rush, and Maureen Rush wanted
15   wanted me to implement. In that policy, they         15   to set up a meeting with me. And I asked Ted
16   changed the whole structure, whereas everything      16   Qualli why she didn't call my phone, or why she
17   would go through final authority, and approval       17   didn't email me. He said, We were just having a
18   will go through Ted, and the board basically         18   conversation, and she brought it up.
19   taking me out of the whole equation as the           19       I said, Okay, no problem.
20   commanding officer.                                  20       He said, I believe she wants to talk about
21       I didn't feel comfortable with signing           21   programs.
22   that policy, so I took that policy to the police     22       I said, Okay, have her call me.
23   commissioner for his review. He agreed that I        23       When Maureen Rush called me, she
24   should not sign the policy, and called for a         24   specifically said that we were meeting about
25   meeting.                                             25   programs. She wanted to coordinate programs

                                                                                              18 (Pages 66 - 69)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1             Filed 04/07/25        Page 20 of 93


                                                Page 70                                                   Page 72
 1                E. CINTRON                               1                E. CINTRON
 2   with the University of Penn and PAL, and she          2   her, like, Would you do this? Would you allow a
 3   wanted to discuss these programs with me.             3   man to run the show while you sit back and
 4       So under false pretense, she calls me the         4   collect a check? And I said, Because I know I
 5   day of the meeting, and she tells me, I don't         5   can't, because I have integrity, and I would not
 6   want to meet at Penn, my office, and I don't          6   do that.
 7   want to meet at PAL, so can you meet me at a          7       And then she said, Well, I'm just letting
 8   restaurant -- which was located underground,          8   you know, it's not going to go well for you. In
 9   like in the basement of a hotel located near the      9   the end you're going to lose. And, basically,
10   University of Penn.                                  10   that was the end of the conversation.
11       When I met her there, excited to talk            11       She then offered to buy me dessert, and I
12   about programs, she told me, No, hold up right       12   told her no, and I got up and left.
13   there. We are not going to talk about that           13       Q. What was the name of this
14   right now because I want us to be both relaxed       14   restaurant?
15   to talk about what I really brought you down         15       A. I can't recall, but it's University
16   here for.                                            16   of Penn, by the University of Penn, and it's in
17       And at that point, I got a knot in my            17   the basement.
18   stomach, and I realized that it was a ploy to        18       Q. Is it in the University of
19   get me down there for something else, which was      19   Pennsylvania --
20   common for PAL and Ted Qualli to do.                 20       A. If I drive by there, I'm pretty sure
21       So we ate dinner. She began to say,              21   I can identify it, but I don't remember the name
22   You're really down here about the memorandum of      22   right now.
23   understanding.                                       23       Q. Maureen Rush is the -- is it the
24       And immediately I said, Who put you up to        24   director of public safety for the University of
25   this? And she -- I said -- and I said, Was it        25   Penn?
                                                Page 71                                                   Page 73
 1                 E. CINTRON                              1                 E. CINTRON
 2   Ted Qualli, Ron Rabena, and Prazenica?                2       A. Yes. But she used to be a
 3        And she said, Yes. She said, Yeah, it was        3   lieutenant for the Philadelphia Police
 4   the good old boys. They wanted me to bring you        4   Department before.
 5   down here and talk to you, woman to woman,            5       Q. Do you know when she last was acting
 6   that -- for you to let go of this issue about         6   as a lieutenant for the city?
 7   the MOU. Which she was talking about the              7       A. No. I just know she's a board
 8   memorandum of understanding.                          8   member, part of the executive board, part of the
 9        At that point, I told Maureen Rush that,         9   board.
10   you know, it was not right for them to get me to     10       Q. When you had this meeting with her,
11   have this meeting with her under false pretense      11   was she -- was she then an employee of the city?
12   that we were going to talk about programs. And       12       A. No. She's the director of the
13   she said, Well, the guys wanted me to talk to        13   University of Penn Police. And a board member
14   you woman to woman, and so here we are.              14   of PAL.
15        She then proceeded to tell me that I            15       Q. Ms. Cintron, if you wouldn't mind,
16   should let Ted Qualli run the show, and sit          16   in what we've marked Number 2, that complaint,
17   back, put my feet up, and collect the check.         17   would you mind flipping to page 7. And if you
18   And she said, Just let the men handle everything     18   look at paragraph 41, it says: Plaintiff met
19   at PAL because it's not going to go good for         19   with Ms. Rush on October 24, 2016. Is that the
20   you, and this is not going to end well for you.      20   meeting that you're referring to with Ms. Rush?
21        And, at that point, you know, I posed the       21       A. It probably was, yes. To be honest
22   question to her, I said, as a woman, you know,       22   with you, I can't remember the exact date. I
23   it's hard to get women to leadership positions.      23   believe that is the date because I remember it
24   And we have to work double as hard to get to         24   happened a few months before -- it happened
25   positions that we want to achieve. And I told        25   right after they announced that the MOU would

                                                                                            19 (Pages 70 - 73)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1             Filed 04/07/25       Page 21 of 93


                                                Page 74                                                 Page 76
 1                 E. CINTRON                              1                E. CINTRON
 2   come out, after Bernie inquired about when the        2   Rush individually, so it happened around the
 3   MOU would come out. And he was told that it           3   same time.
 4   would be finalized by December. And this              4       Q. So you -- if I heard that
 5   happened a few months prior.                          5   correctly --
 6       Q. Okay. Just so we're clear --                   6       A. Maureen Rush had called me to set up
 7       A. So, basically, Bernie Prazenica was            7   the time when she told me that she didn't want
 8   informed that Captain Hailey was instructed to        8   to meet in the office, that she didn't want to
 9   have it completed by December, and that they          9   meet at Penn.
10   would give the final draft by December. Right        10       Q. And so if I heard you correctly,
11   after that is when Maureen Rush wanted to set up     11   your meeting with Maureen happened. And then a
12   this meeting or set up the meeting.                  12   week later the meeting with the DPS team
13              MR. GOLDEN: PAL-3.                        13   occurred; is that correct?
14              (Email 10/17/16 is received and           14       A. The other way around.
15            marked as Exhibit PAL-3 for                 15       Q. Okay. So --
16            identification, as of this date.)           16       A. I met her -- we met as a team to
17       Q. Ms. Cintron, you'll see that in the           17   discuss football events, the football
18   complaint in paragraph 38, it points out that in     18   championship. And I met with her after that,
19   October of 2016, you received an email from          19   about the memorandum of understanding.
20   Danielle Faust, the executive assistant to           20       Q. And was Ted Qualli in the meeting
21   Ms. Rush, and then paragraph 40 says the email       21   with her, with Maureen Rush, about the DPS?
22   from Ms. -- from Faust was sent to schedule a        22       A. I don't think he went to that
23   convenient time for plaintiff to meet with           23   meeting. I can't recall.
24   Ms. Rush.                                            24       Q. Just so I can be clear in the
25       Is it your understanding that this email         25   sequencing of events, you have the DPS meeting
                                                Page 75                                                 Page 77
 1                E. CINTRON                           1                   E. CINTRON
 2   on the front of page 3 is that email on           2       with Maureen Rush, and then you have the meeting
 3   October 17, 2016?                                 3       between yourself and only yourself with Maureen
 4        A. Yes. But at the same time, we were        4       Rush, correct?
 5   also discussing about -- we were also discussing  5           A. Yes.
 6   having a meeting where the whole team could meet 6            Q. Is there anything else you remember
 7   about a football event. So it almost seems like   7       being said in that meeting with Maureen Rush?
 8   it's the same chain of emails, if that makes      8           A. What I stated.
 9   sense. Because it was like we were trying to      9           Q. So that's everything you recall
10   coordinate two separate meetings; one about the  10       about the meeting?
11   football, which was a meeting that we were going 11           A. Yes.
12   to meet to coordinate this football event with   12           Q. What I would like to do,
13   the entire team, that was going to be involved   13       Ms. Cintron, is I am -- earlier, I had asked you
14   in carrying out duties for this event, and the   14       about any adverse action that had been taken
15   meeting that she requested separately. That's    15       against you by anybody at PAL. So let me ask a
16   why I'm not a hundred percent sure of the date.  16       more specific question.
17        Q. Well, if you look at that email,         17           Was there ever a time when you were the
18   PAL-3, from Danielle, it's addressed to -- says: 18       commanding officer, where anyone at PAL reduced
19   Hello Evelyn, Following up with Maureen's        19       your pay?
20   request to find time for you to meet our DPS     20           A. No.
21   team.                                            21           Q. Was there a time when you were the
22        And then below that, the second bullet, is  22       commanding officer for PAL, where anyone from
23   October 24 from 2:30 to 3:30. Do you see that?   23       PAL gave you a written reprimand?
24        A. Yes. So we did meet -- the DPS met       24           A. No. Ted Qualli verbally abused me
25   a week prior to this meeting that I had with     25       several times, by coming into my office, yelling

                                                                                          20 (Pages 74 - 77)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS             Document 90-1           Filed 04/07/25       Page 22 of 93


                                              Page 78                                                Page 80
 1             E. CINTRON                             1                  E. CINTRON
 2   at me.                                           2         A. I believe that it was several
 3       Q. Well, so -- okay. So Ted came into        3    reasons. I believe that from the beginning, I
 4   your office and yelled. But did he ever do       4    felt that because they always had these private
 5   anything, did he ever suspend you or give you a  5    meetings among the men, that I would never be
 6   written warning or any kind of tangible,         6    included in, they made all the decisions, and
 7   adverse --                                       7    then Ted would come down and dictate to me how
 8       A. No.                                       8    things were going to be, even if that meant that
 9       Q. -- [unintelligible]?                      9    departmental policies would be violated, even if
10       A. No.                                      10    that meant that I contested paying officers
11       Q. Did anyone from PAL suspend you?         11    under the table, which is against the law, and
12       A. No.                                      12    things of that nature. Me voicing my opinion
13       Q. Did anyone from PAL take away or         13    about having kids attend the Wissinoming Center
14   reduce your pay or benefits?                    14    that I closed down.
15       A. I believe so.                            15         And the reason I closed the Wissinoming
16       Q. Can you tell me why you believe          16    PAL center down was because my first week at
17   that?                                           17    PAL, the first thing that we decided to do was
18       A. Not directly, but indirectly they        18    to visit the centers, so that I could get to
19   did.                                            19    know the centers and where they are located and
20       Q. How did they do that?                    20    how things operate, and basically do a tour of
21       A. Because it was me voicing my opinion     21    all the centers in the city. And we took three
22   about the inequality in the centers, about the  22    days out in the calendar to be able to do that
23   way I was being mistreated that led for me to   23    because there was 15 centers located throughout
24   have to leave this job. And I went from         24    the city.
25   $120,000 to $56,000 a year. My whole career was 25         When we went -- on the second day that we
                                              Page 79                                                Page 81
 1                E. CINTRON                           1                 E. CINTRON
 2   interrupted and ended, and it was as a result of  2   went out, we went to visit the Wissinoming PAL
 3   their actions.                                    3   Center, and when I walked in the center, it was
 4       Q. Their actions, how? Someone from           4   in deplorable conditions. It smelled like
 5   PAL?                                              5   mildew and mold. And I immediately got sick,
 6       A. Yes.                                       6   couldn't even stay in the building. I had to
 7       Q. And can you tell me who specifically       7   run out and throw up.
 8   at PAL did that?                                  8        And I was followed outside by Kevin Frame,
 9       A. Bernie Prazenica, Ron Rabena, Ted          9   the facilities manager, Sunny Lee -- and --
10   Qualli. Ted Qualli, as he said many times,       10   Sunny Lee, and they both began to talk to me
11   acted under the guidance of the board. And a     11   about problems they had in the building in the
12   lot of the decisions he made to circumvent me    12   past that led to a lawsuit. I think it was
13   was based on the meetings that he would have     13   Zenak versus the City of Philadelphia. And when
14   with -- the decision-making meetings that he     14   I looked up, Ted was coming out, and I saw him,
15   would have with Bernie Prazenica and Ron Rabena 15    as I was throwing up, through my peripheral
16   that I was excluded from. And based on that, it  16   vision. And I saw Ted with his finger telling
17   led to me having to leave the job, because I was 17   them not to tell me anything. Like, basically
18   put in a hostile work environment where I was    18   telling them, signaling them not to tell me
19   being circumvented, disrespected, belittled, and 19   anything.
20   unable to do my job accurately, because they     20        And at that point I knew something was
21   refused to work jointly with me like we were     21   going on. It's my, what, third day at PAL. So,
22   supposed to be working together.                 22   you know, I was feeling sick at the moment. So
23       Q. What is your understanding of why         23   I didn't know what was going on.
24   Ted did those things? What was the cause of his  24        So I then decided to go to visit the PAL
25   actions?                                         25   Center on my own. And this time Officer Younger

                                                                                       21 (Pages 78 - 81)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS                Document 90-1             Filed 04/07/25       Page 23 of 93


                                                 Page 82                                                   Page 84
 1                 E. CINTRON                               1                E. CINTRON
 2   was in the center, who was the officer                 2       And at that point, I called both my
 3   assigned -- was the officer assigned to the            3   sergeants to meet me at the center, and I called
 4   center, and he was -- had a mask on, and he was        4   Ted Qualli to also come to the center and meet
 5   cleaning mold off the walls and the floor. And         5   me at the center.
 6   told -- and explained to me that he was mopping        6       As a commanding officer with experience, I
 7   the floors and cleaning up the center so that he       7   know that it's not wise to make decisions soon
 8   can reopen up the center for the kids.                 8   after you get into a unit, and I've never done
 9       And I told him, Well, how long has this            9   that. But in this situation, it broke my heart
10   been going on? And he said, I'll show you,            10   that the kids had to endure having to come to a
11   Lieutenant, and he went to his office and got a       11   center under those conditions. And I
12   stack of papers that he had been reporting that       12   immediately shut the center down and had to make
13   this mold and mildew in the center has been           13   that decision, which would have been logical for
14   going on for over three years. And that he was        14   any person to make.
15   put in that center because the white officer          15       And I told the officer, I don't want you
16   didn't want to work the center no more, and him       16   to unpack anything or do anything. A
17   being a new officer assigned to PAL, they put         17   professional really has to come in here to clean
18   him there. And he ended up having to work that        18   up this mess. And I told him, Because as of
19   center.                                               19   now, the center is going to be closed.
20       He gave me a stack of papers with                 20       And I did this when the sergeants and Ted
21   pictures, multiple emails that dated back three       21   Qualli was present. And Ted Qualli immediately
22   years, and nothing was ever done to remedy the        22   told me, You can't do that. The board is the
23   mold and the mildew and the problems in that          23   only one that can make that decision. And I
24   center that left water on the floor, causing          24   told Ted Qualli that I would have to disagree
25   kids to fall, and different injuries that the         25   because, as a commanding officer, it's my
                                                 Page 83                                                   Page 85
 1                 E. CINTRON                               1                E. CINTRON
 2   officer reported.                                      2   responsibility to ensure that the kids are safe
 3        I then asked the officer, Was it ever             3   and that the officers are safe and that the
 4   fixed? And he explained to me that when the            4   community is safe, and that I cannot, in good
 5   city had the judgment in the other case, they          5   judgment, leave a center open knowing that these
 6   patched it up by cleaning it and painting over         6   kids were being exposed to mold spores and
 7   it, but they really never took care of the             7   deplorable conditions like the ones I saw at the
 8   actual problems.                                       8   center.
 9        And he's been dealing with this issue for         9       At that point, I shut down the center. A
10   a long time, which caused him to get respiratory      10   few days later -- call it intuition -- I went
11   problems, having to seek medical attention, and       11   back to the center to make sure that the work
12   the center that used to be vibrant of 150 kids        12   that -- was getting done and that they were
13   attending the center, stopped coming because of       13   cleaning up, and that the maintenance team was
14   the mildew and smell in the center, and kids          14   out there, because they were supposed to go out
15   having to be taken to the hospital for asthma         15   there to check out the center.
16   treatments and other treatments because of the        16       And when I got there, Officer Younger was
17   problems at that PAL center.                          17   in there again, and he was setting up the
18        He says, To be honest with you, the only         18   classroom and setting up supplies. And when I
19   kids that come here is the kids that don't have       19   asked him, What are you doing? The center is
20   nowhere to go after school, and that's about 12,      20   closed down. You're supposed to be reassigned
21   13 kids.                                              21   to another center. And he said that Sergeant
22        He said, The problem is, they don't want         22   Faust and Sergeant Irving ordered him to reopen
23   to shut the center down because of funding.           23   up the center because Ted told them to open up
24   They get a lot of funding for the center, even        24   the center. Because I had no authority to shut
25   though it's not a viable center right now.            25   down the center the way that I did.

                                                                                             22 (Pages 82 - 85)
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1            Filed 04/07/25       Page 24 of 93


                                               Page 86                                                   Page 88
 1                E. CINTRON                              1                E. CINTRON
 2       And they did this behind my back because         2   time we talked about it, Ted Qualli would yell
 3   neither sergeants informed me that they were         3   and get aggravated because, according to him,
 4   going to do that, because if they had informed       4   he's getting pressure from the board to reopen
 5   me, I would have -- it was a standing order on       5   up that center, even though conditions to fix
 6   my part that the center was to remain closed.        6   the center hadn't been resolved.
 7   And they went behind my back because Ted told        7        We then had a meeting with the facilities
 8   them to open it and not to listen to me.             8   committee who showed up at the PAL center. We
 9       Q. So are Faust and Irving the two               9   coordinated a meeting so that they could be
10   sergeants in the PAL unit?                          10   there and see for themselves what I observed.
11       A. Yes.                                         11   And when they got there, one of the board
12       Q. And who is it that told you Ted told         12   members agreed that the conditions were
13   them to do this?                                    13   deplorable and scolded Ted Qualli in front of
14       A. Both sergeants. Ted Qualli was               14   me, and told him, It's a shame that you allowed
15   called to come to the center again. This time       15   this to go for this long. And from that point
16   when he showed up at the center, he confirmed       16   on, the center remained closed.
17   what the sergeant said. He told me, Lieutenant,     17        Q. Is it your -- as it relates -- so
18   like I told you, you are not -- I spoke to the      18   let me back up. So the center closed in the
19   board, and you're not allowed to shut down the      19   fall of 2016?
20   center. We would lose a lot of funding if they      20        A. Yes.
21   know that this is not a viable center.              21        Q. Is it -- was it one of your -- was
22       And I stated to him that money, the money       22   it your understanding that one of your job
23   that they get for the center was not more           23   funding -- pardon me -- job responsibilities was
24   important than the safety of the kids.              24   to ensure that the PAL facilities were safe?
25       And I later found out that they were            25        A. Yes.
                                               Page 87                                                   Page 89
 1                E. CINTRON                              1                E. CINTRON
 2   telling the funders that supported the center,       2        Q. And that they were adequately
 3   that it was a viable center, that 150-plus kids      3   funded?
 4   attended the center when, in fact, that was not      4        A. Yes.
 5   true.                                                5        Q. And safe for kids to utilize those
 6        Q. The -- so this incident with                 6   buildings?
 7   Wissinoming Center, that occurred, you said,         7        A. Yes.
 8   shortly after you joined PAL?                        8        Q. And so in terms of the complaints
 9        A. My first week.                               9   that you were voicing, and the concerns that you
10        Q. And was the center ever formally            10   had, that was something -- an exercise that you
11   closed?                                             11   viewed in performing your functions as the
12        A. Yes, because -- yeah, it was                12   commanding officer, correct?
13   formally closed when I closed it down. I did        13        A. Yes.
14   discuss the matter with Deputy Commissioner         14        Q. Did at any point in -- well, did
15   Patterson who agreed with my decision. And the      15   that complaint about the Wissinoming Center, did
16   center was to remain shut down until it was         16   that have anything to do with your gender?
17   properly fixed.                                     17        A. With my gender? Me making the
18        Now, Ted Qualli's concern was that it's        18   decision? I made the decision because it
19   not a building that is owned by PAL, which is       19   was unsafe for the kids.
20   why they didn't want to invest the money in         20        Q. Right. No, I -- but what I'm trying
21   fixing the problem that kept causing the mold       21   to find out is, did that -- so did the complaint
22   to -- the growth of the mold. And I understood      22   have anything to do with your gender?
23   that. But they kept trying to convince me to        23             MR. GREEN: Objection.
24   reopen the center, and it was always, like,         24        A. I don't know what you're asking.
25   pressure to reopen up the center. And every         25        Q. So that complaint, the issue

                                                                                          23 (Pages 86 - 89)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS                Document 90-1             Filed 04/07/25       Page 25 of 93


                                                 Page 90                                                   Page 92
 1                E. CINTRON                          1                       E. CINTRON
 2   relating to the Wissinoming PAL Center, that 2             after you joined, and then never went to any
 3   was -- if I understood what you said, that was 3           other meetings?
 4   one of the reasons that you lost your job; is    4              A. Which was the second week I was at
 5   that correct?                                    5         PAL. After that I never was invited to the
 6       A. I believe that it was accumulation        6         meeting, which is the decision-making meeting
 7   of different events that I reported. And the     7         about everything pertaining to PAL.
 8   board members circumventing me to do things 8                   Q. Let me back up. I want to try to be
 9   their way, is what caused me to have the         9         specific in the questions I want to ask you.
10   stress-related problems that led to PTSD and 10                 So, earlier, I had asked you what adverse
11   everything else that I was experiencing while I 11         actions PAL had taken against you. And I think,
12   was at PAL, and now.                            12         if I have this correct, you said that the
13       Q. Right. So the culmination of             13         incident you can identify is that the actions in
14   events, the issues about the Wissinoming PAL 14            taking away your job; is that correct?
15   Center, that is one of those events; is that    15              A. Yes. I believe that by not
16   correct?                                        16         implementing or going against implementing the
17       A. Yes.                                     17         memorandum of understanding, that would show
18       Q. And I just want to be clear, the --      18         authority of who is responsible for what, and
19   your -- the issues relating to that building    19         how this collaboration works, was a direct
20   have nothing to do with your gender?            20         result of me not being there, because they
21       A. Well, I believe that when the PAL        21         didn't want to implement it, and they didn't
22   team that would get together with Ted, and not 22          want me to have any authority over PAL matters.
23   me, to make decisions was gender-related.       23                    MR. GOLDEN: Let's do PAL-4.
24       Q. But I'm just asking, the complaint       24                    (Letter is received and marked as
25   about the Wissinoming Center, leave aside the 25                    Exhibit PAL-4 for identification, as
                                                 Page 91                                                   Page 93
 1                E. CINTRON                                1                 E. CINTRON
 2   meetings, that complaint did not -- you were not       2            of this date.)
 3   complaining that you're doing this "because of         3              THE VIDEOGRAPHER: The time is
 4   my gender," did you?                                   4            1:14. We are now off the record.
 5       A. What I'm saying is their insistence             5              (A break was taken.)
 6   in reopening up that center against my wishes,         6              THE VIDEOGRAPHER: The time is
 7   and them planning to reopen the center without         7            1:15. We are now on the record.
 8   my input, was gender-related, yes.                     8       Q. Ms. Cintron, I've just identified
 9       Q. And was it --                                   9   Exhibit PAL-4. Do you recall the first -- have
10       A. Because they were excluding me as              10   you ever seen this document before today?
11   the commanding officer, a woman, from these           11       A. I briefly saw it at Internal
12   important decision-making meetings that               12   Affairs.
13   pertained to Wissinoming.                             13       Q. And do you recall what -- when you
14       Q. Who excluded you from the meetings?            14   say "Internal Affairs," was that a meeting with
15       A. When I first arrived at PAL, Bernie            15   someone?
16   Prazenica told me that there is a monthly             16       A. An interview when I was deemed the
17   meeting that I would attend with Ted. And I           17   target, and an internal investigation.
18   went to the first meeting, and for the next           18       Q. And who was conducting that
19   three years, I never attended the meeting again.      19   investigation?
20   I was never invited. I was never included in          20       A. Internal Affairs.
21   the email. I was never told what decisions were       21       Q. And so during that -- was there one
22   made at these meetings. All I know is that Ted        22   meeting or more than one meeting?
23   Qualli would come to me and basically bark            23       A. I was interviewed one time, but I
24   orders as to what the board wanted.                   24   think I went up there, like, two or three times
25       Q. So you went to one monthly meeting             25   to sign paperwork.
                                                                                             24 (Pages 90 - 93)
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS              Document 90-1            Filed 04/07/25        Page 26 of 93


                                              Page 94                                                    Page 96
 1                  E. CINTRON                      1                    E. CINTRON
 2        Q. And it was during one of those         2        in writing?
 3   meetings that you first saw this letter?       3            A. It was both by phone and in person.
 4        A. Yes, during the interview.             4            Q. Can you tell me about everything you
 5        Q. Do you know who drafted this letter? 5          said to Detective -- or, pardon me, Deputy
 6        A. I know what happened prior to the      6        Commissioner Patterson about that complaint.
 7   letter --                                      7            A. What complaint?
 8               MR. GREEN: I'm going to object     8            Q. The one about the Wissinoming PAL
 9             to that particular question. Don't   9        Center.
10             answer it. It says: A Concerned     10            A. Well, I explained -- informed him
11             PAL. I mean, that's the only        11        everything that I stated to you and my decision
12             indication of who drafted this at   12        why -- as to why I closed down the center. And
13             this point.                         13        he agreed that it was a good decision to make
14               MR. GOLDEN: Well, that letter     14        because the safety of the kids and the staff
15             may say that. I'm just asking if    15        comes first.
16             the witness has any firsthand       16            Q. Is there -- are there any documents
17             knowledge upon which she can say, I 17        in which you're aware that say that the decision
18             know who drafted it.                18        to close a PAL center would be within the
19               MR. GREEN: You mean who a         19        discretion of the commanding officer?
20             Concerned PAL is, the identity of a 20            A. No. My decision to close was based
21             Concerned PAL?                      21        on the fact that, as the commanding officer, one
22               MR. GOLDEN: Okay. I don't want 22           of my primary jobs is for the safety of the
23             a speaking objection on the record. 23        officers and the community.
24             If you're going to instruct her not 24            Q. And just so I'm clear, where -- is
25             to answer my questions then we can  25        that your understanding or is there a job
                                              Page 95                                                    Page 97
 1                E. CINTRON                             1                E. CINTRON
 2           break. I just want to ask a                 2   description for the commanding officer?
 3           specific and narrow question.               3       A. That's -- every police officer has
 4             MR. GREEN: Do you know who a              4   the duty to -- to make sure that the safety of
 5           Concerned PAL is specifically,              5   self and others comes first.
 6           Ms. Cintron?                                6       Q. But what I'm asking you is that when
 7             THE WITNESS: No.                          7   you -- as the commanding officer for PAL, are
 8        Q. So you do not know who wrote this           8   you aware of a written job description for the
 9   letter?                                             9   commanding officer?
10        A. No.                                        10       A. There wasn't one in terms of
11             MR. GOLDEN: That's all the               11   something in writing, which is why we -- the --
12           questions I have about that exhibit.       12   Commissioner Ross wanted to implement the
13             We can go off the record.                13   memorandum of understanding when Ted Qualli and
14             THE VIDEOGRAPHER: The time is            14   the board wanted to implement the policies that
15           1:17. We are now off the record.           15   they attempted to implement.
16             (A lunch break was taken.)               16       Q. What is your understanding of why
17             THE VIDEOGRAPHER: The time is            17   that policy wasn't implemented?
18           2:29. We are now on the record.            18       A. It wasn't implemented because it was
19   FURTHER EXAMINATION                                19   one-sided. It completely took all of the
20        Q. Ms. Cintron, did you complain to           20   authority away from the planning officer to be
21   Deputy Commissioner Patterson in 2016 about the    21   involved in any decision, and leaving the
22   conditions at the Wissinoming PAL Center?          22   director and the PAL board to make all
23        A. Yes. I reported the incident, the          23   decisions.
24   situation to him.                                  24       Q. So who told you it was one-sided?
25        Q. Was that done in person or by email        25       A. From reading it. And having

                                                                                          25 (Pages 94 - 97)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1             Filed 04/07/25        Page 27 of 93


                                                Page 98                                                   Page 100
 1                 E. CINTRON                              1                E. CINTRON
 2   Commissioner Ross review it.                          2       Q. So it's your testimony that Ted
 3        Q. Did Commissioner Ross tell you it             3   would come --
 4   was one-sided?                                        4       A. Ted would go to the meetings.
 5        A. Those are my words. But he agreed             5       Q. And then come -- and would come to
 6   that in the -- the writing of this memorandum         6   you and say, This is the decision that was made
 7   did not accurately show the collaboration             7   in that meeting?
 8   between the City of Philadelphia Police               8       A. These are the decisions we made at
 9   Department and PAL, the nonprofit.                    9   this meeting. This is what we are going to do.
10        Q. So those were his words?                     10       Q. How were these meetings scheduled?
11        A. Yes. In the presence of Ron                  11       A. I believe it was monthly or every
12   Prazenica and -- I mean, Ron Rabena, Prazenica,      12   other month. I'm not sure. But besides that
13   Ted Qualli, Deputy Commissioner Patterson.           13   meeting, they would meet other times as well.
14   After -- a chance was given to Captain Hailey to     14       Q. Well, if you weren't invited, how
15   review it before this meeting took place, so it      15   would you know they were occurring?
16   was per Captain Hailey, after careful review of      16       A. Because Ted would tell me, I'm going
17   that policy, that the memorandum was to be           17   to be meeting with Ted [sic], you know, to
18   implemented per Commissioner Ross.                   18   discuss this issue or that issue. Or it would
19        Q. Whose idea was it to draft the               19   be put on the calendar.
20   memorandum of understanding?                         20       Q. So it would be -- you mean, like an
21        A. Commissioner Ross.                           21   Outlook invite or something like that?
22        Q. And did he tell you why he thought           22       A. Well, he would put it on the
23   it should be implemented?                            23   calendar that he wasn't going to be in the
24        A. The explanation I just gave you.             24   office that day because he was attending these
25        Q. So that's what he told you?                  25   meetings.
                                                Page 99                                                   Page 101
 1                E. CINTRON                               1               E. CINTRON
 2       A. That's what he said to all of us at            2       Q. If you were aware of the meetings,
 3   the meeting.                                          3   were you told that you were not invited?
 4       Q. Earlier, I had asked about the                 4       A. They told me that I would be getting
 5   adverse actions that PAL had taken against you,       5   an Outlook invite every month, which I never
 6   and you had identified being excluded from            6   did. And when I asked why I wasn't attending
 7   meetings, and you then identified monthly             7   these meetings, Ted said they only wanted --
 8   meetings. Were there -- apart from the monthly        8       (Court reporter clarification.)
 9   meetings, were you excluded from any other            9       A. Ted Qualli stated that they only
10   meetings?                                            10   wanted to meet with him.
11       A. I was excluded from every meeting,            11       Q. And so when you say -- who do you --
12   every decision-making meeting.                       12   who are you referring to by "they"?
13       Q. How do you know what those meetings           13       A. When I would ask him why I was being
14   were involving if you were not in them?              14   excluded from the decision-making meetings that
15       A. Because they explained to me that I           15   they held monthly with Bernie Prazenica and Ron
16   would be invited to these meetings, and this is      16   Rabena, he told me they only wanted to meet with
17   where the decisions were made. And I attended        17   him.
18   the meeting one time, but then was never invited     18       Q. As the executive director for PAL?
19   to attend again.                                     19       A. Yes.
20       Q. So how do you know that any                   20       Q. And was it meetings with the board
21   decisions were made at subsequent meetings?          21   or meetings with only Ron and Prazenica?
22       A. Because Ted Qualli would come to a            22       A. It was both. Sometimes they would
23   general -- you know, our general office meetings     23   meet with the board, but the monthly meeting was
24   and tell us what he was instructed to do at PAL      24   just with Ron Rabena. I don't know who else
25   per the board during those meetings.                 25   would attend because I wasn't there, but the

                                                                                           26 (Pages 98 - 101)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1             Filed 04/07/25       Page 28 of 93


                                               Page 102                                                     Page 104
 1                E. CINTRON                          1                   E. CINTRON
 2   meeting -- the intention of the meeting was to   2            Q.  So this was a general meeting, you
 3   meet with either the chair or the vice-chair,    3        said?
 4   which was Bernie Prazenica or Ron Rabena, to     4            A. Yes.
 5   discuss financials, programming, everything      5            Q. And when did that occur?
 6   involving PAL.                                   6            A. 2016.
 7       Q. How is it -- is it your opinion that      7            Q. Was this the only meeting you
 8   you were excluded from those meetings based upon 8        attended?
 9   your national origin?                            9            A. No, I would go to the general
10       A. Yes.                                     10        meetings. The meetings I wasn't invited to were
11       Q. And why -- what facts do you have to     11        the decision-making meetings.
12   inform that belief?                             12            Q. So is it your testimony that no
13       A. Well, there was a systemic way of        13        decisions were made during general meetings?
14   the board and Ted doing things at PAL. And a    14            A. No. That was just the reporting
15   lot of times when I would be present during     15        from the different committees, the different
16   regular or general meetings, if they wanted to  16        committees reporting out.
17   talk, anything that I brought concerns about or 17            Q. So I guess what I'm trying to find
18   things that needed to be addressed where a      18        out is if no decisions were being made during
19   decision had to be made, they would always do   19        the general meetings, why are Ted, Bernie, and
20   their sidebar conversations, make the decision, 20        Ron going, like, to have a sidebar?
21   and then, you know, either share with me or not 21            A. That's something you have to ask
22   share with me what -- the decisions that were   22        them.
23   made.                                           23            Q. So you don't know what they were
24       Q. So those were concerns that you          24        deciding?
25   raised in meetings with Ted?                    25            A. Well, no, they were talking about
                                               Page 103                                                     Page 105
 1                E. CINTRON                               1                E. CINTRON
 2       A. Yes. It was basically all-male                 2   the topics that would come up or that I would
 3   meetings. I was never invited to meetings that        3   bring up.
 4   the commanding officer should be present at, to       4       Q. And -- but you don't know what they
 5   be able to make good decisions in a unit.             5   discussed during those sidebars?
 6       Q. So what I want to back up is, you              6       A. No.
 7   said that there were things that you brought up       7       Q. I want to again ask -- the exclusion
 8   that needed to be addressed, and then they would      8   from the meetings, how do you know you were
 9   do a sidebar?                                         9   excluded from the meetings based on your
10       A. If I brought up issues with budget,           10   national origin?
11   for instance, a discrepancy in the budget that I     11       A. I was a female commander in an
12   found as it pertains to the ordering of              12   important unit like PAL, and I was being
13   trophies, where they claim -- where they stated      13   excluded from attending the meetings that had to
14   in a financial statement that PAL has spent an       14   do with making decisions under my authority as
15   excess of almost 50 in trophies that year, but       15   commanding officer. Yet all of the males that
16   when I conducted an audit, they only had spent       16   were also involved making decisions would be at
17   20, and this was something that they had been        17   these meetings. So it's -- it was -- you know,
18   reporting for the previous five years.               18   it was vividly known that it was me who they
19       When it was brought up in the general            19   didn't want in the meeting.
20   meeting, when I brought it up in the general         20       Q. So what I want to know is, they
21   meeting, and someone else mentioned that as          21   didn't want you in the meeting, how do you know
22   well, they said, Well, let's just have sidebars      22   that had to do with your national origin?
23   on that. And Ron Rabena said it would be --          23       A. I'm the top female commander at PAL
24   after this, Bernie and Ted, follow me to my          24   responsible for making decisions, responsible
25   office to have this meeting.                         25   for the officers, responsible for the kids,

                                                                                         27 (Pages 102 - 105)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS              Document 90-1             Filed 04/07/25        Page 29 of 93


                                              Page 106                                                  Page 108
 1                  E. CINTRON                        1                    E. CINTRON
 2   responsible for safety, the facilities, the      2       verbally tell you you were being excluded from
 3   centers, everything. But I wasn't invited to     3       those meetings because you were a Latina?
 4   the meeting that was all male, five males. So 4               A. Not verbally, but it was -- I had
 5   it's not about -- it's about their actions that  5       several incidents involving Bernie Prazenica,
 6   showed that they didn't want me in there,        6       including an incident that an officer reported,
 7   because they didn't respect me as a female       7       because Bernie Prazenica was in the habit of
 8   being, an authority. They didn't respect my      8       walking into the room, just like Sullivan, and
 9   rank, they didn't respect the fact that I        9       shaking everyone's hand, but skipping on the
10   would -- was advocating for the children in the 10       minorities, including me.
11   community.                                      11            Q. Can you give me --
12        Q. So did any of those -- did any of       12            A. When that was brought to his
13   the individuals in those private meetings ever 13        attention, he stated that he's just germaphobic
14   tell you, You are being excluded from this      14       and that he didn't mean it in that way. But
15   meeting because of your national origin?        15       every meeting he did the exact same -- I mean,
16              MR. GREEN: Objection. Asked and 16            every time there was a group, he would literally
17            answered.                              17       walk by, shake people's hands. When he got to a
18              Do you understand what the term      18       black officer or Hispanic officer, he would
19            "national origin" means?               19       literally bypass them and shake the next
20              THE WITNESS: Yes.                    20       person's hand who happened to be white.
21              MR. GREEN: What does it mean? 21                   Q. And your testimony is that every
22              MS. ULAK: I'm going to object to 22           meeting you were in with Bernie Prazenica, he
23            that.                                  23       did that?
24   BY MR. GOLDEN:                                  24            A. Ninety percent of the meetings, yes.
25        Q. Yeah, go ahead. Do you know what 25              I had Officer Hampton, who was not aware that I
                                              Page 107                                                  Page 109
 1                E. CINTRON                              1                E. CINTRON
 2   "national origin" means? I'm just using the          2   was experiencing that, make a complaint about
 3   term in the complaint. So --                         3   the same matter, because he noticed it. It
 4        A. Yes. My national origin may be               4   happened at one of the meetings that he
 5   Hispanic, may be a woman, my gender being a          5   attended.
 6   female. When you have another female like            6       Q. So Officer Hatton [sic] submitted a
 7   Maureen Rush calling you and telling you, "let       7   similar complaint?
 8   the boys handle it," and making the statement,       8       A. Yes.
 9   "sit back and collect a check," that implies         9             MR. GREEN: Hampton.
10   that, as a female, they don't want me to be         10       A. Hampton.
11   involved.                                           11       Q. Hampton.
12        Q. Okay. So let me ask the question a          12       A. We were at a general board meeting,
13   different way first.                                13   and several of the officers were invited to talk
14        Did any of the individuals in those            14   about their centers, and when he approached the
15   meetings tell you, you were excluded because you    15   officers, he bypassed Officer Hampton and shook
16   were a woman?                                       16   everybody else's hand before him and after him,
17        A. They didn't verbally say it, but            17   but would not shake Officer Hampton's hand.
18   their actions showed it.                            18   Even when Officer Hampton extended his hand to
19        Q. All right. So I'll come back to the         19   Bernie, Bernie stated he was germaphobic, but
20   actions. So I just want to confirm that they        20   the officer then observed him going to the other
21   never verbally told you you were excluded           21   side of the room and continuing shaking
22   because you were a woman; is that correct?          22   everybody else's hand.
23        A. Of course not. They didn't say it           23       Q. So that meeting you recall --
24   verbally.                                           24       A. So he felt offended.
25        Q. Did any of those individuals                25       Q. Do you recall when that meeting

                                                                                        28 (Pages 106 - 109)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1             Filed 04/07/25       Page 30 of 93


                                               Page 110                                                 Page 112
 1              E. CINTRON                                 1                 E. CINTRON
 2   occurred?                                             2   safety in all of the centers. We had issues in
 3       A. It was one of the board meetings,              3   a lot of the centers. I'll put it that way.
 4   like 2017, I believe. I don't remember the year       4        Q. What I want to ask next is, you've
 5   it was.                                               5   given me an example of Officer Hampton
 6       Q. And Officer Hampton, he was the --             6   complaining about Bernie. What I want to ask
 7   was he -- was that room -- was he the only            7   is, can you tell me, as it relates to Bernie and
 8   African-American in the room?                         8   you, yourself, things that you witnessed with
 9       A. No, there were several other                   9   Bernie? Can you tell me what incidents occurred
10   African-Americans in the room, but he was the        10   that you felt you were being discriminated
11   only one that complained that he noticed that        11   against or unfairly treated because of your
12   him being the only African-American in the           12   gender or being Latina?
13   circle where he was standing, that Bernie            13        A. Well, he did the same thing to me as
14   Prazenica bypassed him and continued to shake        14   far as not shaking my hand whenever I saw him.
15   everybody else's hand, just like he had did to       15        And in terms of me being Latina, I just
16   me previously.                                       16   feel that, as a representative of the community
17       Q. So is it -- am I fair to understand           17   I served, I know the names of the community, and
18   that Bernie did not shake hands -- that he           18   I noticed there would be preferential treatment
19   skipped shaking -- he did not shake hands with       19   taking place in the centers where white kids
20   any African-American in that room; is that what      20   attended most, and centers where black and
21   you're testifying?                                   21   underprivileged children attended, there was a
22       A. I'm speaking to him, because he               22   difference in the programs. There was a
23   reported that to me. No one else reported that       23   difference in the funding. There was a
24   to me.                                               24   difference in the way the facilities looked, you
25       Q. Did you personally observe that?              25   know, and how they would prioritize fixing
                                               Page 111                                                 Page 113
 1                E. CINTRON                               1                E. CINTRON
 2       A. I didn't observe it. He told me                2   certain things in certain centers, but left a
 3   about it. And he initially went and told Ted          3   center like Wissinoming three years infested
 4   about it, What's that all about? you know, he         4   with mold. Because that was not the only center
 5   told Ted. And then both of them came up to me,        5   that we had issues with.
 6   and we were -- and he told me what happened.          6       Q. So I need to reframe this question.
 7       Q. So what I want to back up and ask --           7       I understand what you're saying about the
 8   so you also said that the -- the people that          8   PAL centers. What I'm asking you about is what
 9   excluded you, they didn't respect your rank; is       9   are the things the Bernie Prazenica did to you
10   that correct?                                        10   where you felt he did them because of your
11       A. The people -- when you say "people,"          11   gender or national origin.
12   are you talking about Bernie Prazenica?              12       A. I feel that because I was a Latina
13       Q. Well, you said that -- when I was             13   commander in the unit, by being excluded is
14   talking about being excluded from meetings, you      14   enough. Being excluded from the decision-making
15   said they didn't respect your rank and they          15   meetings is enough, because he literally was
16   didn't respect your advocacy for the kids. And       16   taking my authority away from me to be able to
17   I'm trying to find out who is the "they" that --     17   function properly at my job, to be able to
18       A. Ted Qualli, Ron Rabena and Bernie             18   properly do what I needed to do to service the
19   Prazenica.                                           19   communities I served. And whenever I would
20       Q. And so --                                     20   bring up issues of inequality, they did nothing
21       A. They were upset because I advocated           21   about it. They continued with their practices.
22   for the children and reported different things       22   They continued doing the things that they were
23   like safety at Wissinoming PAL. And I would,         23   doing that was very uneven.
24   you know, talk to Bernie and Ron about the           24       You know, I can give you some examples
25   different issues we were having in terms of          25   about the programs. You know, we have programs

                                                                                        29 (Pages 110 - 113)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1             Filed 04/07/25       Page 31 of 93


                                               Page 114                                                  Page 116
 1                 E. CINTRON                              1                 E. CINTRON
 2   like the wrestling program at Rizzo PAL. Rizzo        2   and the board that the officers had submitted a
 3   PAL is a center that is predominantly all white       3   proposal, which was better than the way they
 4   children, and the Rizzo PAL wrestling team gets       4   handled boxing back in the day where, this time,
 5   to travel, including going to Disney World. And       5   instead of being ran by the officers, it would
 6   in the centers where there's predominantly black      6   have been a professional boxer. They wouldn't
 7   children, where they prefer to play basketball,       7   be allowed to actually fight matches. It would
 8   those officers are not allowed to do travel ball      8   just be learning the skill of boxing, you know,
 9   because they don't want the kids to leave the         9   just because it's an outlet for the kids. And
10   state. So why one group of kids is allowed to        10   they were denied doing it because it's too
11   leave the state while the other one is being         11   dangerous. But yet wrestling is dangerous.
12   told, No, it's part of the rules, they can't --      12   They have an outside organization that runs
13   we can't do it. Even though their biggest            13   under the purview of PAL, which is not a PAL
14   endowment is the Josh Harris Foundation, which       14   program. They are basically allowing an outside
15   gives them enough money for a better basketball      15   entity to run a basketball program and claiming
16   program.                                             16   that it's PAL, while PAL is picking up the bill
17        Q. Why is it that the basketball team           17   on that.
18   does not leave the state?                            18       And the same thing with gymnastics. The
19        A. Because Ted said they are not                19   girls -- people have gotten hurt wrestling;
20   allowed to leave the state because it's a PAL        20   broken arm, broken leg. Girls have gotten hurt
21   policy, but yet they let the wrestling team          21   doing gymnastics, again a sport that they play
22   travel out of state.                                 22   in a predominantly white neighbor -- practice in
23        Q. So Ted told you that that was the            23   a predominantly white neighborhood. I would say
24   policy?                                              24   90 percent of the girls attending that program
25        A. And so did the board at several              25   is white little girls, or Caucasian -- better
                                               Page 115                                                  Page 117
 1                E. CINTRON                               1                E. CINTRON
 2   meetings when I brought the topic up.                 2   phrasing. They can fall and get hurt at any
 3        Q. And what is the policy? Do you know           3   time, but yet that's acceptable.
 4   specifically what it states?                          4       Again, that's another program that is a
 5        A. I always asked them to show me the            5   program that is not a PAL program, that PAL
 6   policy. Maybe we need to amend these policies         6   allows the company to use in a PAL facility,
 7   because they are not fair and equal. And they         7   and, you know, pay for equipment and stuff for
 8   said, That's just the way it is. They would not       8   them, even though it's not an actual PAL
 9   give me the opportunity to correct the wrongs         9   program.
10   because that's what they wanted to do.               10       But if you go on the site, they clearly
11        Q. So you had an opportunity -- there           11   make it look like it's their PAL-ran -- I'm
12   was -- am I correct that you recall an               12   sorry -- PAL-ran programs, when they are not.
13   opportunity for the basketball team to travel        13   They are ran by other people.
14   out of state?                                        14       So they don't let an officer who is
15        A. Yes. The officer submitted                   15   certified to do this job and to be around these
16   different requests at different times because        16   kids -- kids all the time, take the kids out of
17   the kids in that neighborhood, it's an outlet        17   state, but they allow someone that's not even
18   for them. Because sometimes the only thing they      18   part of the organization take the wrestling team
19   have is a corner-street basketball court. So         19   to Disney.
20   that's what they like to do. And they wanted to      20       So these were the things that I would
21   do travel ball, and they were always told that       21   bring up as far as the, you know, inequality in
22   they can't do it because the kids can't travel.      22   terms of the programs that they were -- we were
23        They also wanted to do boxing, which is         23   providing for the kids. And they didn't find
24   one of the main sports that propelled PAL when       24   anything wrong with it. They would just shut me
25   it first opened. And I explained to Ted Qualli       25   down and continue their -- the disparity was so

                                                                                         30 (Pages 114 - 117)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1             Filed 04/07/25       Page 32 of 93


                                               Page 118                                                 Page 120
 1                 E. CINTRON                              1                E. CINTRON
 2   huge that, you know -- but they would not let me      2   is what they were doing.
 3   fix those problems.                                   3       Q. So would they let a male Latino make
 4        Q. So you said that you brought up               4   that --
 5   these issues during meetings?                         5       A. I don't know what they would do, but
 6        A. Yes.                                          6   I know that the previous commander was white,
 7        Q. Who were in those meetings?                   7   and they didn't exclude him from the meetings.
 8        A. Ted Qualli, Bernie Prazenica at the           8       Q. How do you know that?
 9   board meetings, the general board meetings. And       9       A. Because they told me that Lieutenant
10   we were bringing it up in personal                   10   Eddis would attend the meetings.
11   conversations, and I was always told to tell         11       (Court reporter clarification.)
12   officers that they cannot implement these            12       A. Eddis.
13   programs.                                            13       Q. E-D-D-I-S.
14        And it's okay if, funding-wise, we can't        14       And so when you say "they," you're
15   do certain things. But in the case of                15   referring to Ron, Bernie, and Ted?
16   basketball, we get the most funding from the         16       A. Yes, when they told me that I would
17   Josh Harris Foundation. And, you know, like, if      17   be attending the same meeting as well, but then
18   it's not in the budget, that's understandable.       18   was not invited to attend. I was definitely
19   But it should not be where one group of kids is      19   treated different than my male counterparts in
20   allowed to do something that the minority kids       20   the unit.
21   are not allowed to do.                               21       Q. Well, so let me ask a more specific
22        Q. Is it your testimony there are no            22   question because then maybe I can focus what I'm
23   minority children on the wrestling team?             23   asking next.
24        A. No, I didn't say that. There's a             24       You're saying that you felt treated
25   few, but it's a predominantly white PAL center.      25   differently as a female. And because, for
                                               Page 119                                                 Page 121
 1                E. CINTRON                               1                E. CINTRON
 2        Q. Okay. So there are some minority              2   example, it was all men in those meetings. What
 3   children on the wrestling team?                       3   I'm asking you is, is there anything
 4        A. Yes.                                          4   specifically, not including being a female, are
 5        Q. And have you -- just so I'm clear,            5   there any instances where you felt Bernie
 6   you have not seen the policy that governs which       6   treated you differently because you're a Latina?
 7   programs can travel out of state?                     7   Excluding your gender. Leave that aside for the
 8        A. Right. They have none. They keep              8   moment.
 9   telling me they want to -- that they were going       9       A. I just explained that to you.
10   to establish policies because they were -- the       10   You're treating me differently when you won't do
11   ones that were in place were so outdated, but it     11   this to a male commander. You're treating me
12   was never done. Or at least they never showed        12   differently when, as the female commander of the
13   them to me.                                          13   unit, you're excluding me from meetings that I
14        Q. Just you -- just so we're clear,             14   should be attending to make decisions.
15   whatever that -- the date, I understand the          15       Q. Do you know how long Officer Eddis
16   complaints you are making, but I just want to        16   was the commanding officer for PAL?
17   come back. Bernie Prazenica, what actions did        17       A. No.
18   he take, apart from not shaking your hand, that      18       Q. And do you know who's the commanding
19   made you believe he was acting towards you           19   officer before Eddis?
20   because you're a Latina?                             20       A. No, I don't recall.
21        A. Like I mentioned, excluding me from          21       Q. So how do you know that Commanding
22   the meetings that they would not otherwise           22   Officer Eddis wasn't excluded from any of the
23   exclude a male commander, is what they did.          23   meetings?
24   Excluding me from making decisions that              24       A. I don't know if he was excluded from
25   otherwise they would let a male commander make,      25   any of the meetings, but according to Ted, he

                                                                                        31 (Pages 118 - 121)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS             Document 90-1           Filed 04/07/25        Page 33 of 93


                                             Page 122                                                Page 124
 1                E. CINTRON                           1                E. CINTRON
 2   attended the monthly meetings with Eddis when     2   that behavior. You're condoning the behavior
 3   Eddis was there.                                  3   when I tell you that the PAL headquarters
 4       Q. So your understanding of his               4   civilian staff are constantly saying racial
 5   attendance is from Ted?                           5   jokes and innuendos, and you think it's funny,
 6       A. And Bernie Prazenica and Ron, when         6   and you tell me that it's okay for them to say
 7   they told me that -- when I came to PAL, that I   7   whatever they want to say because they can say
 8   would attend the same meetings, and it's          8   whatever they want to say. And when you don't
 9   attended with Ted on a monthly basis to talk      9   take action to rectify that behavior in your
10   about the problems and where they would make the 10   employees, then you're condoning it.
11   decisions for PAL. So I was told that I would    11        And part of that -- being exposed to that
12   be invited, just like Lieutenant Eddis would be  12   was me, as a commanding officer, when people
13   invited -- was attending those meetings, but I   13   make comments like, "your officer is retarded,"
14   wasn't.                                          14   and things like that, that they were saying at
15       Q. Just so I'm clear, you have no            15   meetings.
16   personal knowledge from Commanding Officer       16        Q. Who is the "they"?
17   Eddis, what meetings he attended or did not; is  17        A. Or they would request specific
18   that correct?                                    18   officers to go to certain meetings because of
19       A. My knowledge came from Bernie             19   their color.
20   Prazenica and Ron Rabena.                        20        Q. Do you feel that any of that conduct
21       Q. Apart from being excluded from the        21   was targeted towards you?
22   meetings, and Bernie not shaking your hand, what 22        A. I believe that they were sending
23   other incidents can you identify where you felt  23   a -- the wrong message, that being inclusive is
24   you were treated differently because of being    24   not important in the community that we serve,
25   Latina or a female, by PAL?                      25   that it's okay to allow women to feel like they
                                             Page 123                                                Page 125
 1                 E. CINTRON                         1                 E. CINTRON
 2       A. That -- can you repeat that               2    are less than what they are, even though they
 3   question? Because it seems like it's the same    3    worked just as hard as men to achieve where they
 4   question.                                        4    are at. And I wasn't treated as my male
 5       Q. Well, so sure. Let me -- so let           5    counterpart by Bernie and Ron, or Ted for
 6   me -- I'll try to explain it this way: What I'm  6    that matter.
 7   trying to find out from you is instances where   7         Q. Who is the male counterpart that
 8   you felt you were treated differently because    8    you're identifying?
 9   you are either Latina or a female. And we have   9         A. I'm talking about anybody in the
10   talked about a couple. Right? You said, I was   10    room. If they came in, they spoke to the men,
11   excluded from the meetings, and that Bernie did 11    they didn't speak to me. Bernie wouldn't even
12   not shake your hand.                            12    speak to me and not even shake my hand or
13       What I'm trying to find out, are there any  13    acknowledge me. They wouldn't invite me to the
14   other things that you can say: This             14    meetings to -- for me to get information about
15   event occurred, and I felt treated differently  15    the programs I'm supposed to run or make a
16   because I am either a Latina or a female?       16    decision on the funding, or help with the needs
17       A. Yes. As I mentioned earlier, when        17    of PAL in the community. Like, I was totally
18   Deputy Commissioner Sullivan enters an office   18    excluded. What other reason would it be other
19   where Bernie Prazenica and Ron Rabena is        19    than to exclude me because I am a woman? And
20   standing, along with -- I mean, Ted Qualli was  20    they made it a point to send another woman to
21   not there. It was Bernie Prazenica and Ron      21    tell me to stay out of it and let the men run
22   Rabena, were standing, and I'm being told what  22    it.
23   she has to say doesn't matter, and I'm being    23         Q. And that's what Maureen Rush told
24   flagged, something that they would not do to a  24    you?
25   male commander, and you laugh, you're condoning 25         A. Yes, as per her, it was the message

                                                                                     32 (Pages 122 - 125)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1             Filed 04/07/25       Page 34 of 93


                                               Page 126                                                  Page 128
 1                E. CINTRON                          1                     E. CINTRON
 2   she was relaying from Bernie and Ron Rabena. 2            recall Ted, Bernie, or Ron, anyone at PAL
 3       Q. Did Bernie ever tell you that they        3        treating you unfairly because it was, in your
 4   sent Maureen Rush to deliver that message to 4            opinion, due to your being Latina or female?
 5   you?                                             5            A. Yes.
 6       A. No. She told me. She confirmed it.        6            Q. What's that?
 7       Q. Did Ron or Ted ever tell you that         7            A. When we were returning from a
 8   they sent her to deliver the message?            8        meeting, Ted explained that he was upset about
 9       A. No. But Ted was the one that              9        the memorandum of understanding. I believe that
10   delivered the message under false pretense that 10        was the same meeting where we had brought
11   I was meeting with her for programs.            11        Commissioner Ross about the memorandum of
12             (Email is received and marked as      12        understanding, and while we were riding back in
13           Exhibit PAL-5 for identification, as    13        the car, he stated, You're -- the only reason
14           of this date.)                          14        why you're at PAL is because the commissioner
15       Q. This, Ms. Cintron, if you -- this        15        wanted you to represent the community we serve.
16   was produced separately, but I believe it's     16        He said, But you're meant to be seen, not heard.
17   related to PAL-3, looks to be -- they have the 17             And then he said, What the commissioner
18   same subject matter and time frame.             18        wants doesn't matter because PAL runs -- runs
19       A. Yes.                                     19        the unit. He said, And the board is the final
20       Q. And in PAL-3, it says: Does the          20        decision-makers. He was talking about the board
21   time on 10/24 work for you? This was a date 21            being the decision-makers.
22   proposed by Ms. Faust. And in PAL-5, Ted 22                   Q. Do you know who the commanding
23   responds to you -- PAL-5 is the one I just gave 23        officer of PAL is now?
24   you.                                            24            A. No.
25       A. This one?                                25            Q. Do you know who the commanding
                                               Page 127                                                  Page 129
 1                  E. CINTRON                             1                E. CINTRON
 2        Q. Yup. If you look in the middle. It            2   officer of PAL was immediately after you left?
 3   says L-T. I assume -- it's my interpretation          3       A. I don't recall the name, but I do
 4   he's referring to you as Lieutenant. He says:         4   know that Commissioner Ross has selected a black
 5   Unfortunately, that time does not work for me as      5   male to -- captain to take my place once I left.
 6   I have a meeting in Bala Cynwyd.                      6   After that, they put a white female, Captain
 7        And so was it your understanding that Ted        7   Campbell, who is now Deputy Commissioner
 8   would be participating in a meeting with you and      8   Campbell, which was Sullivan's first choice to
 9   Maureen Rush?                                         9   be at PAL when he tried to eliminate me, get rid
10        A. No.                                          10   of me when he came to PAL.
11        Q. Is it your opinion that you're               11       Q. That was Deputy Commissioner
12   excluded from meetings, and Bernie wouldn't          12   Campbell?
13   shake your hand, and the other things you just       13       A. She's currently the Deputy
14   listed -- it's your opinion that that was due to     14   Commissioner Campbell.
15   your being Latina and a woman, correct?              15       Q. And who -- was it your testimony
16        A. Yes.                                         16   that Sullivan hired her to be the -- or promoted
17        Q. And so your conclusions are based            17   her, chose her to be the --
18   upon your interpretation and belief?                 18       A. No, I'm not saying that. What I'm
19        A. No, based on my observations.                19   saying is that when Sullivan first got to PAL,
20        Q. And so in those meetings, is it your         20   one, he requested to overseeing the Police
21   testimony that Bernie would refuse to shake the      21   Athletic League unit. He immediately started
22   woman -- the hand of any woman?                      22   to -- went to Commissioner Ross, requesting that
23        A. I would see him shake other women's          23   I be replaced. He went to Commissioner
24   hands.                                               24   Patterson to oversee the unit voluntarily. Then
25        Q. Is there anything else where you can         25   he went to Commissioner Ross and tried to get me

                                                                                        33 (Pages 126 - 129)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1            Filed 04/07/25       Page 35 of 93


                                               Page 130                                                 Page 132
 1                E. CINTRON                              1                E. CINTRON
 2   removed without cause and bring in another           2       A. The Police Athletic League was given
 3   commander.                                           3   over $250,000 for the purpose of opening a
 4        And once Commissioner Ross left, they           4   center in the 26th District three years prior.
 5   placed Captain Campbell in my position. Someone 5        And I was familiar with this because they
 6   that Commissioner Sullivan told not to speak to      6   originally approached me. Captain Cappy had
 7   me in reference to a PAL matter, in reference to     7   called me because at the time I was the director
 8   the grand opening of the 26th District. She was      8   or the coordinator of the Police Explorers
 9   an ally working with me to get the center open.      9   program at the 25th District. And he called me.
10   And after, the community sent a letter to           10   He said, Hey, we have a donor that wants to give
11   Councilwoman Maria Quinones, that PAL had           11   money to the Police Explorers and to PAL. And I
12   received over $250,000 to open a center in the      12   referred them to give that money to -- to go
13   26th District three years prior, and had not        13   through Finance to give that money. And they
14   utilized the money for that purpose.                14   referred the family to PAL, to donate the
15        Because she was the captain in the 26th        15   portion they wanted to make -- to donate to PAL
16   District, me and her were working together to open 16    directly. And that was three years prior.
17   up that center, to get that center working, up and  17   That's why I had knowledge of it, and prior to
18   running, because after I located a location to get  18   being the commanding officer at PAL.
19   the center up and running, some repairs needed to 19         And there was a letter sent to the
20   be made before we could open the doors, for which 20     councilwoman in reference to PAL not taking
21   Ted Qualli and the board did not want to spend the 21    action to open up that center. Because Captain
22   money to make the repairs, so that the center could 22   Campbell and I were trying to get a center
23   be safe before we opened up the doors.              23   opened, we were trying to work with Ted Qualli,
24        I went and talked to someone I knew in the     24   Bernie Prazenica, and Ron to get these repairs
25   painters union, who donated over $30,000 of         25   done to get the center opened, and it became a
                                               Page 131                                                 Page 133
 1                E. CINTRON                           1                   E. CINTRON
 2   paint to get the gym painted, and labor to get    2      to-do because they didn't want to spend the
 3   work done as far as all the painting was          3      money fixing up the things that needed to be
 4   concerned.                                        4      fixed.
 5       I was concerned because there was a           5          Q. You said that when Deputy
 6   bathroom that was a unisex bathroom by the doors 6       Commissioner Sullivan came in, he tried to get
 7   that led to the outside alley, a door that the    7      you removed without cause and bring in another
 8   building owners wanted to keep open for safety    8      commander. Who was that commander?
 9   reasons. But it was known that there was -- the   9          A. I don't know, but I believe it was
10   homeless people would sneak into the building    10      Captain Campbell, because shortly after that, he
11   through that same door to sleep in the building, 11      called Captain Campbell and told her not to
12   so it would have been unsafe for the kids to     12      speak to me, and not to get involved in the
13   have to use that bathroom, away from the         13      situation involving the 26th District grand
14   officers' view. And I requested that the         14      opening.
15   bathroom be either relocated or some form of     15          I know this because I spoke to her after a
16   door to -- that we can secure that door somehow. 16      meeting that we had at the 26th District, and
17   And request that an officer for -- an office for 17      she told me, I got to stay away from you. I
18   the officer, as well as a game -- a computer     18      just got reamed down. The commissioner doesn't
19   room for the kids. And they didn't want to       19      want me to talk to you. And I'm just going to
20   spend the money to get those corrections done    20      stay out of it.
21   before we opened up the center, even though they 21          He then called the sergeants to his
22   had that endowment that was given to them for    22      office, as well, and he was basically telling
23   that purpose.                                    23      people to stay out of -- basically to isolate me
24       Q. Who is the "they"? Is that Ron,           24      and not talk to me, and siding with the board on
25   Bernie, and Ted?                                 25      these matters.

                                                                                        34 (Pages 130 - 133)
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS             Document 90-1           Filed 04/07/25       Page 36 of 93


                                             Page 134                                                Page 136
 1                E. CINTRON                           1                E. CINTRON
 2       Q. Captain Campbell is a female; is           2   asked Sullivan to have you removed?
 3   that correct?                                     3       A. Yes, because when DC Sullivan
 4       A. Yes.                                       4   attempted to have me removed, and I had a
 5       Q. And she's Caucasian?                       5   conversation with him in the office, he
 6       A. Yes.                                       6   mentioned, You know, the board is not happy with
 7       Q. Are you aware of anyone at PAL             7   you. And they don't want you there. They want
 8   trying to have you replaced?                      8   you removed.
 9       A. Anyone at PAL trying to have me            9       And he -- but he never mentioned that he
10   replaced?                                        10   tried to get me removed. I received that
11       Q. Right. So you said that Deputy            11   information from Patterson when he informed me
12   Commissioner Sullivan had wanted to have you     12   that Sullivan was going to take over PAL.
13   removed. Is there anyone at PAL that wanted to   13       Q. So I want to isolate a sentence.
14   have you removed?                                14   Sullivan told you that the PAL board was, quote,
15       A. Ted Qualli, Bernie, and Ron.              15   not happy with you, correct?
16       Q. And how do you know that?                 16       A. Yes.
17       A. Because they were going to                17       Q. Leave that phrase aside for a
18   Commissioner Sullivan and advocating for changes 18   second. Did Sullivan ever tell you that Bernie,
19   to be made because of me speaking up, and        19   Ted, or Ron specifically wanted you removed?
20   talking about the problems, you know, the        20       A. Yes. He said -- he said, You know,
21   deplorable conditions at the centers.            21   they don't want you there.
22       Q. How do you know that they went to         22       Q. Okay. When did he say that?
23   Sullivan and asked for that?                     23       A. At the -- during the conversation
24       A. Prior to Sullivan coming over to          24   that I had with him. And I didn't even know
25   PAL, we were at the 25th District PAL for an     25   about the fact that he already had actually went
                                             Page 135                                                Page 137
 1                E. CINTRON                          1                 E. CINTRON
 2   event, and Ron Rabena and Ted -- Ron Rabena and 2     and tried to get me removed.
 3   Bernie Prazenica were speaking and they knew,    3        Q. And did he ever tell you that they
 4   before I knew, that Sullivan was going to be in  4    don't want you there because you're Latina?
 5   charge of PAL. Bernie made a comment and said,   5        A. They didn't say that.
 6   How about that? We are getting our boy to be     6        Q. Did he ever --
 7   Deputy Commissioner and requesting to oversee    7        A. I mean, he didn't say that to me.
 8   PAL. And he mentioned that he hopes it happens   8    He just said they don't want me there -- They
 9   because at least Sullivan would look out in      9    don't want you there.
10   their best interest.                            10        Q. And did he ever tell you that they
11        Q. What I want to know, though, is how     11    didn't want you there because of your gender?
12   do you know that they, the three of them asked  12        A. He never said that, either.
13   Sullivan to remove you? Did any of them tell    13        Q. Now, you mentioned that the -- you
14   you that they asked for that?                   14    were speaking up about the deplorable conditions
15        A. They never asked for that. But once     15    in some of these facilities; is that correct?
16   Sullivan was in his position as deputy          16        A. Yes.
17   commissioner, he was abusing his authority as a 17        Q. And is it your understanding that
18   commissioner, and instead of speaking to me on  18    that's why the board was not happy with you?
19   PAL matters, he was going directly to the board 19        A. They were not happy because I would
20   and speaking with them. And then all of a       20    ask them to get some of these things resolved.
21   sudden, I'm being -- I'm the subject of an      21    And a lot of times when I would try to get
22   investigation for something I reported.         22    things resolved, like getting some emergency
23        Q. Okay. What I'm trying to ask you is     23    situations taken care of, I was put through a
24   not that question. It is: Did -- do you have    24    loop as to who is going to approve for an
25   firsthand knowledge that Bernie, Ted, or Ron    25    electrical outlet that's sparking fire, to get

                                                                                     35 (Pages 134 - 137)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS                Document 90-1             Filed 04/07/25       Page 37 of 93


                                                Page 138                                                 Page 140
 1                E. CINTRON                                1               E. CINTRON
 2   fixed, for two weeks. And when I tried to order        2   I mentioned to you that I had with Sullivan.
 3   an electrician to get it fixed, Sunny Lee, who         3       Q. Okay. Did any of them, directly to
 4   is the chief financial officer, said Oh, I'm           4   you, encourage you to resign your post?
 5   going to go look at it. And I'm like, Are you          5       A. Sullivan -- when I spoke to
 6   an electrician? Because if you're not, what we         6   Sullivan, he asked me why won't I just pick
 7   need is an electrician to go fix an outlet             7   another unit and go. Like, he offered me to
 8   that's sparking fire.                                  8   pick another unit.
 9        So they would put all of these barriers,          9       Q. So then Bernie, Ted, or Ron never
10   is what they were doing, for me to be able to do      10   had a -- they never encouraged you to leave?
11   my job effectively, when it came to trying to         11       A. No. They would go through DC
12   make the center safe.                                 12   Sullivan to address me on those matters.
13        Q. So they were frustrated with your             13       Q. Do you know that they went to DC
14   efforts to make the centers operate safely?           14   Sullivan to have you leave?
15        A. They were -- I wouldn't say that              15       A. Yes. According to Sullivan, he
16   they were -- my efforts to make the centers           16   said, I spoke with the board. They don't want
17   safely. They were frustrated about the finances       17   you there. But Commissioner Ross doesn't want
18   behind -- or having to spend money to get some        18   to move you.
19   of these things fixed. And had their -- and, in       19       Q. And do you -- can you give me an
20   my opinion, had their priorities in the wrong         20   approximation of when that conversation with DC
21   place.                                                21   Sullivan occurred?
22        When I was trying to get an electrician to       22       A. All of this began as soon as he got
23   fix a faulty -- faulty wires at the center, that      23   there. He got there, and he was trying to get
24   the officers couldn't use because it was              24   rid of me. He was trying to circumvent me. He
25   sparking -- sparking, Ted Qualli said, Oh, they       25   isolated me by telling people not to speak to
                                                Page 139                                                 Page 141
 1                E. CINTRON                                1                E. CINTRON
 2   are not -- maintenance is not going to go over         2   me. He began doing a lot of things to take my
 3   there. They have to paint a wall at                    3   workload off. He was reassigning my jobs or my
 4   headquarters.                                          4   initiatives. And he was utilizing my resources
 5       So, to me, it was a power struggle on              5   to enhance his own foundation.
 6   Ted's behalf, that if I said, Let's go fix an          6        Q. What evidence do you have that he
 7   outlet, Ted was saying, No, I need them to paint       7   used PAL resources to enhance his own
 8   a wall, because we are getting some visitors at        8   foundations?
 9   headquarters this week.                                9        A. It took me about a year to finally
10       So, to me, that's misplacement. He's              10   start the Police Blue Cadets Drum Line. It's
11   abusing his authority, one, and misplacing where      11   public knowledge, because it's all over the
12   the -- the needs are real, if that makes any          12   media, that they performed their first, you
13   sense.                                                13   know, I guess, their first time at the PAL
14       Q. Did anyone from PAL -- let me ask              14   dinner. And at that dinner, my -- Deputy
15   this. Did Ron Rabena -- did Ron, Ted, or Bernie       15   Commissioner Sullivan spoke to my Blue Cadets
16   have the authority to remove you as commanding        16   Drum Line director. Afterwards, the next day,
17   officer?                                              17   Sullivan called me and was asking me where does
18       A. No.                                            18   the officer, the director of the drum line work.
19       Q. Did any of them --                             19   And he asked me for the officer's information.
20       A. They have a say, because just like             20   He then contacted that officer. The officer
21   they could recommend who comes in, they               21   stopped coming to PAL to do his weekly classes
22   recommend who leaves.                                 22   with the PAL kids, stating that he was busy and
23       Q. Are you aware of any of those three            23   that he had gotten hurt at work, and he couldn't
24   ever recommending that you be removed?                24   practice with the kids no more.
25       A. All I know is the conversation that            25        The next thing I know, the officer is on

                                                                                         36 (Pages 138 - 141)
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1              Filed 04/07/25        Page 38 of 93


                                                Page 142                                                   Page 144
 1                E. CINTRON                                1                E. CINTRON
 2   the news with Sullivan, because Sullivan started       2       A. Because I spoke to DC Patterson when
 3   his own drum line for his organization, and they       3   he instructed me that PAL -- that Sullivan
 4   debuted at the Irish Day Parade. And the person        4   requested to oversee PAL. And he informed him.
 5   that was teaching his kids was my director that        5       Q. So Sullivan wanted to oversee PAL,
 6   he stole from me, basically. So, as a result, I        6   but --
 7   couldn't find someone else to replace the              7       A. And he wanted to bring someone of
 8   officer, and we couldn't continue with the             8   his choosing to PAL. Not just my position, but
 9   program.                                               9   he also tried to bring someone -- his own wife
10       When I saw Sullivan, not knowing that he          10   to work at police headquarters near him.
11   was utilizing my director to form his own drum        11       Q. And the individual that Sullivan
12   line, I asked him, Hey, my drum line director         12   wanted to replace you with was a female captain,
13   said he's hurt, and he can't teach kids how           13   correct?
14   to -- you know, like, continue teaching the           14       A. I'm not sure. But when I spoke to
15   kids. And I said, Would it be possible if I           15   Campbell later on, and she told me that he told
16   could send a citywide message asking any other        16   her to stay out of it and not speak to me, she
17   officer if they will volunteer to teach the           17   also mentioned that, you know, that it was
18   kids -- teach kids to replace this other              18   better for her not to get involved, and that he
19   officer? And at no time did Sullivan tell me          19   will remember that she -- you know, if she
20   that he was utilizing my director for his own --      20   stayed away. She says, So I'm just going to
21   building his own drum line. And he said to me,        21   stay away because I don't want no more problems.
22   I don't care, do it if you want. Like, he             22   Because I don't know what she interpreted by
23   didn't even care that the drum line was falling       23   that.
24   apart, as someone that's supposed to be               24             MR. GREEN: Excuse me. Can we
25   responsible of the PAL unit. But at the same          25           take a break?
                                                Page 143                                                   Page 145
 1                E. CINTRON                                1                E. CINTRON
 2   time it was no surprise to him that I didn't           2             MR. GOLDEN: Sure.
 3   have a director.                                       3             THE VIDEOGRAPHER: The time is
 4        And sure enough, two weeks later, they are        4           3:32. We are now off the record.
 5   all over the news that Sullivan started a new          5             (A break was taken.)
 6   drum line program that mimicked my program, but        6             (Family Leave of Absence Request
 7   for his foundation.                                    7           is received and marked as Exhibit
 8        Q. Did DC Sullivan have the authority             8           PAL-6 for identification, as of this
 9   to remove you from your post?                          9           date.)
10        A. No, because I was chosen by                   10             THE VIDEOGRAPHER: Time is 3:45.
11   Commissioner Ross.                                    11           We are now on the record.
12        Q. So --                                         12       Q. Ms. Cintron, I just introduced
13        A. He can make recommendations, if he            13   Exhibit PAL-6. Do you recognize -- is that your
14   wanted to.                                            14   signature on that document?
15        Q. So that's the same then, Sullivan             15       A. Yes.
16   can make recommendations, but it is ultimately        16       Q. And this is a request for leave, for
17   up to Ross to decide to remove you from the           17   FMLA leave starting on February 1st, 2018; is
18   post?                                                 18   that correct?
19        A. Yes, because my position, I was               19       A. Yes.
20   appointed to that position by Commissioner Ross.      20       Q. And to whom did you submit this
21   So he, in essence, selected me for that               21   FMLA -- when I use the term FMLA, you understand
22   position. So Sullivan would have gone -- and          22   that I mean the Family Medical Leave Act?
23   did go to him to try and get me removed.              23       A. Yes.
24        Q. And how do you know that Sullivan             24       Q. Do you recall to whom you submitted
25   went and tried to have you removed?                   25   your FMLA leave request?

                                                                                           37 (Pages 142 - 145)
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS                Document 90-1             Filed 04/07/25       Page 39 of 93


                                                Page 146                                                  Page 148
 1                E. CINTRON                                1              E. CINTRON
 2        A. According to the policy, you submit            2   that form?
 3   it to Personnel. Once they review it, they send        3        A. Yes.
 4   it to your supervisor.                                 4        Q. And is this -- the stated basis
 5        Q. And so was that the -- you said --             5   is -- the reason for requesting separation is
 6        A. So this was forwarded to Deputy                6   retirement; is that accurate?
 7   Commissioner Sullivan for approval.                    7        A. It was forced retirement, because I
 8        Q. And so it was -- was it submitted --           8   exhausted all my family leave. And when
 9   it was submitted. Do you recall, did you submit        9   I requested for an extension to go on unpaid
10   this in writing, like in person or by email? Do       10   status, Deputy Commissioner Coulter denied it.
11   you recall how you submitted it?                      11        Q. And how do you know that DC Coulter
12        A. Oh, you have to take it in person.            12   denied it?
13        Q. And to whom did you turn it in to?            13        A. Because when I went to Internal
14   Do you remember the name?                             14   Affairs to do my exit interview, and I spoke to
15        A. No. You just drop it off, and they            15   Deputy Commissioner Wimberly, she informed me
16   assign it to someone. And then when it goes           16   that I had the right to extend my leave to an
17   through the chain of command, they will notify        17   unpaid status. And she called Deputy
18   you if it got approved or denied.                     18   Commissioner Coulter while I was there, and she
19        Q. And so this was something you                 19   went to her office, and then she came back and
20   submitted to the personnel unit within the city?      20   told me that Deputy Commissioner Coulter denied
21        A. According to policy, yes.                     21   the request.
22        Q. Did you have to submit this to                22        She was actually encouraging me, Don't let
23   anyone with PAL?                                      23   this -- don't let them do this to you, like,
24        A. No.                                           24   don't give up on your career. I'm like, I don't
25        Q. And was this request for FMLA leave           25   want to give up on my career, but I'm too ill to
                                                Page 147                                                  Page 149
 1                 E. CINTRON                               1                E. CINTRON
 2   approved -- sorry, was the request for FMLA            2   be at work. You know, like my PTSD, I can't --
 3   leave, was it approved?                                3   they are not allowing me to go to work, and I'm
 4        A. Yes.                                           4   not physically capable to go to work right now
 5        Q. And do you know who was involved in            5   because of my medical condition.
 6   the decision to approve it?                            6        Q. Did -- DC Coulter, that is a city
 7        A. Deputy Commissioner Sullivan.                  7   employee; is that correct?
 8        Q. Anyone else that you know was                  8        A. She's a deputy commissioner. She
 9   involved?                                              9   was. I think she's not -- I'm not sure if she's
10        A. No. I believe that's the highest              10   here or not.
11   level it has to go.                                   11        Q. At that time --
12        Q. Do you know if anybody from PAL was           12        A. At that time.
13   involved in that process?                             13        Q. -- she was a city employee?
14        A. No.                                           14        A. Yes.
15        Q. And you began your FMLA leave in              15        Q. Did anyone from PAL, to your
16   February of 2018; does that sound accurate?           16   knowledge, have involvement in the rejection of
17        A. Yes.                                          17   your request for additional leave?
18        Q. And you were on leave for                     18        A. I don't know. They wouldn't have
19   approximately one year; is that correct?              19   the final say-so. The deputy makes the
20        A. Yes.                                          20   determination.
21              (Request to Separate is received           21        Q. And when you say it was a forced
22            and marked as Exhibit PAL-7 for              22   retirement, was it because you were not able to
23            identification, as of this date.)            23   return to work at that point?
24        Q. Ms. Cintron, is that your signature           24        A. I could have went on unpaid status,
25   at the bottom of that page or halfway through         25   but that was denied. So since medically I was

                                                                                          38 (Pages 146 - 149)
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1            Filed 04/07/25        Page 40 of 93


                                              Page 150                                                  Page 152
 1                 E. CINTRON                             1                E. CINTRON
 2   still dealing with my posttraumatic distress         2   conflict of interest. Working with PAL, someone
 3   disorder and conditions, I couldn't come back to     3   that does fundraising for you and donates over
 4   work because of how I was feeling. And in            4   $400,000 a year to your nonprofit organization.
 5   addition to that, my medical wouldn't approve        5   So he always was siding with the board because
 6   for me to come back to work.                         6   he wanted to stay in favor of the board.
 7        Q. You mean the medical providers               7       Ron Rabena does the biggest fundraiser for
 8   wouldn't clear your return?                          8   the Heroes Foundation, and part of that money
 9        A. Yes. The person that I was seeing            9   goes to -- have been -- Deputy Commissioner
10   at Philmont.                                        10   Sullivan's foundation has been the recipient of
11        Q. Do you recall if there is -- like,          11   that money, have gotten funded by that fund or
12   do you recall any specific notes or documents       12   charitable organization.
13   that said you were not clear to return to work?     13       Q. Are you saying that PAL itself, as
14        A. What you mean, "not clear"?                 14   an organization, donates $400,000 to DC
15        Q. So let me back up. When you go out          15   Sullivan's charity?
16   on FMLA leave, not always, but you may say, I       16       A. No. What I'm saying is that Ron
17   got a note from my doctor that says I need to       17   Rabena, a board member, runs a Heroes
18   take a certain amount of time off. What I'm         18   Scholarship Fund, and they donate to the police
19   asking you is, did anyone from Philmont give you    19   department fallen officers, as well as
20   a letter at that time saying you were not yet       20   Sullivan's personal own foundation, nonprofit
21   able to return to work?                             21   foundation. So Sullivan benefits from the money
22        A. No. She -- I think she documented           22   that he receives for his foundation to move his
23   it on my records, but I don't know what she         23   foundation forward by money that is being raised
24   documented, but she expressed to me that given      24   by Ron Rabena.
25   my medical condition and the fact that I was        25       Q. Do you know the name of DC
                                              Page 151                                                  Page 153
 1                E. CINTRON                           1                    E. CINTRON
 2   still having a lot of problems, that she does     2      Sullivan's organization? Do you know what the
 3   not recommend for me to go back to work and to    3      name of it is?
 4   be exposed to the same unfavorable conditions.    4          A. It's Children's Charitable
 5              MR. GREEN: Off the record one          5      Foundation. He's also in charge of the Heroes
 6            second.                                  6      Scholarship, the heroes run where they do the
 7              THE VIDEOGRAPHER: The time is          7      bike runs. And PAL helps them with facilitating
 8            3:52. We are now off the record.         8      that run to the Atlantic City area, by allowing
 9              (Whereupon, an off-the-record          9      Sullivan to utilize the PAL vans to transport
10            discussion was held.)                   10      and to be used for that purpose that is not a
11              THE VIDEOGRAPHER: The time is         11      PAL event.
12            3:53. We are now on the record.         12          Q. Well, PAL is a charitable
13        Q. When you said that you couldn't          13      organization, correct?
14   return to work because of the unfavorable        14          A. PAL is a children's --
15   conditions, what were those -- what are          15          Q. A charitable organization.
16   those unfavorable conditions?                    16          A. PAL?
17        A. Everything that I stated before. I       17          Q. Yes.
18   could not go back to work to an environment that 18          A. PAL is a nonprofit organization to
19   was hostile and where I was being isolated and   19      help children. I don't believe they are
20   being harassed and not know what -- what was     20      supposed to be donating forward donations that
21   going to happen to me, given the fact that, you  21      are given to them, but what I'm referring to is
22   know, my boss, the Deputy Commissioner Sullivan, 22      to the heroes dinner that is ran and operated by
23   was siding with the board because of the         23      Ron Rabena, PAL board member.
24   personal relationship they have of working       24          Q. Well, my question is, if PAL wants
25   together on Sullivan's nonprofit, which was a    25      to allow it's vans to be used for another

                                                                                        39 (Pages 150 - 153)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1             Filed 04/07/25       Page 41 of 93


                                               Page 154                                                  Page 156
 1                E. CINTRON                               1                 E. CINTRON
 2   charity, why would you say that that's -- you         2   is the fact that Sullivan is abusing his
 3   know, something was wrong with that?                  3   authority by being -- and it's a conflict
 4       A. Well, what I'm saying is that the              4   of interest for him to be in charge of PAL when
 5   PALs -- are bought for the purpose of                 5   he himself has a reason to side with the board
 6   transporting kids and families during PAL             6   and be in good standing with the board, even if
 7   events. And Sullivan benefits from that because       7   that meant isolating me, because I made these
 8   he didn't have to pay to have this big event          8   complaints because it's not beneficial to him
 9   every year because he utilizes the PAL vans.          9   for him to lose funding for his charitable
10       Q. Well, if the PAL vans aren't being            10   organization. It's a conflict of interest.
11   used in -- for PAL events at that time, is there     11   He's not going to side with me when someone from
12   anything that would prevent them from being used     12   the board is giving him -- you know, is
13   by DC Sullivan?                                      13   selecting him to receive some of the funds that
14       A. Well, in my opinion, if the vans are          14   they get from that fundraiser.
15   being bought for the use of transporting             15        Q. How do you know, or who from the
16   children, the wear and tear is at the cost of        16   board decides what money to give to --
17   PAL, and that's less money that they can put         17        A. I don't know. But I do know that
18   into programs because the vans are not being         18   Ron Rabena brags about it to me and said, Oh --
19   used only internally.                                19   just threw a paper on my desk when they were
20       Q. Well, I hear you say that that's              20   planning the event, and one day that he was at
21   your opinion.                                        21   headquarters, and he threw it, and he said, Oh,
22       A. So it's an additional cost. What              22   this is where we give money to Sullivan's
23   I'm saying is it's an additional cost to PAL to      23   foundation -- before Sullivan came to PAL.
24   maintain those vans on a yearly basis, when that     24        Q. Do you know if DC Sullivan's charity
25   money can be directed towards the programs for       25   compensates PAL in any way for its use of the
                                               Page 155                                                  Page 157
 1              E. CINTRON                                 1              E. CINTRON
 2   the kids.                                             2   vans?
 3       Q. Are you --                                     3       A. No, they don't.
 4       A. Instead of a deputy commissioner               4       Q. How do you know that they don't?
 5   taking advantage of his authority to ask to           5       A. Because, as the commanding officer,
 6   borrow vans to run his own foundations or his         6   I had to review the use of the vehicles, and any
 7   own events.                                           7   reimbursement will go through me so that I could
 8       Q. Are you aware of any provisions in             8   submit it to Finance, and I never saw any
 9   PAL's, you know, articles of incorporation or so      9   reimbursement.
10   on, that would prevent the use of the vans by DC     10       Q. When do the -- when does this event
11   Sullivan's charity?                                  11   occur? It's an annual event, correct?
12       A. Well, their -- I don't know what's            12       A. They do one annual event, but they
13   in their documents, but I know that Ted Qualli       13   also do other events as well.
14   expressed numerous times that the vans should        14       Q. And do you know when that annual
15   not be used for anything other than transporting     15   event occurs?
16   kids to and from events. But yet they lend the       16       A. I'm not sure. I don't remember.
17   vans to Deputy Commissioner Sullivan for his         17       Q. And so, in you recollection, there
18   personal foundation.                                 18   was never a time where you saw PAL being paid
19       Q. And how did it come up with Ted that          19   for the use of those vans; is that correct?
20   the vans should only be used for transporting        20       A. No.
21   kids?                                                21       Q. Is it possible other -- someone else
22       A. We spoke about it several times, and          22   could have handled that payment?
23   his thought on it is, It's the deputy, I'm not       23       A. No one handled that payment.
24   going to say no. But the problem is not the          24       Q. Who did -- did PAL have a treasurer?
25   vans itself that I'm referring to. The problem       25       A. A treasurer. We have a -- they had

                                                                                         40 (Pages 154 - 157)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1             Filed 04/07/25       Page 42 of 93


                                               Page 158                                                  Page 160
 1                E. CINTRON                               1                 E. CINTRON
 2   a chief financial officer.                            2       Q. Oh, I'm sorry. So DC Sullivan
 3       Q. And who was that?                              3   influenced the sergeant's testimony with --
 4       A. Sunny Lee.                                     4       A. He was -- he was controlling the
 5       Q. What are Sunny Lee's                           5   investigation from his office, by telling people
 6   responsibilities?                                     6   not to speak to me, to -- to say stuff that they
 7       A. Well, they sometimes complained                7   said that wasn't accurate. And things like
 8   that, because of wear and tear, that the van          8   that. And after they went to -- after he
 9   shouldn't be lent out. And they mentioned how         9   ordered them to come to his office during the
10   Sullivan would borrow the vans and use them for      10   investigation to discuss an investigation, then
11   his events. But other than that, that's the          11   some of their knowledge of what actually took
12   only thing that I heard them talk about.             12   place, to my surprise, changed when they went to
13       Q. When you say "they," who's the                13   Internal Affairs.
14   "they"?                                              14       Q. What about their testimony changed?
15       A. Like Sunny Lee, Ted Qualli.                   15       A. Well --
16       Q. And so Sunny and Ted were                     16              MR. GREEN: Objection. If you
17   complaining about Sullivan using the vans?           17           have a specific event that you want
18       A. It depends on the day. Sometimes              18           her to respond to in connection with
19   they would complain that he wanted to borrow         19           that particular question, I think it
20   them, but they were -- willingly let them -- let     20           would be more productive so that the
21   him use it.                                          21           objection now is based on relevancy
22       Q. Did you have a vehicle that was               22           grounds. If you can be a little bit
23   provided to you by PAL when you were the             23           more specific, perhaps you can be a
24   commanding officer?                                  24           little bit more informative.
25       A. Yes.                                          25              MR. GOLDEN: Sure. She said --
                                               Page 159                                                  Page 161
 1                 E. CINTRON                          1                    E. CINTRON
 2       Q. Did you ever use it for any                2               and I can have it read back -- that
 3   non-PAL-related work?                             3               she was -- that the two sergeants
 4       A. No.                                        4               changed their -- was it testimony?
 5       Q. So the only way you used that              5               And so what -- my question to that
 6   vehicle was for official PAL business?            6               is what testimony changed?
 7       A. Yes.                                       7               That's -- that's -- she's saying
 8       Q. You said that DC Sullivan isolated         8               something changed, and what I'm
 9   you for your complaints. Those are your           9               asking is, what specifically -- if
10   complaints about the poor condition of the PAL   10               she has something specific, what is
11   facilities; is that correct?                     11               it that changed?
12       A. It was everything that I would go to      12                  MR. GREEN: You mean in
13   him, that was going wrong at PAL. And he would 13                 connection with an investigation at
14   dismiss me, and nothing got resolved. So the     14               that particular time?
15   unfavorable conditions continued to escalate,    15                  MR. GOLDEN: I don't know.
16   and it became a more hostile -- it kept getting  16               That's what I'm asking --
17   more hostile and hostile to the point where Ted  17                  MR. GREEN: All right.
18   Qualli would come into my office and yell at me. 18           A. Well, they were misreporting the
19   He called the sergeants to his office and was    19       things that were happening at PAL, after they
20   influencing their testimony or their interviews  20       got called to Sullivan's office.
21   at Internal Affairs.                             21           Q. Can you tell me the things that they
22       Q. How do you know that Ted influenced       22       were misreporting?
23   their testimony within Internal Affairs?         23           A. They were blatantly lying to the
24       A. I didn't say Ted. I said Sullivan,        24       deputy. I had two sergeants there when I first
25   DC Sullivan.                                     25       arrived to PAL. And for the most part, they
                                                                                         41 (Pages 158 - 161)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS              Document 90-1             Filed 04/07/25       Page 43 of 93


                                              Page 162                                                 Page 164
 1                E. CINTRON                              1                E. CINTRON
 2   were both there because of someone they knew on      2   at -- during an investigation. He was
 3   the board. And because of some type of               3   manipulating the investigation from the third
 4   relationship, they -- they were there.               4   floor.
 5       The one sergeant was neighbors with Deputy       5        And to the point where when I spoke to
 6   Commissioner Patterson, which was Sergeant           6   Conway, which is the detective conducting the
 7   Irving. And Sergeant Faust is really good            7   investigation, he -- who had expressed to me
 8   friends with a lot of board members. And the         8   that he attempted to close out my case or the
 9   sergeants are inept. Like they don't properly        9   allegations against me as false, but that the
10   supervise. They are insubordinate. They             10   deputy told him to, keep digging. You got to
11   violate orders. And -- and when I reported all      11   find something on her. And he attempted to
12   of these incidents to Deputy Commissioner           12   close the case three times, and the deputy
13   Sullivan, instead of taking remedial actions        13   wouldn't let him.
14   against the sergeants, he began to utilize them     14        Q. Who told you that?
15   and call them to his office to further his          15        A. Detective Conway, the investigator.
16   advances to isolate me, by telling Sergeant         16        During this conversation, he also told me
17   Pascucci not to speak to me, and to stay away       17   that he sees a, you know -- I forget the term
18   from me, even though I'm Sergeant Pascucci's        18   that he used, but he said he sees a setup --
19   immediate supervisor.                               19   like, he's been doing investigative work for so
20       He basically opened up the doors for            20   long that he sees -- that he knows when someone
21   Sergeant Faust to be blatantly disrespectful and    21   is just trying to, like, find something, even
22   say things like, Oh, nothing is going to happen     22   though there's nothing there to find.
23   to me. The commissioner is my buddy, you know.      23        And he expressed to me, I don't mind going
24   And things like that.                               24   up against a deputy when they are in the wrong.
25       I overheard the sergeant talking to Keith       25   And he's the one that told me to file an EEOC
                                              Page 163                                                 Page 165
 1                 E. CINTRON                             1                 E. CINTRON
 2   Balcom, who was an officer and who he considers      2   complaint with the city, and that he would
 3   a friend, talk about how him and the deputy were     3   follow up with the investigation.
 4   discussing the whole situation, with me being        4        And prior to that, when Sullivan was doing
 5   the target of an investigation at Internal           5   all the stuff that he was doing, I attempted to
 6   Affairs based on some lies. And when I               6   go to DC Patterson through the chain of command,
 7   communicated this with DC Sullivan, again, he        7   according to our policy, to report Sullivan.
 8   failed to take action about anything that the        8   But Sullivan had -- saw me enter the third
 9   sergeant did. When I tried to discipline the         9   floor, which is where their offices are at. And
10   sergeant for other infractions, he protected the    10   as soon as I went into Deputy Commissioner
11   sergeant and told me not to write him up for        11   Patterson's office, after setting up an
12   anything and to leave him alone.                    12   appointment to report Sullivan, Patterson
13        And some of the stuff that I was               13   literally was out-talking me and saying, I don't
14   explaining to the deputy were serious               14   want to hear it, I don't want to hear it. He
15   complaints. And the deputy would not take me        15   wants you to go back to him. Referring to
16   seriously, and was basically giving Sergeant        16   Deputy Commissioner Sullivan. And he kept
17   Faust leeway to be disrespectful and disobey my     17   ordering me to shut up and go back to Sullivan.
18   orders and jump the chain of command. And for       18   And basically leaving me no recourse to follow
19   someone that I had heard the deputy say that he     19   the chain of command to report the person who is
20   didn't like, in the past, so it was strange to      20   involved in the cause of their investigation --
21   me that he made a comment in -- at an event,        21   I mean, the cause of the harassment and
22   prior to him becoming the deputy of PAL, that he    22   discrimination.
23   hated Sergeant Faust, but all of a sudden they      23        Q. Did you report your concerns about
24   became friends after Sergeant Faust went to his     24   DC Sullivan to the city's Equal Opportunity
25   office, and he was instructing him what to say      25   office, the EEO office?

                                                                                       42 (Pages 162 - 165)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS                Document 90-1             Filed 04/07/25        Page 44 of 93


                                                Page 166                                                  Page 168
 1                E. CINTRON                                1               E. CINTRON
 2       A. Yes. Once I exhausted all the ways              2   investigation on me. So I didn't trust for --
 3   that I can go about trying to find remedial            3   for a proper investigation to be conducted
 4   action to take place within the department, and        4   without his interference.
 5   being ordered by Sullivan not to speak to any of       5       Q. You had mentioned a short time ago,
 6   the deputies or to ever speak to the                   6   Sergeant Irving, Sergeant Faust, and Sergeant
 7   commissioner again, I had no choice but to go to       7   Pascucci.
 8   the city, because when Conway told me that I           8       A. Yes.
 9   should file one through the department, because        9       Q. Were those all sergeants operating
10   Sullivan was already interfering in the current       10   in the PAL unit?
11   investigation, I didn't trust for the City to         11       A. Yes.
12   handle it and, therefore, I went outside of the       12       Q. Okay. So I thought you had just
13   department to file my EEOC complaint.                 13   maybe -- so when you -- when you became the
14       Q. So what I -- just so I understand              14   commanding officer, who were the sergeants at
15   this, if you want to look at Number 2 -- this is      15   that time?
16   the complaint --                                      16       A. Sergeant Irving and Sergeant Faust.
17       A. You gave it to me?                             17       Q. And did Sergeant Pascucci replace
18       Q. Yes. Yep. You are looking at it                18   one of them?
19   right in front of you. It's -- can you turn to        19       A. No. I had requested a third
20   page 9? Yep, you got it. Yep.                         20   sergeant, and they -- and Deputy Commissioner
21       A. Okay.                                          21   Patterson approved for me to get a third
22       Q. Page 9, and paragraph 59.                      22   sergeant.
23       A. Yes.                                           23       Q. And, again, so as it relates to the
24       Q. And it says that you orally                    24   appointment of personnel in the PAL unit, that's
25   complained to the City's Office of Equal              25   something that the Deputy Commissioner needs to
                                                Page 167                                                  Page 169
 1                 E. CINTRON                               1                E. CINTRON
 2   Employment Opportunity. And so do you recall           2   approve, or the commissioner?
 3   that complaint?                                        3       A. Yes. I did a manpower projection
 4       A. That's the conversation I had with              4   and the names of the unit, and we needed a
 5   Conway. He brought me the forms and told me            5   second -- we actually need two sergeants on the
 6   that he felt that I had enough basis to file an        6   street so that one could oversee the east side
 7   EEO complaint, and asked me, did I want to file        7   of the city and the other one could oversee the
 8   one at that time.                                      8   west side of the city, without being overwhelmed
 9       Q. So Conway gave you the forms that               9   and being able to visit the centers.
10   you could --                                          10       Q. You mentioned that DC Sullivan
11       A. Under the deputy commissioner's                11   influenced what they said during the Internal
12   instruction that was assigned to the Internal         12   Affairs investigation. Did either of the
13   Affairs, which was Deputy Commissioner Wimberly.      13   sergeants tell you that?
14   W-I-M-B-E-R-L-Y.                                      14       A. Yes. Well, I overheard Sergeant
15       Q. And so then am I accurate that you             15   Faust's conversation with Keith. And Sergeant
16   did not complete the form that Conway provided        16   Pascucci told me, as soon as he came back from
17   you?                                                  17   the deputy's office, that the deputy was
18       A. No.                                            18   basically telling him, Watch what you say at
19       Q. Maybe -- let me ask it -- did you              19   Internal Affairs. And told him, you know, We
20   complete that form?                                   20   are trying to get Cintron, the lieutenant. And
21       A. No.                                            21   he stated, So stay out of it, and don't talk to
22       Q. Why is it that you did not complete            22   her about any of that.
23   that form?                                            23       Someone that I brought to the unit as the
24       A. Because Deputy Commissioner Sullivan           24   sergeant -- like, I was the one that did his
25   was already controlling the allegations in the        25   interview and brought to the unit, who I

                                                                                          43 (Pages 166 - 169)
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1            Filed 04/07/25       Page 45 of 93


                                              Page 170                                                Page 172
 1                E. CINTRON                              1                 E. CINTRON
 2   considered as an ally, because he also               2   doing with the kids, without anybody consulting
 3   experienced everything that was going on at PAL,     3   them or talking to them about it first. So
 4   and he also was having problems with Ted Qualli      4   that's where the animosity was coming in, and
 5   and Chase Trimmer and the officers, you know,        5   that was something that was going on that Ted
 6   being out of control and problems with the other     6   brought to my attention when I first got to PAL.
 7   sergeant, Sergeant Faust.                            7   So this was something that was going on way
 8       Q. Is Sergeant Pascucci, is that a male          8   before I got there.
 9   or a female?                                         9       Q. Thank you. And then -- but you
10       A. Male.                                        10   said -- so it was going on before you got there.
11       Q. And what is his ethnicity?                   11   And then you and Ted were talking about how it
12       A. White.                                       12   could be --
13       Q. So a white male was also having              13       A. How we can get them together, yes.
14   problems with people at PAL?                        14       Q. And -- but you said the problem
15       A. He was having problems with the              15   continued to the extent where Sergeant Pascucci
16   staff. With, you know, condescending remarks,       16   also observed the issue?
17   you know, civilians versus cops type of             17       A. Yes. He also had problems with -- I
18   mentality. Instead of working together.             18   believe he had problems with Chase. He
19       Q. So that was -- so you're saying the          19   submitted several memos about incidents that
20   civilian versus the cops, the civilians are the     20   happened between the officers and civilians.
21   PAL staff, and then the cops are the individuals    21       Q. The -- we have talked today about
22   in your unit; is that correct?                      22   the complaints that you submitted -- I'm sorry.
23       A. The officers assigned to PAL, yes.           23   You were complaining about the conditions of PAL
24   This was something that was going on before I       24   centers and how they were -- you know, some of
25   got there. It's, like, the officers felt that       25   them were not in good condition. There were
                                              Page 171                                                Page 173
 1                E. CINTRON                              1                E. CINTRON
 2   PAL's nonprofit was doing a civilian takeover by     2   some funding issues. There was a center that
 3   replacing them with civilian staff. And they         3   wasn't open.
 4   didn't get along with the civilian staff because     4        Can you tell me, were there any other
 5   the civilian staff was taking over their duties      5   complaint you recall submitting about how PAL's
 6   that they enjoyed doing. And the civilian staff      6   operations were inadequate, in your opinion?
 7   didn't get along with the officers because the       7        A. Yes. I submitted several memos to
 8   officers, you know, since they report to the         8   the Deputy Commissioner, explaining how Ted and
 9   police, wouldn't take their request seriously.       9   I could not see eye to eye on certain issues
10   So it was kind of like a battle between both        10   pertaining to budget or pertaining to the
11   parties, which is why we needed the Memorandum      11   programs and things of that nature. Like, we
12   of Understanding to be in place, so that there      12   would try to handle it internally, but after Ted
13   could be clear lines as to who is supposed to be    13   would receive his, I guess, request from the
14   doing what.                                         14   board as to what they wanted, he was adamant
15       Q. You said that there were battles             15   about implementing things the way he wanted it,
16   about who the officers report to, or who the        16   even though some of those things violated
17   civilians report to?                                17   departmental policy, one of which was paying the
18       A. Not who they report to. Like, for            18   officers $25 under the table to work PAL events
19   instance, Ted would tell one of his staff, let's    19   on the weekend when they were supposed to be
20   say Chase, I want you to go to Paley PAL and --     20   off.
21   and implement this program.                         21        And when I got there, I was like, this, we
22       And the cops didn't like the fact that the      22   cannot do this because the officers have to get
23   civilians would go over there and try to            23   paid their right salary, and they have to get
24   implement programs or take over programs that       24   paid through the city.
25   they were already running, that they enjoyed        25        When I asked Ted, had they coordinated

                                                                                       44 (Pages 170 - 173)
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS                 Document 90-1             Filed 04/07/25        Page 46 of 93


                                                 Page 174                                                  Page 176
 1                E. CINTRON                                 1                E. CINTRON
 2   payment through police finance, where they have         2   he had arranged for me to have with Sullivan, to
 3   to create an account, they told me they had.            3   discuss everything that I had discussed with
 4   But when I called the Police Finance, they told         4   him, pertaining to PAL, and all the problems and
 5   me that nothing was ever filed with them, and           5   things that I had reported.
 6   therefore, the city had been paying overtime            6        He also said, I already gave him a
 7   money for PAL events.                                   7   heads-up and filled him in, but you can fill in
 8       The one event was in excess of $8,000. So           8   the details. And he set up a meeting for me to
 9   Patterson had to take from other money to pay --        9   sit down with Sullivan when he first began to
10   you know, to cover the cost of several events,         10   oversee PAL. So DC Sullivan was well aware of
11   and he was upset, and he said that PAL has to          11   everything that was going on at PAL from the
12   establish the account with finance so that they        12   first day.
13   can start paying their share of overtime for the       13        Q. When you submitted the request to
14   police officers. And, in fact, after that, he          14   separate, was that something you tendered in
15   said that the police was not going to cover any        15   person or by mail? Do you remember how you --
16   more overtime, any events that the PAL decides         16        A. No. This is what they make you sign
17   to plan on the weekend, knowing that the               17   at Internal Affairs. They gave you this
18   officers are off on the weekend, and that they         18   paperwork. I did this at my separation or at
19   are not supposed to be working on the weekend,         19   personnel. I can't remember who I signed this
20   especially not in uniform while getting paid           20   through.
21   under the table.                                       21        Q. But was it in a city office?
22       Q. So is it safe to say that your                  22        A. It was at the PAB. It would have
23   disagreements with Ted were about the management       23   been the PAB. I believe this is something I
24   of PAL?                                                24   signed either at the PAB or when I went to see
25       A. My disagreement was the way they                25   the retirement people. I'm not sure where they
                                                 Page 175                                                  Page 177
 1                E. CINTRON                                 1                E. CINTRON
 2   would handle things like that situation. I was          2   had me sign this form.
 3   simply informing them, Ted Qualli and the board,        3        Q. So, forgive me, but for the record,
 4   that there was a process to having the officers         4   can you explain what PAB means?
 5   work on the weekend, and the process was to             5        A. The Police Administration Building.
 6   establish an account with police finance so that        6        Q. What's the address for that?
 7   the officers could get properly paid at their           7        A. 8th and Race.
 8   rate of salary, as well as be covered in case           8        Q. Thank you.
 9   something happens, because while they are in            9        Did you -- when you made the decision to
10   uniform, if something happens when they are not        10   separate from your employment, apart from this
11   supposed to be working, who is going to cover          11   form, did you tell anyone else at the city?
12   the family of a fallen officer.                        12        A. Yes. I went through the process
13       So those were the issues that I was                13   that I had to go through to retire, which meant
14   concerned with. But Ted Qualli and Ron Rabena          14   I had to inform police personnel my intent to
15   would insist and continue to schedule these            15   leave. I had to inform Deputy Commissioner
16   events, you know, when officers weren't working.       16   Sullivan. And they give you a packet that you
17   And that's where the problems came to be.              17   fill out, and you bring back in two weeks. And
18       Q. Was there anyone at PAL -- do you               18   by then police personnel makes all the
19   recall the date of the last complaint you made         19   arrangement to begin the process of retirement,
20   to DC Patterson about the issues you were having       20   such as setting up a meeting with central
21   at PAL?                                                21   personnel, setting up for you to discuss
22       A. DC Patterson had called me up there             22   compensation that you would get after you leave,
23   to -- basically to summarize everything that           23   with police personnel, and things of that
24   needed to happen during the transition. And he         24   nature; how much you will get for retirement and
25   told me to make sure that I have a sit-down that       25   all of that.

                                                                                           45 (Pages 174 - 177)
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS                Document 90-1             Filed 04/07/25       Page 47 of 93


                                                Page 178                                                  Page 180
 1                E. CINTRON                                1                E. CINTRON
 2       Q. Did you receive any compensation                2       A. I only get my pension check which is
 3   from the city upon your retirement?                    3   4,900 a month.
 4       A. Unfortunately, when I retired, I                4       Q. And that's from the city, correct?
 5   couldn't receive what I would have received if I       5       A. Which -- yes, which averages out to
 6   stayed the four years drop, or had I finished my       6   like 59,60 a year, which is half of the salary I
 7   career as I intended to do until this happened.        7   was earning as a lieutenant.
 8   And so I only got whatever I had left in the           8       Q. And so that's a benefit paid to you
 9   books as far as my vacation time, I think it           9   by the city, correct?
10   was.                                                  10       A. Yes.
11       Q. Like, accrued PTO time?                        11       Q. Following your retirement, did you
12       A. Yeah, whatever accrued time I still            12   receive anything compensation-wise from PAL?
13   had.                                                  13       A. No.
14       Q. And that was provided --                       14             MR. GOLDEN: It's about 3:30
15       A. I think it was -- it wasn't even               15           [sic]. Why don't we take a
16   that. It was -- let me clarify that.                  16           five-minute break. I'm going to try
17       I had exhausted all my sick time and              17           to see what I've got left.
18   vacation during my family leave, so the only          18             THE VIDEOGRAPHER: Time is 4:32.
19   thing I got was a partial of that drop money,         19           We are now off the record.
20   which was like 30-something thousand dollars.         20             (A break was taken.)
21       Q. And the drop was paid to you by the            21             THE VIDEOGRAPHER: The time is
22   city, correct?                                        22           4:50. We are now on the record.
23       A. Yes.                                           23             (Email is received and marked as
24       Q. Do you --                                      24           Exhibit PAL-8 for identification, as
25       A. Had I officially signed up for the             25           of this date.)
                                                Page 179                                                  Page 181
 1                E. CINTRON                                1               E. CINTRON
 2   drop and waited four years, it would have been         2       Q. Ms. Cintron, we -- Ms. Cintron, I
 3   in excess of almost 400,000, which I wasn't            3   just introduced PAL-8. It's an email that
 4   planning to do at the time, because I was              4   appears to be sent from -- it's an -- appears to
 5   planning to continue to go up the ranks and stay       5   be an AOL email address to Greg Doran. Is that
 6   with the department for a long time to come.           6   an email that you sent to Mr. Doran?
 7       Q. Do you receive any -- well, while               7       A. I sent this email to Mr. Doran as
 8   you were employed with the city, did you               8   per his request. He specifically told me what
 9   contribute to a -- like a delayed benefit, like        9   he needed in the letter in order to release my
10   a pension plan, or did you receive any                10   commission check, which I never received.
11   pension --                                            11       Q. So this was a -- it's something that
12       A. Well, that was the pension money               12   he asked you to send him?
13   that I received, because I didn't sign up for         13       A. Specifically as is worded.
14   the drop program, which is a city program where       14       Q. Okay. So what, did he say it over
15   you give them a date that you will retire or          15   the phone with you?
16   leave, and based on -- they average out the time      16       A. He said, I need to put that, as per
17   and give you a lump sum when you leave.               17   our conversation, it will mean that you're
18       Q. So if I heard that correctly, that             18   resigning and, you know, exactly what's here.
19   was what you get instead of the pension               19   He basically told me that he needed that in
20   payments?                                             20   order for me leave the company in good standing,
21       A. No. You still get your pension                 21   for me to get my check.
22   check. The drop money, what they call the drop        22       Q. And did you say that he still did
23   money is something different.                         23   not give you the check?
24       Q. And are you receiving anything                 24       A. That's correct. I never received my
25   through that pension?                                 25   check.

                                                                                          46 (Pages 178 - 181)
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS                Document 90-1             Filed 04/07/25        Page 48 of 93


                                                Page 182                                                  Page 184
 1                E. CINTRON                                1                E. CINTRON
 2        Q. And did you ever follow up with him            2   Police, and basically that's what determines our
 3   to find out why it wasn't paid?                        3   pay grade.
 4        A. Yeah. He never responded to my                 4       Q. Do you know -- so is it an agreement
 5   calls.                                                 5   between the -- forgive me, I don't know the
 6        Q. Now, earlier, you mentioned that               6   actual name, but is it an agreement between the
 7   Mr. Doran spoke with DC Coulter; is that               7   FOP and the union? Or who is that -- whose --
 8   correct?                                               8       A. No. That isn't how it works. Like,
 9        A. Yes.                                           9   the city has a base pay, depending on your rank,
10        Q. Do you know if Mr. Doran spoke with           10   the amount of years. There's a scale that they
11   anyone from PAL about you?                            11   go by to pay you your salary. But every year
12        A. I don't know but -- I guess you guys          12   the fraternal order of police may negotiate a
13   have this email I sent him.                           13   pay rate, a percentage.
14        Q. So apart from this email, are you             14       Q. Okay. And so that something, the
15   aware of -- just so I'm clear, are you aware of       15   pay rate, is set by the city, correct?
16   any conversations Mr. Doran had with anyone else      16       A. Yes.
17   from PAL about you?                                   17       Q. When you were the commanding officer
18        A. No. The only thing I knew was what            18   of PAL, did PAL have anything to do with how
19   Jeff told me, which was that he spoke to              19   your pay was set?
20   Coulter.                                              20       A. No.
21        Q. Just so -- I don't know. Do you               21       Q. When you were with the city, do you
22   remember when you last held your position with        22   know, did they maintain a personnel file on you?
23   the city, do you remember what your salary was?       23       A. Yes. They maintain a personnel file
24        A. It was, like, 50-something, 57 --             24   on everyone.
25        Q. And --                                        25       Q. Do you know if PAL maintained a
                                                Page 183                                                  Page 185
 1               E. CINTRON                                 1                 E. CINTRON
 2       A. -- dollars an hour.                             2   personnel file on you?
 3       Q. Oh, $57 an hour?                                3       A. I don't know.
 4       A. Yes.                                            4       Q. Were there -- in terms of the issues
 5       Q. And then annualized?                            5   that -- the treatment we talked about today, the
 6       A. I was up to like, 115; with                     6   problems you've had with the -- you know, the
 7   overtime, up to 120.                                   7   individuals that you've identified, can you
 8       Q. Sorry. I asked a poor question.                 8   recall any other incidents where you felt you
 9       So when you say -- so 57 an hour, and then         9   were -- leaving aside what we have already
10   that would be -- you would work like a 40 -- did      10   talked about, I don't want to ask you that
11   you work a 40-hour workweek?                          11   again, but are there any other incidents you
12       A. Yes.                                           12   recall where you felt you were treated in a
13       Q. And then you would receive, like,              13   discriminatory manner by anyone with PAL, apart
14   overtime?                                             14   from what we have already discussed today?
15       A. Yes.                                           15       A. That's what I recall as of the
16       Q. And then did you receive a bonus               16   moment.
17   when you were working for the city?                   17       Q. Okay.
18       A. No. We don't receive bonuses.                  18       A. Like, right now, to be honest with
19       Q. And do you know who sets -- let me             19   you, I have a really bad headache, and I'm,
20   back up.                                              20   like, from my anxiety, I'm getting jittery.
21       Did you receive, like, annual increases in        21              MR. GOLDEN: Well, I would put on
22   your hourly rate as you -- you know, over time?       22            the record, by an agreement between
23       A. Yes. That's based on, like, the                23            counsel, we are going to stop for
24   years you have on the job, any contractual            24            today. I know we have been here
25   agreements with the FOP, Fraternal Order of           25            for a while. We are going to stop

                                                                                          47 (Pages 182 - 185)
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS               Document 90-1         Filed 04/07/25            Page 49 of 93


                                           Page 186                                                             Page 188
 1               E. CINTRON                            1
                                                       2           INDEX
 2          for today and we have agreed that if       3   WITNESS                        PAGE
 3          we need to continue, the idea will         4   EVELYN CINTRON
 4          be for us to do it remotely so you         5
                                                           By MR. GOLDEN                        4
 5          would not need to come back in             6
 6          person. And counsel will be                7            EXHIBITS
 7          coordinating between themselves to         8
                                                           FOR IDENT.        DESCRIPTION                 PAGE
 8          set schedules and figure out what          9   Exhibit PAL-1 Off Duty Management              10
 9          other remaining depositions need to                  letter
10          be conducted between the parties.         10
                                                           Exhibit PAL-2 First Amended Complaint 45
11          Ike, is that a fair --                    11
12            MR. GREEN: That's a fair                     Exhibit PAL-3 Email 10/17/16             74
13          assessment.                               12
                                                           Exhibit PAL-4 Letter            92
14            MR. GOLDEN: Sharon, does that
                                                      13
15          sound fair to you? We agree to --              Exhibit PAL-5 Email             126
16          and we are also going to agree to --      14
17          we're going to identify dates where            Exhibit PAL-6 Family Leave of Absence 145
                                                      15         Request
18          witnesses -- availability of counsel      16   Exhibit PAL-7 Request to Separate   147
19          and witnesses that we are all             17   Exhibit PAL-8 Email             180
20          looking for so we can get that            18
                                                      19
21          scheduled and, if need be, go back        20
22          to the court.                             21
23            MR. GREEN: That's right.                22
                                                      23
24            MR. GOLDEN: Sharon, is that all         24
25          right?                                    25

                                           Page 187                                                             Page 189
 1                                                     1
 2           MS. ULAK: Yes.                            2            CERTIFICATION
 3           MR. GOLDEN: Okay. And, with               3            I, CAROLYN C. CRESCIO, a Notary
 4         that, Ms. Cintron, we are done for          4    Public, within and for the State of
 5         today. Thank you very much.                 5    Pennsylvania, do hereby certify that the
 6           THE WITNESS: Okay. Thank you.             6    foregoing witness, EVELYN CINTRON, was duly
 7           THE VIDEOGRAPHER: The time is             7    sworn on the date indicated, and that the
 8         4:57. This now concludes the                8    foregoing is a true and accurate transcription
 9         deposition for today.                       9    of my stenographic notes.
10                                                    10           I further certify that I am not
11         (Time noted: 4:57 p.m.)                    11    related to any of the parties to this action by
12                                                    12    blood or marriage; and that I am in no way
13                                                    13    interested in the outcome of this matter.
14              _________________________             14           IN WITNESS WHEREOF, I have hereunto
                  EVELYN CINTRON                      15    set my hand this 28th day of October, 2022.
15                                                    16
16   Sworn and subscribed to                          17
17   before me this _____ day of                                            <%11574,Signature%>
18   _______________, ________.                       18                  _______________________
19                                                                          CAROLYN C. CRESCIO
     _____________________________                    19
20      Notary Public                                 20
21                                                    21
22                                                    22
23                                                    23
24                                                    24
25                                                    25

                                                                                            48 (Pages 186 - 189)
                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS                        Document 90-1          Filed 04/07/25               Page 50 of 93


                                                    Page 190                                                                 Page 192
 1 Issac Green, Esquire                                         1 Cintron, Evelyn v. City Of Philadelphia Et Al
 2 ikegreen66@gmail.com                                         2 Evelyn Cintron (#5541591)
 3                  November 14, 2022                           3           ACKNOWLEDGEMENT OF DEPONENT
 4 RE: Cintron, Evelyn v. City Of Philadelphia Et Al            4    I, Evelyn Cintron, do hereby declare that I
 5     10/28/2022, Evelyn Cintron (#5541591)                    5 have read the foregoing transcript, I have made any
 6     The above-referenced transcript is available for         6 corrections, additions, or changes I deemed necessary as
 7 review.                                                      7 noted above to be appended hereto, and that the same is
 8     Within the applicable timeframe, the witness should      8 a true, correct and complete transcript of the testimony
 9 read the testimony to verify its accuracy. If there are      9 given by me.
10 any changes, the witness should note those with the         10
11 reason, on the attached Errata Sheet.                       11 ______________________________           ________________
12     The witness should sign the Acknowledgment of           12 Evelyn Cintron                 Date
13 Deponent and Errata and return to the deposing attorney.    13 *If notary is required
14 Copies should be sent to all counsel, and to Veritext at    14             SUBSCRIBED AND SWORN TO BEFORE ME THIS
15 cs-midatlantic@veritext.com                                 15             ______ DAY OF ________________, 20___.
16                                                             16
17 Return completed errata within 30 days from                 17
18 receipt of testimony.                                       18             __________________________
19 If the witness fails to do so within the time               19             NOTARY PUBLIC
20 allotted, the transcript may be used as if signed.          20
21                                                             21
22            Yours,                                           22
23            Veritext Legal Solutions                         23
24                                                             24
25                                                             25

                                                    Page 191
 1 Cintron, Evelyn v. City Of Philadelphia Et Al
 2 Evelyn Cintron (#5541591)
 3            ERRATA SHEET
 4 PAGE_____ LINE_____ CHANGE________________________
 5 __________________________________________________
 6 REASON____________________________________________
 7 PAGE_____ LINE_____ CHANGE________________________
 8 __________________________________________________
 9 REASON____________________________________________
10 PAGE_____ LINE_____ CHANGE________________________
11 __________________________________________________
12 REASON____________________________________________
13 PAGE_____ LINE_____ CHANGE________________________
14 __________________________________________________
15 REASON____________________________________________
16 PAGE_____ LINE_____ CHANGE________________________
17 __________________________________________________
18 REASON____________________________________________
19 PAGE_____ LINE_____ CHANGE________________________
20 __________________________________________________
21 REASON____________________________________________
22
23 ________________________________ _______________
24 Evelyn Cintron                  Date
25

                                                                                                        49 (Pages 190 - 192)
                                        Veritext Legal Solutions
                      215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS    Document 90-1     Filed 04/07/25    Page 51 of 93


[& - 9]                                                                         Page 1

          &          17th 36:9 55:14       250,000 130:12        45 188:10
 & 2:3                 57:6,22 61:10         132:3               4:32 180:18
                     18 25:10              25th 31:15 132:9      4:50 180:22
          1
                     180 188:17              134:25              4:57 187:8,11
 1 9:25 10:3         19 10:19              26th 130:8,13,15             5
   188:9             19-04078 1:3            132:4 133:13,16
 10 188:9                                               5 32:19 45:18
                     19102 2:16            27 47:7,9,11
 10/17/16 74:14                                           126:13,22,23
                     19103 2:5,10          28 1:12 3:11
   188:11                                                 188:13
                     1999 26:9             28th 189:15
 10/24 126:21                                           50 103:15 182:24
                     1:14 93:4             2:29 95:18
 10/28/2022                                             5541591 190:5
                     1:15 93:7             2:30 75:23
   190:5                                                  191:2 192:2
                     1:17 95:15                     3
 10:59 3:12                                             56,000 78:25
                     1st 145:17
 115 183:6                            3 74:13,15 75:2   57 182:24 183:3
                              2         75:18 126:17,20   183:9
 11574 189:17
 11:03 1:13          2 44:2,7 45:4,18   188:11          59 166:22
 11:19 20:7            73:16 166:15   30 178:20 190:17 59,60 180:6
 11:20 20:10           188:10         30,000 12:13               6
 11:52 45:2          20 103:17 192:15   130:25
                                                        6 45:20 145:8,13
 12 63:20 83:20      2000 26:9        33,000 17:17
                                                          188:14
 120 183:7           2016 33:24 73:19 3600 2:5
                                                        66,000 10:23
 120,000 78:25         74:19 75:3     38 74:18
                                                        6abc 60:24 61:14
 126 188:13            88:19 95:21    3910 2:10
                       104:6          3:32 145:4                 7
 12:09 45:9
                     2017 8:17 25:9   3:45 145:10       7 73:17 147:22
 13 83:21
                       25:10 61:23    3:52 151:8          188:16
 14 190:3
                       69:7,11 110:4  3:53 151:12       74 188:11
 145 188:14
                     2018 8:17 145:17          4        75 45:25 46:5
 147 188:16
                       147:16                           7th 61:22
 15 36:4 80:23                        4 92:23,25 93:9
 150 83:12 87:3      2019 10:19                                  8
                                        188:5,12
 1515 2:15           2020 9:9 13:19                     8 180:24 181:3
                                      4,900 180:3
 16 62:20            2021 9:2                             188:17
                                      40 74:21 183:10
 1650 2:4            2022 1:12 3:11                     8,000 174:8
                                        183:11
                       9:2,4 189:15
 16th 2:16                            400,000 152:4,14 8th 177:7
 17 61:22 75:3         190:3
                                        179:3                    9
 1717 1:11 2:9       24 73:19 75:23
                                      401 17:20         9 32:18 166:20
   3:14              25 39:12 173:18
                                      41 73:18            166:22

                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS    Document 90-1     Filed 04/07/25    Page 52 of 93


[90 - ally]                                                                     Page 2

 90 116:24         accurately 79:20        additional            afternoon 32:19
 92 188:12           98:7                    149:17 154:22         34:7
        a          achieve 46:7              154:23              aggravated 88:3
                     71:25 125:3           additions 192:6       ago 4:23 5:3
 a.m. 1:13 3:12
                   achievement             address 52:11,19        19:18,19 46:2,5
 ability 34:22,22
                     17:6                    53:3 140:12           168:5
   50:10,12,22
                   achievements              177:6 181:5         agree 44:10
   53:19,22 54:22
                     17:5                  addressed 53:5          186:15,16
   64:7
                   acknowledge               75:18 102:18        agreed 67:23
 able 24:16 80:22
                     125:13                  103:8                 87:15 88:12
   103:5 113:16,17
                   acknowledge...          adequately 89:2         96:13 98:5
   138:10 149:22
                     192:3                 adhered 41:22           186:2
   150:21 169:9
                   acknowledgm...          adjustments           agreement 54:8
 absence 25:6
                     190:12                  69:9                  184:4,6 185:22
   145:6 188:14
                   acquaintance            administration        agreements
 abused 77:24
                     58:19                   177:5                 51:18 183:25
 abusing 135:17
                   act 145:22              administrative        ahead 35:17
   139:11 156:2
                   acted 79:11               28:16 31:17,20        106:25
 acceptable 40:14
                   acting 38:4 73:5        advances 162:16       al 1:8 3:17 190:4
   117:3
                     119:19                advantage 155:5         191:1 192:1
 accommodatio...
                   action 51:10            adverse 51:10         allegations
   56:10
                     53:10,12,15 55:7        55:6 64:2,3 67:2      164:9 167:25
 account 174:3
                     64:2,4 67:2             77:14 78:7          alleviates 66:3
   174:12 175:6
                     77:14 124:9             92:10 99:5          alley 131:7
 accounts 11:18
                     132:21 163:8          adviser 8:7 68:6      allotted 190:20
   11:21,22 17:8
                     166:4 189:11          advocacy 111:16       allow 5:23 7:8
 accrued 178:11
                   actions 51:19           advocated               10:8 72:2
   178:12
                     53:2 66:25 79:3         111:21                117:17 124:25
 accumulate 56:9
                     79:4,25 92:11,13      advocating              153:25
 accumulated
                     99:5 106:5              106:10 134:18       allowed 86:19
   62:11
                     107:18,20             affairs 93:12,14        88:14 114:8,10
 accumulation
                     119:17 162:13           93:20 148:14          114:20 116:7
   90:6
                   activities 40:22          159:21,23             118:20,21
 accuracy 190:9
                   actual 83:8               160:13 163:6        allowing 116:14
 accurate 10:23
                     117:8 184:6             167:13 169:12         149:3 153:8
   67:5 147:16
                   adamant 173:14            169:19 176:17       allows 117:6
   148:6 160:7
                   addition 30:22          african 110:8,10      ally 130:9 170:2
   167:15 189:8
                     150:5                   110:12,20
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS    Document 90-1     Filed 04/07/25    Page 53 of 93


[amend - attend]                                                                Page 3

 amend 115:6            142:24 177:10        147:19                141:17 142:16
 amended 45:3           182:14 185:13      approximation           150:19 161:9,16
   188:10             apparently             6:22 140:20         assessment
 american 110:8         15:18              arch 1:11 2:9,15        186:13
   110:12,20          appear 10:14           3:14                assign 146:16
 americans            appears 10:17        area 153:8            assigned 30:15
   110:10               181:4,4            arm 116:20              31:15 37:5
 amount 17:15         appended 192:7       arranged 176:2          38:12 39:8
   150:18 184:10      applicable 190:8     arrangement             40:25 46:11,13
 animosity 172:4      application            177:19                46:14 47:6 82:3
 announced              25:20 34:8         arrests 66:11           82:3,17 167:12
   69:10 73:25        applied 25:12,15     arrived 35:24           170:23
 annual 157:11          25:20                91:15 161:25        assigning 57:23
   157:12,14          apply 24:22          articles 155:9        assignment
   183:21             appoint 35:11        aside 90:25             28:17
 annualized           appointed 30:16        121:7 136:17        assistant 74:20
   183:5                30:23 31:9 38:2      185:9               associated 21:25
 answer 5:21            64:20 143:20       asked 7:8 29:7        association
   6:19 7:8 25:17     appointment            36:12,14,15,17        12:15
   45:12 94:10,25       37:18 165:12         36:17,18 45:11      assume 127:3
 answered               168:24               52:11 55:19         assumed 33:23
   106:17             approached             57:7,20 63:24       asthma 83:15
 anxiety 19:3,13        67:14 109:14         69:15 77:13         ate 70:21
   19:23 20:14,19       132:6                83:3 85:19          athletic 2:9 3:24
   21:10 22:9,16,20   approval 37:21         92:10 99:4            30:21,24 33:18
   22:20,23 23:6        49:8 67:17           101:6 106:16          34:5 45:25 50:4
   185:20               146:7                115:5 134:23          50:8 55:25 56:2
 anybody 77:15        approve 137:24         135:12,14,15          67:7 129:21
   125:9 147:12         147:6 150:5          136:2 140:6           132:2
   172:2                169:2                141:19 142:12       atlantic 153:8
 aol 181:5            approved 37:18         167:7 173:25        attached 190:11
 apart 11:3 12:7        146:18 147:2,3       181:12 183:8        attempted 97:15
   19:21 21:5           168:21             asking 21:6 27:8        136:4 164:8,11
   22:16 23:13        approximately          36:19 45:13           165:5
   25:19 35:9           5:3 8:23 9:9,12      53:10 89:24         attend 80:13
   42:15 47:21          10:19 19:16          90:24 94:15           91:17 99:19
   66:22 99:8           25:8 27:4,11         97:6 113:8            101:25 120:10
   119:18 122:21        47:5,12 56:4         120:23 121:3          120:18 122:8
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS    Document 90-1     Filed 04/07/25    Page 54 of 93


[attendance - believe]                                                          Page 4

 attendance          average 179:16        ball 114:8            bathroom 131:6
   122:5             averages 180:5         115:21                 131:6,13,15
 attended 12:25      aware 62:14           bark 91:23            battle 171:10
   68:3 87:4 91:19     96:17 97:8          barriers 138:9        battles 171:15
   99:17 104:8         101:2 108:25        base 10:23 11:3       beauty 8:7
   109:5 112:20,21     134:7 139:23         17:18 184:9          becoming
   122:2,9,17          155:8 176:10        based 14:23             163:22
 attending 12:21       182:15,15            20:17 21:12          began 10:20
   16:11 83:13               b              34:16 54:24            26:8 36:5 45:25
   100:24 101:6                             56:9,24 57:17          46:6 55:12 57:9
                     b 167:14 188:7
   105:13 116:24                            60:17 63:14            58:20 64:25
                     back 8:8 10:13
   120:17 121:14                            79:13,16 96:20         68:16 69:4
                      18:13 19:20
   122:13                                   102:8 105:9            70:21 81:10
                      21:5 22:15
 attention 52:21                            127:17,19              140:22 141:2
                      24:12 25:5 27:9
   83:11 108:13                             160:21 163:6           147:15 162:14
                      29:17,18 37:15
   172:6                                    179:16 183:23          176:9
                      39:24 43:4,24
 attorney 68:6                             basement 70:9         beginning 27:6
                      54:19 56:18
   190:13                                   72:17                  38:3 80:3
                      64:18 71:17
 attorneys 2:4,9                           basically 11:17       behalf 3:25 4:4
                      72:3 82:21
   2:14                                     13:10 14:17,22         139:6
                      85:11 86:2,7
 audit 103:16                               16:13 42:25          behavior 124:2,2
                      88:18 92:8
 august 10:19                               56:10 59:7 67:6        124:9
                      103:6 107:9,19
 aurn 21:3                                  67:18 72:9 74:7      belief 102:12
                      111:7 116:4
 authority 51:4                             80:20 81:17            127:18
                      119:17 128:12
   53:25 57:15                              91:23 103:2          believe 13:2,20
                      148:19 150:3,6
   59:16 60:15                              116:14 133:22          13:22 16:17
                      150:15 151:3,18
   63:6,22 67:6,17                          133:23 142:6           17:25 19:18
                      161:2 165:15,17
   68:12 85:24                              162:20 163:16          21:2,3 22:3 24:4
                      169:16 177:17
   92:18,22 97:20                           165:18 169:18          25:9 27:13 36:9
                      183:20 186:5,21
   105:14 106:8                             175:23 181:19          47:7 61:21,22
                     background
   113:16 135:17                            184:2                  63:20 69:20
                      36:15 58:5
   139:11,16 143:8                         basis 122:9             73:23 78:15,16
                     backwards 8:4
   155:5 156:3                              148:4 154:24           80:2,3 90:6,21
                     bad 185:19
 avail 53:2                                 167:6                  92:15 100:11
                     bala 127:6
 availability                              basketball 114:7        110:4 119:19
                     balances 68:24
   186:18                                   114:15,17              124:22 126:16
                     balcom 163:2
 available 190:6                            115:13,19              128:9 133:9
                                            116:15 118:16          147:10 153:19
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS         Document 90-1     Filed 04/07/25    Page 55 of 93


[believe - call]                                                                     Page 5

   172:18 176:23          bike 153:7            bonuses 11:3,5,6       108:12 115:2
 belittled 79:19          bill 116:16             39:5 183:18          118:4 128:10
 beneficial 156:8         bit 5:14 160:22       books 178:9            167:5 169:23,25
 benefit 179:9              160:24              borrow 155:6           172:6
   180:8                  black 108:18            158:10,19           buddy 162:23
 benefits 38:24             112:20 114:6        boss 12:15 14:12      budget 103:10
   39:3 78:14               129:4                 14:14 59:13          103:11 118:18
   152:21 154:7           blatantly 161:23        151:22               173:10
 bernie 35:25               162:21              bothered 31:4         building 81:6,11
   49:3 60:23 61:5        blood 189:12          bottom 147:25          87:19 90:19
   61:15 64:3 68:3        blue 141:10,15        bought 154:5,15        131:8,10,11
   68:18 74:2,7           board 35:19,22        boxer 116:6            142:21 177:5
   79:9,15 91:15            35:23 36:2 37:9     boxing 115:23         buildings 89:6
   101:15 102:4             37:16 42:23           116:4,8             bullet 75:22
   103:24 104:19            43:4,11,14,15       boy 135:6             business 11:8,12
   108:5,7,22               49:2,2 54:13        boys 71:4 107:8        159:6
   109:19,19                67:18 68:14,18      brags 156:18          busy 141:22
   110:13,18                73:7,8,9,13         break 7:2,4,9         buy 72:11
   111:12,18,24             79:11 84:22           20:8 44:16,22       bypass 108:19
   112:6,7,9 113:9          86:19 88:4,11         45:7 65:9 93:5      bypassed 109:15
   118:8 119:17             90:8 91:24            95:2,16 144:25       110:14
   120:15 121:5             97:14,22 99:25        145:5 180:16,20     bypassing 59:7
   122:6,19,22              101:20,23           briefly 31:12                 c
   123:11,19,21             102:14 109:12         93:11
                                                                      c 2:2 4:10 189:2
   125:5,11 126:2,3         110:3 114:25        bring 36:18
                                                                        189:2,3,18
   127:12,21 128:2          116:2 118:9,9         50:14 56:21,23
                                                                      cadets 141:10,15
   131:25 132:24            128:19,20             71:4 105:3
                                                                      calendar 80:22
   134:15 135:3,5           130:21 133:24         113:20 117:21
                                                                        100:19,23
   135:25 136:18            135:19 136:6,14       130:2 133:7
                                                                      call 15:21 16:23
   139:15 140:9             137:18 140:16         144:7,9 177:17
                                                                        17:2,3,14 33:14
 best 5:20 6:5,13           151:23 152:5,6      bringing 118:10
                                                                        34:2,6 37:6,10
   7:14 135:10              152:17 153:23       broke 84:9
                                                                        57:5,8 58:16
 better 114:15              156:5,6,12,16       broken 116:20
                                                                        59:5,15,17,20,25
   116:3,25 144:18          162:3,8 173:14        116:20
                                                                        63:21 64:9
 big 154:8                  175:3               brought 52:20
                                                                        65:23 69:12,16
 biggest 114:13           bonus 17:9,15,19        69:18 70:15
                                                                        69:22 85:10
   152:7                    183:16                102:17 103:7,10
                                                                        162:15 179:22
                                                  103:19,20
                                     Veritext Legal Solutions
                   215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS     Document 90-1     Filed 04/07/25    Page 56 of 93


[called - choice]                                                                Page 6

 called 15:10,13        142:23                89:15 90:2,15,25    changed 64:24
   17:10 22:5         career 78:25            91:6,7 95:22          67:16 160:12,14
   34:19 57:25          148:24,25 178:7       96:9,12,18 113:3      161:4,6,8,11
   60:23 67:24        careful 98:16           113:4 114:3         changes 134:18
   69:23 76:6 84:2    carolyn 1:18 4:7        118:25 130:9,12       190:10 192:6
   84:3 86:15           189:3,18              130:17,17,19,22     charge 31:18
   132:7,9 133:11     carrying 75:14          131:21 132:4,21       66:10 135:5
   133:21 141:17      carter 20:17            132:22,25             153:5 156:4
   148:17 159:19        21:13                 138:12,23 173:2     charitable
   161:20 174:4       case 1:3 60:19        centers 42:25           152:12 153:4,12
   175:22               83:5 118:15           78:22 80:18,19        153:15 156:9
 calling 57:7           164:8,12 175:8        80:21,23 106:3      charity 152:15
   58:18 107:7        caucasian               109:14 112:2,3        154:2 155:11
 calls 59:12 70:4       116:25 134:5          112:19,20 113:2       156:24
   182:5              cause 64:7 79:24        113:8 114:6         chase 49:11 52:6
 campbell 129:7         130:2 133:7           134:21 138:14         170:5 171:20
   129:8,12,14          165:20,21             138:16 169:9          172:18
   130:5 132:22       caused 83:10            172:24              check 58:5 71:17
   133:10,11 134:2      90:9                central 177:20          72:4 85:15
   144:15             causing 23:2          certain 27:25           107:9 179:22
 candace 2:21           82:24 87:21           53:3 113:2,2          180:2 181:10,21
   3:22               celebrate 17:5          118:15 124:18         181:23,25
 capable 149:4        center 20:25            150:18 173:9        checked 58:4
 cappy 132:6            53:17 57:19,19      certified 117:15      checks 32:5
 captain 30:16          57:20 58:14         certify 189:5,10        68:23
   31:16 32:20,23       80:13,16 81:3,3     chain 28:19,25        chief 12:14,22,25
   32:25 33:5 57:6      81:25 82:2,4,7,8      43:8,9 47:14,17       138:4 158:2
   57:12,22,25 68:6     82:13,15,16,19        64:13 75:8          child 58:4
   68:10,16 69:4        82:24 83:12,13        146:17 163:18       children 106:10
   74:8 98:14,16        83:14,17,23,24        165:6,19              111:22 112:21
   129:5,6 130:5,15     83:25 84:3,4,5      chair 49:3,3            114:4,7 118:23
   132:6,21 133:10      84:11,12,19 85:5      102:3,3               119:3 153:19
   133:11 134:2         85:8,9,11,15,19     championship            154:16
   144:12               85:21,23,24,25        76:18               children's 153:4
 car 128:13             86:6,15,16,20,21    chance 98:14            153:14
 care 18:11,11          86:23 87:2,3,4,7    change 9:20 38:7      choice 129:8
   21:21 22:8 83:7      87:10,16,24,25        191:4,7,10,13,16      166:7
   137:23 142:22        88:5,6,8,16,18        191:19
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS     Document 90-1     Filed 04/07/25    Page 57 of 93


[choosing - clear]                                                               Page 7

 choosing 144:8         97:1 98:1 99:1        174:1 175:1           184:9,15,21
 chose 129:17           100:1 101:1           176:1 177:1           190:4 191:1
 chosen 143:10          102:1 103:1           178:1 179:1           192:1
 cintron 1:5,16         104:1 105:1           180:1 181:1,2,2     city's 165:24
   3:15,17 4:1,5,17     106:1 107:1           182:1 183:1           166:25
   4:20 5:1,11 6:1      108:1 109:1           184:1 185:1         citywide 142:16
   7:1,25 8:1 9:1       110:1 111:1           186:1 187:4,14      civilian 43:21
   10:1,6,12 11:1       112:1 113:1           188:4 189:6           124:4 170:20
   12:1 13:1 14:1       114:1 115:1           190:4,5 191:1,2       171:2,3,4,5,6
   15:1 16:1 17:1       116:1 117:1           191:24 192:1,2,4    civilians 170:17
   18:1 19:1,8 20:1     118:1 119:1           192:12                170:20 171:17
   21:1 22:1 23:1       120:1 121:1         circle 110:13           171:23 172:20
   24:1 25:1 26:1       122:1 123:1         circumvent 67:5       claim 103:13
   27:1 28:1 29:1       124:1 125:1           79:12 140:24        claimed 13:11
   30:1 31:1,6 32:1     126:1,15 127:1      circumvented          claiming 116:15
   33:1 34:1 35:1       128:1 129:1           64:10 79:19         clarification
   36:1 37:1 38:1       130:1 131:1         circumventing           46:3 101:8
   39:1 40:1,3 41:1     132:1 133:1           67:3,6 90:8           120:11
   42:1 43:1 44:1,6     134:1 135:1         city 1:8 2:14,14      clarify 64:18
   45:1,17 46:1         136:1 137:1           3:16 4:2 8:20         178:16
   47:1 48:1 49:1       138:1 139:1           12:10 18:10         clarke 58:17
   50:1 51:1 52:1       140:1 141:1           25:25 26:7,8,12       60:2
   53:1 54:1 55:1       142:1 143:1           32:8,11 38:8,16     classes 141:21
   56:1 57:1 58:1       144:1 145:1,12        38:24 39:10,13      classroom 85:18
   59:1 60:1 61:1       146:1 147:1,24        39:15,17,19         clayman 52:5
   62:1 63:1 64:1       148:1 149:1           41:15,18 42:13      clean 84:17
   65:1 66:1 67:1       150:1 151:1           45:23 50:19         cleaning 82:5,7
   68:1 69:1 70:1       152:1 153:1           58:17 66:14           83:6 85:13
   71:1 72:1 73:1       154:1 155:1           73:6,11 80:21,24    clear 6:14 11:11
   73:15 74:1,17        156:1 157:1           81:13 83:5 98:8       14:20 21:6
   75:1 76:1 77:1       158:1 159:1           146:20 149:6,13       23:13 31:25
   77:13 78:1 79:1      160:1 161:1           153:8 165:2           46:18 74:6
   80:1 81:1 82:1       162:1 163:1           166:8,11 169:7,8      76:24 90:18
   83:1 84:1 85:1       164:1 165:1           173:24 174:6          96:24 119:5,14
   86:1 87:1 88:1       166:1 167:1           176:21 177:11         122:15 150:8,13
   89:1 90:1 91:1       168:1 169:1,20        178:3,22 179:8        150:14 171:13
   92:1 93:1,8 94:1     170:1 171:1           179:14 180:4,9        182:15
   95:1,6,20 96:1       172:1 173:1           182:23 183:17
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS    Document 90-1     Filed 04/07/25    Page 58 of 93


[clearly - compensates]                                                         Page 8

 clearly 117:10       coming 77:25         comment 135:5           148:18,20 149:8
 client's 5:9           81:14 83:13          163:21                151:22 152:9
 clients 12:4,6         134:24 141:21      comments                155:4,17 162:6
 close 96:18,20         172:4                124:13                162:12,23
   164:8,12           command 28:19        commission              165:10,16 166:7
 closed 80:14,15        29:2 43:8,10         181:10                167:13,24
   84:19 85:20          47:14,17 66:2      commissioner            168:20,25 169:2
   86:6 87:11,13,13     146:17 163:18        12:16 13:3,16,24      173:8 177:15
   88:16,18 96:12       165:6,19             14:3,14,21 15:4     commissioner's
 collaboration        commander              15:11,24 16:6         37:11 68:2,5
   38:10 46:6           30:24 58:8           30:14,18,23 31:2      167:11
   68:15 92:19          105:11,23            33:10,12,16 34:6    commissioners
   98:7                 113:13 119:23        34:15 35:3,4,9        65:11
 collaborative          119:25 120:6         35:18 37:8,23       committee 88:8
   35:21                121:11,12            40:21,22,25 41:4    committees
 collaboratively        123:25 130:3         41:6,7,12,17          104:15,16
   37:24                133:8,8              42:11,15,16,20      common 70:20
 colleague 3:22       commanding             42:20,21 43:6,6     communicate
 collect 71:17          30:17 33:9,13,17     58:12 59:17           7:18
   72:4 107:9           33:23 34:20          60:20,22,24         communicated
 color 124:19           35:11 36:24          61:16,21 63:22        163:7
 come 32:7 43:4,5       37:18 38:5,15,23     64:16,19,22,25      communities
   54:19 55:24          40:6,9,10,12,15      65:3,4,5,10,15        113:19
   58:14 60:18          40:19 41:20          65:17,18,20,23      community 35:5
   63:18 74:2,3         47:3 50:21           66:6,7,13 67:23       36:17 43:16,23
   80:7 83:19 84:4      54:20 64:20          68:5,9,10 87:14       46:8 56:10 69:3
   84:10,17 86:15       67:7,20 77:18,22     95:21 96:6            85:4 96:23
   91:23 99:22          84:6,25 89:12        97:12 98:2,3,13       106:11 112:16
   100:3,5,5 105:2      91:11 96:19,21       98:18,21 123:18       112:17 124:24
   107:19 119:17        97:2,7,9 103:4       128:11,14,17          125:17 128:15
   150:3,6 155:19       105:15 121:16        129:4,7,11,14,22      130:10
   159:18 160:9         121:18,21            129:23,25 130:4     company 11:19
   179:6 186:5          122:16 124:12        130:6 133:6,18        11:25 12:2,18
 comes 96:15            128:22,25            134:12,18 135:7       17:23 117:6
   97:5 139:21          132:18 139:16        135:17,18             181:20
 comfortable            157:5 158:24         140:17 141:15       compensates
   67:21                168:14 184:17        143:11,20 146:7       156:25
                                             147:7 148:10,15
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS      Document 90-1   Filed 04/07/25    Page 59 of 93


[compensation - corporal's]                                                     Page 9

 compensation          131:4,5 175:14      confirm 107:20        controlling
   12:13 177:22      concerns 68:8         confirmed 86:16         160:4 167:25
   178:2 180:12        89:9 102:17,24        126:6               convenient
 complain 95:20        165:23              conflict 152:2          74:23
   158:19            concludes 187:8         156:3,10            conversation
 complained          conclusions           confusing 29:16         13:4,15 14:4,11
   110:11 158:7        127:17              connection              14:15,24,25 15:5
   166:25            condescending           160:18 161:13         15:10,15,25 16:3
 complaining           52:14 170:16        considered              16:5 57:5 61:12
   91:3 112:6        condition 18:25         39:18 59:9            69:18 72:10
   158:17 172:23       19:7 21:15            170:2                 136:5,23 139:25
 complaint 45:3        149:5 150:25        considers 163:2         140:20 164:16
   73:16 74:18         159:10 172:25       consisted 31:19         167:4 169:15
   89:15,21,25       conditions 21:12      constantly 124:4        181:17
   90:24 91:2 96:6     21:19 22:17,21      consult 47:24         conversations
   96:7 107:3          23:21 24:14         consulting 172:2        33:11 102:20
   109:2,7 165:2       81:4 84:11 85:7     contacted               118:11 182:16
   166:13,16 167:3     88:5,12 95:22         141:20              convince 87:23
   167:7 173:5         134:21 137:14       content 16:2          conway 164:6,15
   175:19 188:10       150:3 151:4,15      contents 16:4           166:8 167:5,9,16
 complaints            151:16 159:15       contested 80:10       coordinate 69:25
   20:18 50:14         172:23              context 16:2            75:10,12
   67:4 89:8         condoning             continue 23:10        coordinated
   119:16 156:8        123:25 124:2,10       38:8,23 117:25        88:9 173:25
   159:9,10 163:15   conduct 124:20          142:8,14 175:15     coordinating
   172:22            conducted               179:5 186:3           186:7
 complete 167:16       103:16 168:3        continued 21:22       coordinator
   167:20,22 192:8     186:10                110:14 113:21         132:8
 completed 74:9      conducting              113:22 159:15       copies 190:14
   190:17              93:18 164:6           172:15              cops 170:17,20
 completely          conference            continuing              170:21 171:22
   97:19               12:15,21,23,25        109:21              corner 115:19
 compound 24:23        13:18 14:13         contract 54:8         corporal 26:25
 computer              15:8,16 16:10,11    contractual             27:16 28:2,8,15
   131:18              17:3                  51:17 183:24          28:25 29:9,12
 concern 87:18       conferences           contribute 179:9        30:3
 concerned 94:10       16:14               control 66:4          corporal's 26:24
   94:20,21 95:5                             170:6
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS     Document 90-1     Filed 04/07/25    Page 60 of 93


[correct - decision]                                                         Page 10

 correct 11:8          cost 154:16,22       coworker 14:5         dates 186:17
   12:4 13:25 16:6       154:23 174:10      coworkers 12:24       day 5:16 31:2,2
   22:21 24:7,14       coulter 12:16        cram 31:16              37:9,17 40:22,22
   26:2 28:20 30:4       13:3,16,25 14:4      32:22,25 33:5         43:2,2 55:12
   30:21 32:15           14:14,21 15:4,11   create 174:3            70:5 80:25
   38:5,17 39:10         15:24 16:6 35:4    crescio 1:18 4:7        81:21 100:24
   40:23 41:13           148:10,11,18,20      189:3,18              116:4 141:16
   46:11,16,23 47:3      149:6 182:7,20     cs 190:15               142:4 156:20
   47:19 48:21         council 58:17,24     culmination             158:18 176:12
   49:11,18,22 51:6      64:8                 90:13                 187:17 189:15
   51:10 60:7 63:4     councilwoman         current 166:10          192:15
   63:7,12 64:22         130:11 132:20      currently 8:2,10      days 12:18 15:17
   65:2 76:13 77:4     counsel 3:18           18:7,23 19:8,22       80:22 85:10
   89:12 90:5,16         59:10 185:23         22:17 23:5,20         190:17
   92:12,14 107:22       186:6,18 190:14      129:13              dc 65:21,22 66:4
   111:10 115:9,12     counseling 20:25     cynwyd 127:6            136:3 140:11,13
   122:18 127:15         23:10                      d               140:20 143:8
   134:3 136:15        counselors 23:15                             144:2 148:11
                                            d 120:13,13
   137:15 144:13       counterpart                                  149:6 152:14,25
                                             188:2
   145:18 147:19         125:5,7                                    154:13 155:10
                                            dangerous
   149:7 153:13        counterparts                                 156:24 159:8,25
                                             116:11,11
   157:11,19             120:19                                     160:2 163:7
                                            danielle 74:20
   159:11 170:22       country 11:10                                165:6,24 169:10
                                             75:18
   178:22 180:4,9      county 1:3                                   175:20,22
                                            darrell 58:16
   181:24 182:8        couple 4:23                                  176:10 182:7
                                             60:2
   184:15 192:8          46:22 123:10                             dealing 83:9
                                            date 3:11 10:5
 correctional          course 107:23                                150:2
                                             10:18 45:6
   26:14               court 1:2 3:9 4:6                          debuted 142:4
                                             73:22,23 74:16
 corrections             4:14 5:17 6:4                            december 69:7
                                             75:16 93:2
   131:20 192:6          7:12 10:7 46:3                             69:11 74:4,9,10
                                             119:15 126:14
 correctly 11:22         101:8 115:19                             decide 143:17
                                             126:21 145:9
   15:9 31:7 36:23       120:11 186:22                            decided 34:15,16
                                             147:23 175:19
   38:14 39:7 40:2     cover 39:12                                  80:17 81:24
                                             179:15 180:25
   45:21 46:9 51:3       174:10,15                                decides 156:16
                                             189:7 191:24
   60:6 68:15 76:5       175:11                                     174:16
                                             192:12
   76:10 179:18        covered 175:8                              deciding 104:24
                                            dated 82:21
 corruption            covering 38:11                             decision 35:10
   68:25                                                            35:14,20 37:23
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS    Document 90-1     Filed 04/07/25    Page 61 of 93


[decision - dinner]                                                         Page 11

   56:23 60:18        denzel 2:20 3:4        30:14,18 31:2       dessert 72:11
   63:11,13 64:12     department 2:14        35:3,4 40:21        details 176:8
   79:14 84:13,23       13:17 25:6 32:9      41:4,6,7,9,12       detective 96:5
   87:15 89:18,18       38:11 46:4,10        42:11,16,20 43:5      164:6,15
   91:12 92:6           59:6 63:18           58:12 59:24         determination
   96:11,13,17,20       65:15 73:4 98:9      60:20,21 61:16        149:20
   97:21 99:12          152:19 166:4,9       61:20 64:15,15      determines
   100:6 101:14         166:13 179:6         64:18,21,25 65:3      184:2
   102:19,20          departmental           65:4,5,8,10,11      develop 42:24
   104:11 113:14        50:13 59:4 80:9      65:15,17,18,20      development
   125:16 128:20        173:17               65:23 66:6,7,13       11:8,12
   128:21 147:6       departments            67:4 68:4 87:14     diagnose 21:11
   177:9                11:10,19,23          95:21 96:5          diagnosed 21:9
 decisions 79:12      depending 184:9        98:13 123:18          21:15 22:24
   80:6 84:7 90:23    depends 158:18         129:7,11,13         diagnosis 20:21
   91:21 97:23        deplorable 81:4        133:5 134:11        dictate 48:11
   99:17,21 100:8       85:7 88:13           135:7,16 141:14       80:7
   102:22 103:5         134:21 137:14        146:6 147:7         difference
   104:13,18          deponent 3:17          148:10,15,17,20       112:22,23,24
   105:14,16,24         190:13 192:3         149:8,19 151:22     different 11:18
   119:24 121:14      deposed 4:24 5:4       152:9 155:4,17        15:7,7 16:14
   122:11             deposing 190:13        155:23 161:24         31:22 52:13
 declare 192:4        deposit 32:5           162:5,12 163:3        53:16 65:14,19
 deemed 93:16         deposition 1:15        163:14,15,19,22       69:9 82:25 90:7
   192:6                3:7,13 4:25 5:14     164:10,12,24          104:15,15
 defendant 2:9,14       187:9                165:10,16             107:13 111:22
   3:23               depositions            167:11,13,24          111:25 115:16
 defendants 1:9         186:9                168:20,25             115:16 120:19
 definitely 120:18    depression 20:19       169:17 173:8          179:23
 delayed 179:9          22:9,16,20,23        177:15              differently
 deliver 126:4,8        23:6               deputy's 169:17         120:25 121:6,10
 delivered 126:10     deputies 34:17       describe 31:12          121:12 122:24
 denied 116:10          35:2 54:12         description 97:2        123:8,15
   146:18 148:10        166:6                97:8 188:8          difficult 6:4
   148:12,20          deputy 12:16         designated 28:9         41:23
   149:25               13:3,15,24 14:3      32:14,17            digging 164:10
 dental 17:24           14:14,21 15:3,11   desk 66:3 156:19      dinner 70:21
   18:8,9,11            15:23,24 16:5                              141:14,14
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS    Document 90-1     Filed 04/07/25    Page 62 of 93


[dinner - duty]                                                             Page 12

   153:22            discrimination         22:10 150:17           14:13,16 15:3,6
 direct 32:5 43:17     165:22              doctors 19:9            15:18,21,22
   92:19             discriminatory         20:12 24:18            181:5,6,7 182:7
 directed 154:25       185:13              document 45:17          182:10,16
 directive 63:20     discuss 70:3           69:5,5 93:10         double 71:24
 directly 38:20        76:17 87:14          145:14               downtown 36:8
   64:15 78:18         100:18 102:5        documentation         dps 75:20,24
   132:16 135:19       160:10 176:3         24:24                  76:12,21,25
   140:3               177:21              documented            dr 20:17 21:13
 director 48:6       discussed 69:11        150:22,24              21:21,24 22:7
   54:2 72:24          105:5 176:3         documents               23:16
   73:12 97:22         185:14               96:16 150:12         draft 69:8 74:10
   101:18 132:7      discussing 75:5        155:13                 98:19
   141:16,18 142:5     75:5 163:4          doing 12:17           drafted 94:5,12
   142:11,12,20      discussion             13:14 17:7             94:18
   143:3               151:10               57:21 85:19          draw 68:11,17
 disability 25:13    dismiss 159:14         91:3 102:14            69:4
   25:14,21          disney 114:5           113:22,23            drive 72:20
 disagree 84:24        117:19               116:10,21 120:2      drop 146:15
 disagreement        disobey 163:17         138:10 141:2           178:6,19,21
   174:25            disorder 150:3         164:19 165:4,5         179:2,14,22,22
 disagreements       disparity 117:25       171:2,6,14 172:2     drum 141:10,16
   174:23            disrespected          dollars 9:18            141:18 142:3,11
 disciplinary          79:19                178:20 183:2           142:12,21,23
   36:20 50:20       disrespectful         donate 132:14           143:6
   56:13               162:21 163:17        132:15 152:18        due 18:15 19:2
 discipline 50:11    distress 150:2        donated 130:25          127:14 128:4
   50:15,17,22       district 1:2,2 3:8    donates 152:3,14      duly 4:11 189:6
   52:20,23 54:22      3:9 30:15 31:10     donating 153:20       duties 75:14
   163:9               31:16 32:3,13       donations               171:5
 disciplined           55:14 57:6,24        153:20               duty 9:7,22 10:2
   51:23,24 52:6       61:10 130:8,13      donor 132:10            10:14,16,20 12:8
 discrepancy           130:16 132:4,9      door 131:7,11,16        12:11 13:9 14:8
   103:11              133:13,16            131:16                 16:24 17:18
 discretion 59:18      134:25              doors 130:20,23         25:24 97:4
   96:19             districts 66:10        131:6 162:20           188:9
 discriminated       doctor 19:12,25       doran 11:16
   112:10              20:16,20,22          12:15,25 13:7
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS    Document 90-1     Filed 04/07/25    Page 63 of 93


[e - encouraging]                                                           Page 13

         e             109:1 110:1           185:1 186:1         eliminate 129:9
 e 2:2,2 4:1,10,10     111:1 112:1           188:2,7 189:2       else's 109:16,22
  5:1 6:1 7:1 8:1      113:1 114:1           191:3,3,3             110:15
  9:1 10:1 11:1        115:1 116:1         earlier 39:25         email 69:17
  12:1 13:1 14:1       117:1 118:1           77:13 92:10           74:14,19,21,25
  15:1 16:1 17:1       119:1 120:1,13        99:4 123:17           75:2,17 91:21
  18:1 19:1 20:1       121:1 122:1           182:6                 95:25 126:12
  21:1 22:1 23:1       123:1 124:1         early 60:4              146:10 180:23
  24:1 25:1 26:1       125:1 126:1         earning 180:7           181:3,5,6,7
  27:1 28:1 29:1       127:1 128:1         easier 27:23            182:13,14
  30:1 31:1 32:1       129:1 130:1         east 169:6              188:11,13,17
  33:1 34:1 35:1       131:1 132:1         eastern 1:2 3:9       emails 64:13
  36:1 37:1 38:1       133:1 134:1         eddis 120:10,12         75:8 82:21
  39:1 40:1 41:1       135:1 136:1           121:15,19,22        emergency
  42:1 43:1 44:1       137:1 138:1           122:2,3,12,17         137:22
  45:1 46:1 47:1       139:1 140:1         eeo 165:25 167:7      employed 8:2
  48:1 49:1 50:1       141:1 142:1         eeoc 164:25             25:25 50:18
  51:1 52:1 53:1       143:1 144:1           166:13                179:8
  54:1 55:1 56:1       145:1 146:1         effectively 64:14     employee 14:8
  57:1 58:1 59:1       147:1 148:1           138:11                18:2 41:15,18
  60:1 61:1 62:1       149:1 150:1         effort 35:22            49:21 51:23
  63:1 64:1 65:1       151:1 152:1         efforts 138:14,16       53:6,13,15 73:11
  66:1 67:1 68:1       153:1 154:1         eight 41:25 42:3        149:7,13
  69:1 70:1 71:1       155:1 156:1         either 15:2 32:6      employees 39:19
  72:1 73:1 74:1       157:1 158:1           48:18 54:24           43:21 48:3
  75:1 76:1 77:1       159:1 160:1           102:3,21 123:9        50:23 51:9
  78:1 79:1 80:1       161:1 162:1           123:16 131:15         52:12,13 53:16
  81:1 82:1 83:1       163:1 164:1           137:12 169:12         53:23 54:3,4
  84:1 85:1 86:1       165:1 166:1           176:24                124:10
  87:1 88:1 89:1       167:1,14 168:1      electrical 137:25     employment
  90:1 91:1 92:1       169:1 170:1         electrician 138:3       10:15 12:9 13:8
  93:1 94:1 95:1       171:1 172:1           138:6,7,22            16:22,23 62:2
  96:1 97:1 98:1       173:1 174:1         elevated 28:24          167:2 177:10
  99:1 100:1           175:1 176:1           30:2,8,13 31:7      encourage 140:4
  101:1 102:1          177:1 178:1         elevating 33:8        encouraged
  103:1 104:1          179:1 180:1         elevation 33:12         140:10
  105:1 106:1          181:1 182:1         eligibility 17:19     encouraging
  107:1 108:1          183:1 184:1                                 148:22
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS    Document 90-1     Filed 04/07/25    Page 64 of 93


[ended - explained]                                                         Page 14

 ended 18:14          essence 143:21       everyone's 17:5       exclusion 105:7
   62:2 66:4 79:2     essentially 31:8       68:12 108:9         excuse 5:6 20:3
   82:18              establish 119:10     evidence 141:6          45:10 144:24
 endowment              174:12 175:6       exact 73:22           executive 54:2
   114:14 131:22      established 46:5       108:15                73:8 74:20
 endure 84:10         et 1:8 3:16 190:4    exactly 5:25            101:18
 enhance 141:5,7        191:1 192:1          16:17 181:18        exercise 89:10
 enjoyed 171:6        ethnicity 170:11     exam 26:24,25         exhausted 148:8
   171:25             evelyn 1:5,15          27:3                  166:2 178:17
 ensure 85:2            3:15,17 4:5,17     examination           exhibit 10:3 45:4
   88:24                75:19 187:14         4:18 95:19            74:15 92:25
 entailed 11:15         188:4 189:6        examined 4:12           93:9 95:12
   31:13                190:4,5 191:1,2    example 49:10           126:13 145:7,13
 enter 165:8            191:24 192:1,2,4     112:5 121:2           147:22 180:24
 enters 123:18          192:12             examples 67:9           188:9,10,11,12
 entire 75:13         event 15:24 75:7       67:10 113:24          188:13,14,16,17
 entities 24:19         75:12,14 123:15    exception 48:9        exit 148:14
   46:23,24             135:2 153:11         51:16               expect 34:6
 entitled 1:17          154:8 156:20       excess 103:15         expecting 17:17
   17:21                157:10,11,12,15      174:8 179:3         experience 56:11
 entity 19:17 21:9      160:17 163:21      exchanges 7:13          56:17 62:19
   21:14 22:2 23:5      174:8              excited 70:11           84:6
   116:15             events 35:5          exclude 119:23        experienced
 environment            39:13 41:25          120:7 125:19          170:3
   79:18 151:18         42:8,9 43:15,16    excluded 79:16        experiencing
 equal 115:7            43:23 76:17,25       91:14 99:6,9,11       90:11 109:2
   165:24 166:25        90:7,14,15 154:7     101:14 102:8        expire 25:17
 equation 67:19         154:11 155:7,16      105:9,13 106:14     explain 17:15
 equipment 16:15        157:13 158:11        107:15,21 108:2       35:15 37:22
   16:15 117:7          173:18 174:7,10      111:9,14 113:13       123:6 177:4
 errata 190:11,13       174:16 175:16        113:14 121:22       explained 15:20
   190:17             eventually 62:5        121:24 122:21         29:19 34:20
 escalate 159:15      everybody 69:8         123:11 125:18         37:20 57:12
 especially 59:19       109:16,22            127:12                58:23 59:2 82:6
   174:20               110:15             excluding 91:10         83:4 96:10
 esq 2:6,11,17,21     everybody's            119:21,24 121:7       99:15 115:25
 esquire 190:1          61:3                 121:13                121:9 128:8

                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS     Document 90-1     Filed 04/07/25     Page 65 of 93


[explaining - fix]                                                            Page 15

 explaining           fails 190:19             124:20,25           financials 102:5
   163:14 173:8       fair 33:22 40:7       feeling 81:22          find 28:3 75:20
 explanation            110:17 115:7           150:4                  89:21 104:17
   98:24                186:11,12,15        feet 71:17                111:17 117:23
 explorers 132:8      fairly 37:5           felt 80:4 109:24          123:7,13 142:7
   132:11             fall 82:25 88:19         112:10 113:10          164:11,21,22
 exposed 85:6           117:2                  120:24 121:5           166:3 182:3
   124:11 151:4       fallen 65:20             122:23 123:8,15     fine 6:19,22 7:2
 exposition 28:10       152:19 175:12          167:6 170:25        finger 81:16
 expressed 68:8       falling 142:23           185:8,12            finish 5:23
   150:24 155:14      false 54:24 67:4      female 35:4            finished 178:6
   164:7,23             70:4 71:11             105:11,23 106:7     fire 53:20,22,25
 extend 18:11           126:10 164:9           107:6,6,10             54:3 137:25
   148:16             familiar 132:5           120:25 121:4,12        138:8
 extended 10:15       familiarize              122:25 123:9,16     first 4:11 20:15
   109:18               10:10                  128:4 129:6            21:9 28:14
 extension 148:9      families 154:6           134:2 144:12           29:24 30:4 31:9
 extent 172:15        family 132:14            170:9                  31:14 41:9 45:3
 extra 42:4             145:6,22 148:8      fifth 57:4                55:12 67:12
 eye 23:2 173:9,9       175:12 178:18       fight 116:7               80:16,17 87:9
          f             188:14              figure 186:8              91:15,18 93:9
                      far 61:9 62:15        file 164:25 166:9         94:3 96:15 97:5
 f 189:2
                        112:14 117:21          166:13 167:6,7         107:13 115:25
 facilitating
                        131:3 178:9            184:22,23 185:2        129:8,19 141:12
   153:7
                      faulty 138:23,23      filed 174:5               141:13 161:24
 facilities 81:9
                      faust 74:20,22        fill 176:7 177:17         172:3,6 176:9,12
   88:7,24 106:2
                        85:22 86:9          filled 176:7              188:10
   112:24 137:15
                        126:22 162:7,21     final 67:17 69:7       firsthand 94:16
   159:11
                        163:17,23,24           74:10 128:19           135:25
 facility 117:6
                        168:6,16 170:7         149:19              fit 57:11
 fact 87:4 96:21
                      faust's 169:15        finalized 74:4         fitzpatrick 2:3
   106:9 136:25
                      favor 55:13           finally 141:9          five 18:11 31:18
   150:25 151:21
                        152:6               finance 132:13            56:22 62:16
   156:2 171:22
                      february 145:17          157:8 174:2,4,12       103:18 106:4
   174:14
                        147:16                 175:6                  180:16
 facts 102:11
                      feed 12:5             finances 138:17        fix 88:5 118:3
 failed 163:8
                      feel 6:20 67:21       financial 103:14          138:7,23 139:6
                        112:16 113:12          138:4 158:2
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS        Document 90-1     Filed 04/07/25    Page 66 of 93


[fixed - given]                                                                 Page 16

 fixed 83:4 87:17        forgot 12:23          friends 162:8         general 7:17
    133:4 138:2,3,19     form 25:21              163:24                99:23,23 102:16
 fixing 87:21              131:15 142:11       front 75:2 88:13        103:19,20 104:2
    112:25 133:3           148:2 167:16,20       166:19                104:9,13,19
 flagged 61:3              167:23 177:2,11     frustrated              109:12 118:9
    123:24               formally 87:10          138:13,17           generally 7:21
 flipping 73:17            87:13               function 24:17          11:14
 floor 2:16 82:5         forms 167:5,9           113:17              georgia 8:14,16
    82:24 164:4          forward 40:5          functioning 19:5        19:12 21:20
    165:9                  152:23 153:20       functions 89:11       germaphobic
 floors 82:7             forwarded 146:6       fund 152:11,18          108:13 109:19
 fluctuated 9:21         found 86:25           funded 89:3           getting 19:6
 fmla 145:17,21            103:12                152:11                20:15 24:15
    145:21,25            foundation            funders 87:2            42:3,4 85:12
    146:25 147:2,15        114:14 118:17       funding 83:23           88:4 101:4
    150:16                 141:5 143:7           83:24 86:20           135:6 137:22
 focus 120:22              152:8,10,20,21        88:23 112:23          139:8 159:16
 focusing 31:25            152:22,23 153:5       118:14,16             174:20 185:20
 follow 28:17              155:18 156:23         125:16 156:9        girls 116:19,20
    103:24 165:3,18      foundations             173:2                 116:24,25
    182:2                  141:8 155:6         fundraiser 152:7      give 24:24 28:16
 followed 81:8           four 8:25 19:19         156:14                34:19 44:5
 following 75:19           27:17 41:25         fundraising             48:20 49:5
    180:11                 42:3 56:22            152:3                 57:10 67:9
 follows 4:13              65:13,13 178:6      funds 156:13            74:10 78:5
 football 75:7,11          179:2               funny 124:5             108:11 113:24
    75:12 76:17,17       fourth 57:4           further 34:7,19         115:9 132:10,12
 fop 183:25 184:7        frame 81:8              95:19 162:15          132:13 140:19
 force 28:20               126:18                189:10                148:24,25
 forced 148:7            fraternal 183:25               g              150:19 156:16
    149:21                 184:12                                      156:22 177:16
                                               game 131:18
 foregoing 189:6         friday 13:13                                  179:15,17
                                               gender 89:16,17
    189:8 192:5            16:25 17:6,12,14                            181:23
                                                 89:22 90:20,23
 forget 164:17             32:18 37:10                               given 12:17
                                                 91:4,8 107:5
 forgive 23:12             38:3                                        13:14 98:14
                                                 112:12 113:11
    26:20 40:4           friend 163:3                                  112:5 131:22
                                                 121:7 137:11
    41:11 177:3          friend's 55:17                                132:2 150:24
    184:5                                                              151:21 153:21
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS       Document 90-1     Filed 04/07/25    Page 67 of 93


[given - hand]                                                                 Page 17

   192:9              61:7,11 62:4              15:14 16:9 44:3     grounds 160:22
 gives 114:15         63:8 68:25                57:11 59:9 71:4     group 19:12,15
 giving 5:21          69:11 70:13               71:19 85:4            19:21 20:11
   14:22 16:7         71:12,19,20 72:8          96:13 103:5           22:4,4 23:4,14
   156:12 163:16      72:9 75:11,13             156:6 162:7           108:16 114:10
 gmail.com 190:2      80:8 81:21,23             172:25 181:20         118:19
 go 5:12 15:20        82:10,14 84:19          google 24:6,8         growth 87:22
   20:3 29:18         86:4 92:16 94:8         gotcha 48:16          guess 6:17 7:11
   30:25 35:17        94:24 100:9,16          gotten 25:17            28:2 59:11
   44:8,9,24 51:5,9   100:23 104:20             64:13 116:19,20       104:17 141:13
   52:24 53:9 59:3    106:22 109:20             141:23 152:11         173:13 182:12
   61:7 63:12         114:5 119:9             governing 54:8        guidance 20:24
   64:15 67:3,17,18   133:19 134:17           governs 63:18           21:14,18 22:7
   69:8 71:6,19       135:4,19 136:12           119:6                 23:16 25:3
   72:8 81:24         137:24 138:5            grade 184:3             79:11
   83:20 85:14        139:2 144:20            grand 130:8           guys 71:13
   88:15 95:13        151:21 155:24             133:13                182:12
   100:4 104:9        156:11 159:13           granted 42:10         gym 131:2
   106:25 117:10      162:22 164:23           great 12:17 17:7      gymnastics
   124:18 132:12      170:3,24 172:5,7          34:21                 116:18,21
   138:5,7 139:2,6    172:10 174:15           green 2:6 4:4,4                h
   140:7,11 143:23    175:11 176:11             5:6 20:3 44:3
                                                                    h 2:6 188:7
   147:11 148:9       180:16 185:23             45:10,16 89:23
                                                                     191:3
   149:3,4 150:15     185:25 186:16             94:8,19 95:4
                                                                    habit 108:7
   151:3,18 157:7     186:17                    106:16,21 109:9
                                                                    hailey 68:7,10
   159:12 165:6,15 golden 2:11 3:20             144:24 151:5
                                                                     68:16 69:4 74:8
   165:17 166:3,7     3:21 4:19,22              160:16 161:12
                                                                     98:14,16
   171:20,23          9:25 20:5 44:2,4          161:17 186:12
                                                                    half 180:6
   177:13 179:5       44:20,23 45:13            186:23 190:1
                                                                    halfway 147:25
   184:11 186:21      74:13 92:23             greg 11:16 12:15
                                                                    hampton 108:25
 goes 37:25           94:14,22 95:11            12:24 14:12,16
                                                                     109:9,10,11,15
   146:16 152:9       106:24 145:2              14:21,24 15:6,10
                                                                     109:18 110:6
 going 5:20,25        160:25 161:15             15:18,21,22 16:5
                                                                     112:5
   6:5 10:7 19:25     180:14 185:21             16:22 17:3
                                                                    hampton's
   26:9 27:9 29:18    186:14,24 187:3           181:5
                                                                     109:17
   38:4 40:5 44:5,6   188:5                   ground 5:12
                                                                    hand 46:19 61:3
   44:12 45:14      good 4:20,21                7:11 27:5
                                                                     61:4 108:9,20
   51:25 59:11,20     12:12 14:23
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
 Case 2:19-cv-04078-RBS    Document 90-1     Filed 04/07/25    Page 68 of 93


[hand - implement]                                                         Page 18

 109:16,17,18,22     harder 7:19          helps 153:7           hundred 75:16
 110:15 112:14       hardy 2:21 3:22      hereto 192:7          hurt 116:19,20
 119:18 122:22       harris 114:14        hereunto 189:14        117:2 141:23
 123:12 125:12         118:17             heroes 152:8,17        142:13
 127:13,22           hated 163:23           153:5,6,22                  i
 189:15              hats 31:23           hey 132:10
                                                                idea 98:19 186:3
handle 36:20         hatton 109:6           142:12
                                                                ident 188:8
 44:17 65:14         head 7:17 62:25      higher 28:18
                                                                identification
 71:18 107:8         headache 185:19      highest 147:10
                                                                  10:4 45:5 74:16
 166:12 173:12       headaches 19:6       highlands 22:4,4
                                                                  92:25 126:13
 175:2                 23:3               hired 129:16
                                                                  145:8 147:23
handled 116:4        headquarters         hispanic 107:5
                                                                  180:24
 157:22,23             124:3 139:4,9        108:18
                                                                identified 64:2
hands 108:17           144:10 156:21      hold 9:5 27:18
                                                                  93:8 99:6,7
 110:18,19           heads 14:23            70:12
                                                                  185:7
 127:24                15:14 16:8         holmesburg
                                                                identify 3:18
happen 61:11           176:7                20:16 21:8 22:6
                                                                  34:25 55:9
 151:21 162:22       health 17:24           23:13
                                                                  72:21 92:13
 175:24                18:7,9,11          homeless 131:10
                                                                  122:23 186:17
happened 16:22       hear 154:20          honest 62:23
                                                                identifying
 37:5 42:2 55:4        165:14,14            73:21 83:18
                                                                  125:8
 60:3 61:13,19       heard 31:6 34:21       185:18
                                                                identity 23:19
 73:24,24 74:5         46:9 76:4,10       hopefully 5:13
                                                                  94:20
 76:2,11 94:6          128:16 158:12        6:6
                                                                ike 44:2 186:11
 108:20 109:4          163:19 179:18      hopes 135:8
                                                                ikegreen66
 111:6 172:20        hearing 51:2         hospital 83:15
                                                                  190:2
 178:7               heart 84:9           hostile 79:18
                                                                immediate 49:19
happening 53:17      held 1:16 3:13         151:19 159:16
                                                                  162:19
 161:19                8:5,22,24 9:10       159:17,17
                                                                immediately
happens 135:8          10:25 12:8 26:5    hotel 70:9
                                                                  70:24 81:5
 175:9,10              26:10,15 27:12     hour 9:18 183:2
                                                                  84:12,21 129:2
happy 136:6,15         27:15 31:8,22        183:3,9,11
                                                                  129:21
 137:18,19             54:13 101:15       hourly 9:14,15
                                                                implement 43:18
harassed 151:20        151:10 182:22        9:16,23 183:22
                                                                  43:20 67:15
harassment           hello 75:19          hours 11:9 41:24
                                                                  92:21 97:12,14
 165:21              help 6:20 24:11        42:2,4
                                                                  97:15 118:12
hard 71:23,24          125:16 153:19      huge 118:2
                                                                  171:21,24
 125:3
                               Veritext Legal Solutions
             215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS    Document 90-1    Filed 04/07/25    Page 69 of 93


[implemented - interview]                                                  Page 19

 implemented         independently          86:4 96:10          insubordinate
   68:19 97:17,18      45:20                136:11 144:4          162:10
   98:18,23          indicated 189:7        148:15              insurance 17:24
 implementing        indication 94:12     informing 37:11         18:8,9
   92:16,16 173:15   indirectly 78:18       175:3               integrity 72:5
 implies 107:9       individual 37:15     infractions           intend 40:9
 important 64:11       55:19 56:4 59:5      163:10              intended 178:7
   86:24 91:12         144:11             initially 26:23       intent 177:14
   105:12 124:24     individual's 35:6      33:14 111:3         intention 102:2
 impose 50:19        individually         initiatives 32:19     interest 34:12
 inability 25:12       76:2                 43:16,23 46:7         135:10 152:2
 inadequate          individuals            49:25 141:4           156:4,10
   173:6               37:16 106:13       injuries 82:25        interested
 inappropriate         107:14,25          innuendos 124:5         189:13
   52:15               170:21 185:7       input 91:8            interference
 incident 39:11      inept 162:9          inquired 74:2           64:6 168:4
   52:2,4,8,9 55:6   inequality 78:22     inquiry 18:22         interfering
   58:11 87:6          113:20 117:21      insist 175:15           166:10
   92:13 95:23       infested 113:3       insisted 56:19        internal 93:11
   108:6             influence 64:8,8     insistence 91:5         93:14,17,20
 incidents 55:6      influenced           insomnia 23:23          148:13 159:21
   55:10 108:5         159:22 160:3         24:10                 159:23 160:13
   112:9 122:23        169:11             instance 103:11         163:5 167:12
   162:12 172:19     influencing            171:19                169:11,19
   185:8,11            159:20             instances 51:21         176:17
 included 80:6       inform 102:12          53:11 63:25         internally
   91:20               177:14,15            121:5 123:7           154:19 173:12
 includes 47:9       informal 35:19       instruct 94:24        interpretation
 including 108:6       35:23              instructed 58:13        127:3,18
   108:10 114:5      information            74:8 99:24          interpreted
   121:4               54:25 55:2           144:3                 144:22
 inclusive 124:23      56:18 57:17        instructing           interrupt 5:7,21
 income 25:21          125:14 136:11        163:25                6:6
   38:20               141:19             instruction           interrupted 79:2
 incorporation       informative            167:12              interview 35:19
   155:9               160:24             instructions 34:7       35:23 93:16
 increases 183:21    informed 33:15         34:19 40:24           94:4 148:14
                       39:14 74:8 86:3      43:11,13              169:25
                               Veritext Legal Solutions
             215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS     Document 90-1    Filed 04/07/25    Page 70 of 93


[interviewed - know]                                                        Page 20

 interviewed           involvement            18:12 19:2 56:5
                                                            kids 42:25 80:13
   93:23                 36:18 51:22          56:9 62:16 64:7 82:8,25 83:12,14
 interviews              149:16               64:14 78:24     83:19,19,21
   159:20              involves 38:10         79:17,20 88:22  84:10 85:2,6
 intimidate 63:9       involving 54:16        88:23 90:4      86:24 87:3 89:5
 intimidating            99:14 102:6          92:14 96:25     89:19 96:14
   59:21,22              108:5 133:13         97:8 113:17     105:25 111:16
 introduced            irish 142:4            117:15 138:11   112:19 114:9,10
   145:12 181:3        irving 85:22           183:24          115:17,22 116:9
 intuition 85:10         86:9 162:7         jobs 9:6 12:9     117:16,16,16,23
 invest 87:20            168:6,16             96:22 141:3     118:19,20
 investigation         isaac 2:6 4:4        joined 3:21 54:7  131:12,19
   93:17,19 135:22     isolate 133:23         62:20 87:8 92:2 141:22,24 142:5
   160:5,10,10           136:13 162:16      jointly 42:21,22  142:13,15,18,18
   161:13 163:5        isolated 140:25        54:15 79:21     154:6 155:2,16
   164:2,3,7 165:3       151:19 159:8       joke 65:25        155:21 172:2
   165:20 166:11       isolating 156:7      jokes 124:5     kind 5:15 17:23
   168:2,3 169:12      issac 190:1          joseph 2:15 4:3   21:5 25:12
 investigative         issue 39:13 71:6     josh 114:14       29:18 51:10
   164:19                83:9 89:25           118:17          64:4 78:6
 investigator            100:18,18          judgment 83:5     171:10
   164:15                172:16               85:5          knew 51:25
 invite 100:21         issues 19:14         jump 163:18       81:20 130:24
   101:5 125:13          36:20 52:20        june 33:24        135:3,4 162:2
 invited 91:20           53:3,16 90:14,19           k         182:18
   92:5 99:16,18         103:10 111:25                      knot 70:17
                                           k 17:20
   100:14 101:3          112:2 113:5,20                     know 5:24,25
                                           keep 119:8 131:8
   103:3 104:10          118:5 173:2,9                        6:13,18,20,21,23
                                             164:10
   106:3 109:13          175:13,20 185:4                      6:24 7:3,5 8:8
                                           keeping 64:10
   120:18 122:12                j                             8:23 9:10 10:6
                                             64:11
   122:13                                                     13:5 14:18
                       jeff 14:5,11,19     keith 162:25
 involved 35:10                                               16:14 19:14,16
                          14:20,25 15:6,10   169:15
   43:22 56:12                                                21:24 24:7 25:2
                          15:13,18 182:19 kept 87:21,23
   75:13 97:21                                                25:7,7,16 26:4
                       jeff's 14:6           159:16 165:16
   105:16 107:11                                              27:7,8,11,15
                       jittery 185:20      kevin 2:11 3:20
   133:12 144:18                                              31:3 34:2 35:10
                       job 6:4 8:5,18,19     4:22 5:6 81:8
   147:5,9,13                                                 44:22 45:25
                          9:11,22 11:17
   165:20                                                     48:14,14,15,24
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS      Document 90-1     Filed 04/07/25    Page 71 of 93


[know - line]                                                                 Page 21

  48:24 49:11           155:9,12,13          latino 120:3          lee's 158:5
  50:2,6,6,7 54:11      156:12,15,17,17      laugh 52:15           leeway 163:17
  56:25 58:7 59:2       156:24 157:4,14        123:25              left 5:17 8:18,19
  60:21 61:22           159:22 161:15        law 2:14 80:11           12:11 23:2
  62:7,9,11 66:12       162:23 164:17        lawsuit 81:12            24:13 60:12
  66:15,17,21,24        169:19 170:5,16      leadership 34:22         72:12 82:24
  69:2 71:10,21,22      170:17 171:8           54:14 71:23            113:2 129:2,5
  72:4,8 73:5,7         172:24 174:10        leads 16:16              130:4 178:8
  80:19 81:22,23        175:16 181:18        league 2:9 3:24          180:17
  84:7 86:21            182:10,12,21           30:21,24 33:18      leg 116:20
  89:24 91:22           183:19,22 184:4        34:5 45:25 50:4     legal 68:6 190:23
  94:5,6,18 95:4,8      184:5,22,25            50:8 55:25 56:2     lend 155:16
  99:13,20,23           185:3,6,24             67:8 129:21         lent 158:9
  100:15,17            knowing 85:5            132:2               letter 10:2,15
  101:24 102:21         142:10 174:17        learning 116:8           92:24 94:3,5,7
  104:23 105:4,8       knowledge 51:25       leave 18:12 25:6         94:14 95:9
  105:17,20,21          58:10 94:17            62:3 78:24             130:10 132:19
  106:25 111:4,24       122:16,19              79:17 85:5             150:20 181:9
  112:17,25             132:17 135:25          90:25 114:9,11         188:9,12
  113:24,25 115:3       141:11 149:16          114:18,20 121:7     letting 48:13
  116:8 117:7,21        160:11                 136:17 140:10          72:7
  118:2,17 120:5,6     known 34:12             140:14 145:6,16     level 147:11
  120:8 121:15,18       105:18 131:9           145:17,22,25        liability 58:2
  121:21,24            knows 164:20            146:25 147:3,15     lies 163:6
  128:22,25 129:4              l               147:18 148:8,16     lieutenant 27:3
  133:9,15 134:16                              149:17 150:16          27:21 29:3,6,14
                       l 2:11 4:10 127:3
  134:20,22                                    163:12 177:15          30:7,10,13 31:8
                         167:14
  135:11,12 136:6                              177:22 178:18          31:15,17,24 73:3
                       label 10:7
  136:20,24                                    179:16,17              73:6 82:11
                       labeled 44:7
  139:25 140:13                                181:20 188:14          86:17 120:9
                         45:18
  141:13,25                                  leaves 139:22            122:12 127:4
                       labor 131:2
  142:14 143:24                              leaving 97:21            169:20 180:7
                       latina 108:3
  144:17,19,22                                 165:18 185:9        lieutenant's 27:2
                         112:12,15
  147:5,8,12                                 led 78:23 79:17       light 24:14 25:11
                         113:12 119:20
  148:11 149:2,18                              81:12 90:10         line 17:4 18:22
                         121:6 122:25
  150:23 151:20                                131:7                  28:14 29:24
                         123:9,16 127:15
  151:22 152:25                              lee 67:13 81:9,10        30:4 141:10,16
                         128:4 137:4
  153:2 154:3                                  138:3 158:4,15         141:18 142:3,12
                                  Veritext Legal Solutions
                215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS     Document 90-1     Filed 04/07/25    Page 72 of 93


[line - medical]                                                             Page 22

    142:12,21,23       looking 55:3          113:14 119:16         126:18 128:18
    143:6 191:4,7,10     166:18 186:20       119:24                130:7 189:13
    191:13,16,19       looks 126:17         male 103:2            matters 43:12
 lines 171:13          loop 64:11            106:4 119:23,25       47:25 54:16
 linkedin 11:17          137:24              120:3,19 121:11       56:13 64:11
 list 57:2 60:17       lose 72:9 86:20       123:25 125:4,7        92:22 133:25
    63:15,15             156:9               129:5 170:8,10        135:19 140:12
 listed 127:14         lost 90:4             170:13               maureen 36:2
 listen 86:8           lot 24:15 31:22      males 105:15           69:14,14,23 71:9
 literally 58:17         41:25 43:10         106:4                 72:23 74:11
    61:4 108:16,19       79:12 83:24        man 55:14 57:8         76:6,11,21 77:2
    113:15 165:13        86:20 102:15        61:10 72:3            77:3,7 107:7
 little 5:14 40:5        112:3 137:21       manage 11:9,23         125:23 126:4
    58:7 116:25          141:2 151:2         11:24 48:7            127:9
    160:22,24            162:8              management 9:7        maureen's 75:19
 llc 2:3               lump 179:17           9:23 10:2 12:8       mean 5:7 7:17
 located 70:8,9        lunch 95:16           12:12 21:23           8:20 40:10,16
    80:19,23 130:18    lying 161:23          174:23 188:9          43:20 48:3 49:9
 location 15:7,20              m            manager 11:8,12        53:17 94:11,19
    130:18                                   81:9                  98:12 100:20
                       m 167:14
 logical 84:13                              manipulating           106:21 108:14
                       mail 176:15
 long 5:3 8:15,23                            164:3                 108:15 123:20
                       main 115:24
    9:10 27:4,11,15                         manner 185:13          137:7 145:22
                       maintain 154:24
    27:18 28:10                             manpower 169:3         150:7,14 161:12
                        184:22,23
    82:9 83:10                              maria 130:11           165:21 181:17
                       maintained
    88:15 121:15                            marked 10:3           means 59:6 63:9
                        184:25
    164:20 179:6                             45:4 73:16            106:19 107:2
                       maintenance
 longer 13:6 17:2                            74:15 92:24           177:4
                        85:13 139:2
    17:11                                    126:12 145:7         meant 80:8,10
                       makers 128:20
 look 10:8 55:23                             147:22 180:23         128:16 156:7
                        128:21
    73:18 75:17                             market 2:4             177:13
                       making 34:11
    117:11 127:2                             36:10                media 141:12
                        64:12 66:11
    135:9 138:5                             marriage 189:12       medical 18:15
                        79:14 89:17
    166:15                                  mask 82:4              18:19,22 19:12
                        91:12 92:6
 looked 56:3,14                             matches 116:7          19:14,15,21
                        99:12 101:14
    61:2 81:14                              matter 3:15 56:3       20:11,17 21:8,12
                        104:11 105:14
    112:24                                   87:14 109:3           21:22 22:3,4,6
                        105:16,24 107:8
                                             123:23 125:6          22:12 23:4,14
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS   Document 90-1     Filed 04/07/25    Page 73 of 93


[medical - money]                                                          Page 23

 24:14 25:6,16,16    105:21 106:4,15       70:22 71:8           mimicked 143:6
 83:11 145:22        108:15,22             76:19 92:17          mincey 2:3
 149:5 150:5,7,25    109:12,23,25          97:13 98:6,17,20     mind 44:17
medically            120:17 126:11         128:9,11 171:11       73:15,17 164:23
 149:25              127:6,8 128:8,10     memory 27:7           mine 61:3
medicare 25:15       133:16 176:8         memos 172:19          minorities
 25:20               177:20                173:7                 108:10
medication          meetings 64:12        men 71:18 80:5        minority 118:20
 21:23 23:24         75:10 79:13,14        121:2 125:3,10        118:23 119:2
 24:2                80:5 91:2,12,14       125:21               minute 180:16
medications          91:22 92:3 94:3      mentality 170:18      minutes 4:23
 23:20               99:7,8,9,10,13       mentioned 12:20       misconstrued
meet 35:22 37:9      99:16,21,23,25        17:8 36:11            69:2
 56:5,15 57:14       100:4,10,25           50:17 58:19          misleading 55:2
 70:6,7,7 74:23      101:2,7,14,20,21      59:20 103:21         misplacement
 75:6,12,20,24       102:8,16,25           119:21 123:17         139:10
 76:8,9 84:3,4       103:3,3 104:10        135:8 136:6,9        misplacing
 100:13 101:10       104:10,11,13,19       137:13 140:2          139:11
 101:16,23 102:3     105:8,9,13,17         144:17 158:9         misreporting
meeting 13:13        106:13 107:15         168:5 169:10          161:18,22
 35:24,25 36:6,14    108:3,24 109:4        182:6                mistreated 78:23
 37:2 60:23          110:3 111:14         mess 84:18            mold 81:5 82:5
 61:14 67:25         113:15 115:2         message 124:23         82:13,23 85:6
 68:2,8,20,21        118:5,7,9,9           125:25 126:4,8        87:21,22 113:4
 69:15,24 70:5       119:22 120:7,10       126:10 142:16        moment 43:4
 71:11 73:10,20      121:2,13,23,25       messaging 64:4         81:22 121:8
 74:12,12 75:6,11    122:2,8,13,17,22     met 4:22 13:2          185:16
 75:15,25 76:11      123:11 124:15         14:13 15:23          monday 13:5,12
 76:12,20,23,25      124:18 125:14         35:5 55:12            16:25 17:10
 77:2,7,10 88:7,9    127:12,20             70:11 73:18           32:18 37:13
 91:17,18,19,25     meets 58:14            75:24 76:16,16        38:3
 92:6,6 93:14,22    member 73:8,13         76:18                money 86:22,22
 93:22 98:15         152:17 153:23        meyer 2:8 3:21         87:20 114:15
 99:3,11,12,18      members 36:3          midatlantic            130:14,22
 100:7,9,13,17       54:13 88:12           190:15                131:20 132:11
 101:23 102:2,2      90:8 162:8           middle 127:2           132:12,13 133:3
 103:20,21,25       memorandum            mildew 81:5            138:18 152:8,11
 104:2,7 105:19      61:6 68:11,17,23      82:13,23 83:14        152:21,23
                               Veritext Legal Solutions
             215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS   Document 90-1     Filed 04/07/25    Page 74 of 93


[money - obtained]                                                         Page 24

  154:17,25          35:7,8 49:10,11      needs 125:16          normally 7:18
  156:16,22 174:7    55:20 62:22            139:12 168:25       notary 1:19 4:11
  174:9 178:19       72:13,21 129:3       negotiate 184:12       187:20 189:3
  179:12,22,23       146:14 152:25        neighbor 116:22        192:13,19
 month 100:12        153:3 184:6          neighborhood          note 25:8 150:17
  101:5 180:3      names 27:24              115:17 116:23        190:10
 monthly 91:16       36:3 112:17          neighbors 162:5       noted 187:11
  91:25 99:7,8       169:4                neither 86:3           192:7
  100:11 101:15    narcotics 31:19        never 11:6 51:24      notes 150:12
  101:23 122:2,9   narrow 95:3              52:6,19 80:5         189:9
 months 8:6,25     national 102:9           83:7 84:8 91:19     noticed 109:3
  9:12 19:18,19      105:10,22              91:20,20,21 92:2     110:11 112:18
  60:3 73:24 74:5    106:15,19 107:2        92:5 99:18          notify 146:17
 mopping 82:6        107:4 113:11           101:5 103:3         november 190:3
 morning 4:20,21   nature 80:12             107:21 119:12       number 73:16
  15:19              173:11 177:24          119:12 135:15        166:15
 motions 61:5      near 70:9 144:10         136:9 137:12        numerous
 mou 71:7 73:25    necessarily              140:9,10 157:8       155:14
  74:3               51:11                  157:18 181:10       nurse 21:3 25:2
 move 5:14 40:4    necessary 37:21          181:24 182:4                o
  140:18 152:22      62:12 192:6          new 18:2 19:11
                                                                o 4:10 189:2
 moved 26:17       need 6:25 7:4,20         19:25 22:10
                                                                o'hagan 2:8 3:21
  28:4               13:11 31:3 44:7        82:17 143:5
                                                                object 94:8
 multiple 27:24      48:15,17,19,20       news 142:2
                                                                  106:22
  82:21              113:6 115:6            143:5
                                                                objection 89:23
 multitude 54:3      138:7 139:7          night 15:18 19:4
                                                                  94:23 106:16
 mutual 58:19        150:17 169:5           24:11,16
                                                                  160:16,21
 myron 41:6          181:16 186:3,5,9     ninety 108:24
                                                                observations
         n           186:21               nod 7:17
                                                                  127:19
                   needed 13:6 17:3       non 159:3
 n 2:2 4:10,10,10                                               observe 110:25
                     17:11 31:22          nonprofit 45:19
  21:4 188:2                                                      111:2
                     32:21 35:22            45:21,22 46:7,15
  189:2                                                         observed 88:10
                     42:24 48:16            46:20 48:4 50:5
 name 3:3,20                                                      109:20 172:16
                     102:18 103:8           50:9 66:18 98:9
  4:15,22 12:21                                                 obtain 12:3
                     113:18 130:19          151:25 152:4,20
  14:6 16:11                                                      42:23
                     133:3 169:4            153:18 171:2
  20:12,22 21:2,25                                              obtained 10:13
                     171:11 175:24        nonprofits 66:19
  23:25 33:19,21
                     181:9,19               66:22
                               Veritext Legal Solutions
             215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS    Document 90-1     Filed 04/07/25    Page 75 of 93


[obviously - opinion]                                                       Page 25

 obviously 69:8         30:17 33:9,13,17     175:12 184:17         18:7,20 30:2
 occur 104:5            33:24 34:20        officer's 62:22         40:11 44:20
   157:11               35:11 36:24          141:19                45:16 55:11
 occurred 13:19         37:19 38:5,16,23   officers 31:19          61:12 69:19,22
   34:3 36:7 37:3       40:6,9,10,12,15      34:23 36:21,23        74:6 76:15 78:3
   60:2 76:13 87:7      40:20 41:8,13,21     38:12 39:8,12,14      94:22 107:12
   110:2 112:9          47:3 48:10           43:20 46:12,14        118:14 119:2
   123:15 140:21        50:21 51:4 52:5      47:6,12,14,22         124:6,25 135:23
 occurring              54:20 55:15,23       48:12,14,17           136:22 140:3
   100:15               56:14,19,23          50:11,20 53:20        166:21 168:12
 occurs 157:15          57:10,13,15,16       55:22 56:8,24         181:14 184:14
 october 1:12           57:19,20,21 58:3     60:14 63:18           185:17 187:3,6
   3:11 73:19           58:12,21,25 59:3     66:10 80:10         old 71:4
   74:19 75:3,23        59:22 60:6,10,19     85:3 96:23          once 129:5 130:4
   189:15               61:25 62:5,7         105:25 109:13         135:15 146:3
 offended 109:24        63:3 64:21 67:7      109:15 114:8          166:2
 offer 10:14            67:20 77:18,22       116:2,5 118:12      ones 85:7 119:11
 offered 72:11          81:25 82:2,3,15      124:18 131:14       open 85:5,23
   140:7                82:17 83:2,3         138:24 152:19         86:8 130:9,12,16
 office 37:11           84:6,15,25 85:16     170:5,23,25           130:20 131:8
   60:24 61:15          89:12 91:11          171:7,8,16            132:21 173:3
   68:3 69:13 70:6      96:19,21 97:2,3      172:20 173:18       opened 115:25
   76:8 77:25 78:4      97:7,9,20 103:4      173:22 174:14         130:23 131:21
   82:11 99:23          105:15 108:6,18      174:18 175:4,7        132:23,25
   100:24 103:25        108:18,25 109:6      175:16                162:20
   123:18 131:17        109:15,17,18,20    offices 165:9         opening 130:8
   133:22 136:5         110:6 112:5        official 50:25          132:3 133:14
   148:19 159:18        115:15 117:14        51:19 53:14         operate 80:20
   159:19 160:5,9       121:15,16,19,22      58:5 159:6            138:14
   161:20 162:15        122:16 124:12      officially 54:17      operated 153:22
   163:25 165:11        124:13 128:23        178:25              operating 168:9
   165:25,25            129:2 131:17,18    oh 7:20 18:20         operation 65:10
   166:25 169:17        132:18 138:4         22:19 138:4,25      operations 31:21
   176:21               139:17 141:18        146:12 156:18         43:2 65:8,16
 officer 26:14,19       141:20,20,25         156:21 160:2          173:6
   26:22,23 27:12       142:8,17,19          162:22 183:3        opinion 78:21
   27:25 28:7,12,13     157:5 158:2,24     okay 5:3 6:8,9          80:12 102:7
   28:23 29:22          163:2 168:14         7:9,23 10:9 12:2      127:11,14 128:4
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS        Document 90-1     Filed 04/07/25    Page 76 of 93


[opinion - pal]                                                                 Page 26

   138:20 154:14         outcome 189:13    166:20,22 188:3             62:2 63:19,25
   154:21 173:6          outdated 119:11   188:8 191:4,7,10            64:21 65:6,7,19
 opportunity             outlet 115:17     191:13,16,19                65:22 66:5,15,17
   115:9,11,13             116:9 137:25   paid 11:6 39:9               66:19 67:12,13
   165:24 167:2            138:7 139:7     39:15,16,20,21              68:13 70:2,7,20
 opposite 17:12          outline 68:11     42:3,4,7,12 50:2            71:19 73:14
 orally 166:24           outlook 100:21    50:7 66:13                  74:13,15 75:18
 order 6:2 48:19           101:5           157:18 173:23               77:15,18,22,23
   48:23 86:5            outside 81:8      173:24 174:20               78:11,13 79:5,8
   138:2 181:9,20          116:12,14 131:7 175:7 178:21                80:16,17 81:2,21
   183:25 184:12           166:12          180:8 182:3                 81:24 82:17
 ordered 68:10           overheard 15:3   paint 131:2                  83:17 86:10
   85:22 160:9             162:25 169:14   139:3,7                     87:8,19 88:8,24
   166:5                 oversee 65:6     painted 131:2                90:2,12,14,21
 ordering 103:12           129:24 135:7   painters 130:25              91:15 92:5,7,11
   165:17                  144:4,5 169:6,7painting 83:6                92:22,23,25 93:9
 orders 28:18              176:10          131:3                       94:11,20,21 95:5
   42:19,19 43:5         overseeing       pal 9:25 10:3                95:22 96:8,18
   48:11,21 91:24          129:20          30:18,19 33:9,13            97:7,22 98:9
   162:11 163:18         overtime 11:3,9   33:24 35:11,19              99:5,24 101:18
 organization              11:23,24 42:10  35:22,23 36:19              102:6,14 103:14
   45:19,23 46:16          42:12 174:6,13  37:5,12,14,22,25            105:12,23
   46:20 66:18             174:16 183:7,14 38:5,12,20 39:2             111:23 113:8
   116:12 117:18         overwhelmed       39:5,9,12 40:10             114:2,3,4,20
   142:3 152:4,12          169:8           40:13,16 41:2,24            115:24 116:13
   152:14 153:2,13       owed 12:13        42:24,25 43:2,12            116:13,16,16
   153:15,18             owned 87:19       43:25 44:2,7                117:5,5,6,8,11
   156:10                owners 131:8      45:4,15,18,19,22            117:12 118:25
 organizational                  p         46:4,6,11,12,15             121:16 122:7,11
   65:18,21 66:7                           47:2,24 48:7                122:25 124:3
                         p 2:2,2
 organized 45:20                           49:6,10,21 50:22            125:17 126:13
                         p.m. 187:11
 origin 102:9                              51:23 52:3,13               126:17,20,22,23
                         pa 3:14
   105:10,22                               53:6,12,15,15,18            128:2,14,18,23
                         pab 176:22,23
   106:15,19 107:2                         53:22 54:2,3,4,7            129:2,9,10,19
                           176:24 177:4
   107:4 113:11                            54:12,13,16,21              130:7,11 132:11
                         packet 177:16
 originally 64:20                          56:6 57:11,19,23            132:14,15,18,20
                         page 29:21 73:17
   132:6                                   58:3,13,15 60:4             134:7,9,13,25,25
                           75:2 147:25
                                           60:7,10 61:18               135:5,8,19
                                    Veritext Legal Solutions
                  215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS     Document 90-1     Filed 04/07/25    Page 77 of 93


[pal - personally]                                                           Page 27

  136:12,14           paperwork             patrol 28:13            189:5
  139:14 141:7,13      93:25 176:18           65:16,16 66:9       pension 179:10
  141:21,22           parachute 63:3        patterson 41:6,7        179:11,12,19,21
  142:25 144:3,4,5    parachuting             42:11,16,20 43:6      179:25 180:2
  144:8 145:8,13       59:5 63:21             58:12 64:22         people 7:18 36:4
  146:23 147:12       parade 142:4            65:5,21,24 68:5       52:16 59:20
  147:22 149:15       paragraph 45:18         87:15 95:21           111:8,11,11
  152:2,13 153:7,9     45:20 73:18            96:6 98:13            116:19 117:13
  153:11,12,14,16      74:18,21 166:22        129:24 136:11         124:12 131:10
  153:18,23,24        pardon 7:6              144:2 162:6           133:23 140:25
  154:6,9,10,11,17     88:23 96:5             165:6,12 168:21       160:5 170:14
  154:23 156:4,23     paroxetan 24:3          174:9 175:20,22       176:25
  156:25 157:18        24:4                 patterson's           people's 108:17
  157:24 158:23       paroxetine 23:22        165:11              percent 75:16
  159:3,6,10,13        24:4                 pay 11:2 38:8,11        108:24 116:24
  161:19,25           part 49:23 65:25        39:2,5 66:15,22     percentage
  163:22 168:10        73:8,8 86:6            66:23 77:19           184:13
  168:24 170:3,14      114:12 117:18          78:14 117:7         performance
  170:21,23            124:11 152:8           154:8 174:9           13:12 17:13
  171:20 172:6,23      161:25                 184:3,9,11,13,15    performed
  173:18 174:7,11     partial 178:19          184:19                141:12
  174:16,24           participated          paycheck 38:14        performing
  175:18,21 176:4      15:2                 paychecks 32:7          89:11
  176:10,11           participating           38:19               peripheral 81:15
  180:12,24 181:3      127:8                paying 39:12          permission 58:9
  182:11,17           particular 94:9         80:10 173:17        person 35:14
  184:18,18,25         160:19 161:14          174:6,13              84:14 95:25
  185:13 188:9,10     parties 171:11        payment 157:22          96:3 142:4
  188:11,12,13,14      186:10 189:11          157:23 174:2          146:10,12 150:9
  188:16,17           parts 65:14           payments 25:14          165:19 176:15
 pal's 155:9 171:2    pascucci 162:17         25:21 179:20          186:6
  173:5                168:7,17 169:16      penn 70:2,6,10        person's 108:20
 paley 171:20          170:8 172:15           72:16,16,25         personal 118:10
 pals 154:5           pascucci's              73:13 76:9            122:16 151:24
 paper 32:4 54:17      162:18               pennsylvania            152:20 155:18
  55:21 156:19        pat 67:14               1:2,11,20 2:5,10    personally
 papers 82:12,20      patched 83:6            2:16 3:10 4:12        110:25
                                              8:11 72:19
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS    Document 90-1     Filed 04/07/25    Page 78 of 93


[personnel - prazenica]                                                     Page 28

 personnel 51:17      pituitary 22:25       13:16 16:15          portion 132:15
   60:17 146:3,20     place 1:17 68:24      25:5 26:18,22,23     posed 71:21
   168:24 176:19        98:15 112:19        27:12,25 28:7,11     position 8:22 9:6
   177:14,18,21,23      119:11 129:5        28:13,20,22            9:13,14 10:25
   184:22,23 185:2      138:21 160:12       29:22 30:21,24         11:7,15 12:3
 pertained 91:13        166:4 171:12        31:15 32:9             18:13 24:13
 pertaining 92:7      placed 130:5          33:18 34:5             26:15 28:16
   173:10,10 176:4    places 16:16,19       36:21,23 38:11         30:17 31:13
 pertains 103:12      plaintiff 1:6,16      41:8,13 43:20          32:3 33:17 40:9
 philadelphia 1:3       2:4 4:5 73:18       45:24 46:4,10,19       60:23 130:5
   1:8,11 2:5,10,14     74:23               47:6,11,13,22          135:16 143:19
   2:14,16 3:14,16    plan 43:15            48:10,17 50:4,8        143:20,22 144:8
   4:2 8:20 12:10       174:17 179:10       50:20 51:4,17          182:22
   13:2,16,21 20:2    planning 91:7         53:20 55:14,24       positions 12:8
   25:5,25 26:7,9       97:20 156:20        55:25 59:6             26:5 36:16
   26:13,18 32:8,9      179:4,5             63:18 67:7,22          71:23,25
   32:11 33:18        plans 17:20           73:3,13 97:3         possible 142:15
   38:9,17 39:19      play 114:7            98:8 129:20            157:21
   45:24 46:4           116:21              132:2,8,11           post 140:4 143:9
   50:19 66:14        please 3:18 4:15      141:10 144:10          143:18
   73:3 81:13 98:8      6:12                152:18 171:9         posttraumatic
   190:4 191:1        ploy 70:18            174:2,4,14,15          150:2
   192:1              plus 87:3             175:6 177:5,14       power 139:5
 philmont 20:24       point 6:25 7:20       177:18,23 184:2      practice 21:25
   21:14,18 22:6        57:25 58:23         184:12                 116:22 141:24
   23:16 25:3           59:10,14,23        policies 80:9         practices 113:21
   150:10,19            64:24 68:16,22      97:14 115:6          practitioner
 phone 15:6 34:2        70:17 71:9,21       119:10                 21:3 25:3
   59:25 69:16          81:20 84:2 85:9    policy 50:13,16       praise 13:14
   96:3 181:15          88:15 89:14         59:4,7 67:14,15      praises 57:10
 phrase 136:17          94:13 125:20        67:22,22,24 68:9     prazenica 35:25
 phrasing 117:2         149:23 159:17       68:12,14 97:17         49:3 54:24 61:5
 physically 149:4       164:5               98:17 114:21,24        68:4,18 71:2
 pick 140:6,8         points 56:7,8,16      115:3,6 119:6          74:7 79:9,15
 picking 116:16         62:12 74:18         146:2,21 165:7         91:16 98:12,12
 pictures 82:21       police 2:9 3:23       173:17                 101:15,21 102:4
 piece 55:20            11:10,18,23        poor 159:10             108:5,7,22
                        12:14,22,25         183:8                  110:14 111:12
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS    Document 90-1     Filed 04/07/25    Page 79 of 93


[prazenica - put]                                                           Page 29

   111:19 113:9      prior 16:25           professional          proposed 126:22
   118:8 119:17        19:15,25 20:11        1:18 84:17          props 17:7
   122:6,20 123:19     25:24 34:4 74:5       116:6               protected 163:10
   123:21 132:24       75:25 94:6          profit 17:20          protocol 63:17
   135:3               130:13 132:4,16     program 114:2         provide 17:23
 prazenica's           132:17 134:24         114:16 116:14       provided 21:18
   60:24 61:15         163:22 165:4          116:15,24 117:4       24:20 25:8
 predominantly       priorities 138:20       117:5,5,9 132:9       158:23 167:16
   114:3,6 116:22    prioritize 112:25       142:9 143:6,6         178:14
   116:23 118:25     prison 26:13            171:21 179:14       providers 22:8
 prefer 114:7        private 80:4            179:14                150:7
 preferential          106:13              programming           providing
   112:18            probably 62:24          43:16 102:5           117:23
 prepare 14:17         73:21               programs 42:24        provisions 155:8
   16:8              probationary            49:15,25 69:21      psychiatrist
 presence 98:11        18:5                  69:25,25 70:3,12      23:10
 present 2:20        problem 51:3,8          71:12 112:22        psychiatrists
   60:25 84:21         52:11 69:19           113:25,25             23:15
   102:15 103:4        83:22 87:21           117:12,22           pto 178:11
 presenting 68:14      155:24,25             118:13 119:7        ptsd 19:2,10,13
 president 58:17       172:14                125:15 126:11         19:23 20:14
   58:24 59:10       problems 81:11          154:18,25             21:9,23 22:21,23
   64:9                82:23 83:8,11,17      171:24,24             23:6,22 90:10
 pressure 87:25        90:10 118:3           173:11                149:2
   88:4                122:10 134:20       projection 169:3      public 1:19 4:12
 pretense 70:4         144:21 151:2        promoted 29:13          72:24 141:11
   71:11 126:10        170:4,6,14,15         31:14 60:22           187:20 189:4
 pretty 72:20          172:17,18             61:20 65:4            192:19
 prevent 6:2           175:17 176:4          129:16              purpose 130:14
   18:23 22:18,22      185:6               propelled 115:24        131:23 132:3
   154:12 155:10     proceeded 71:15       proper 20:20,21         153:10 154:5
 prevents 19:4       process 50:20           168:3               purposes 5:8
 previous 14:13        55:21 59:3          properly 19:4           30:20 46:21
   103:18 120:6        147:13 175:4,5        58:3 87:17          pursuant 39:22
 previously            177:12,19             113:17,18 162:9     purview 65:7
   110:16            produced 126:16         175:7                 116:13
 primary 21:21       productive            proposal 116:3        put 10:7 25:3
   96:22               160:20                                      70:24 71:17
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS     Document 90-1     Filed 04/07/25    Page 80 of 93


[put - received]                                                             Page 30

   79:18 82:15,17    54:18 71:22              152:7,17,24         reasons 18:16,19
   100:19,22 112:3   77:16 94:9 95:3          153:23 156:18         18:22 58:24
   129:6 137:23      107:12 113:6             175:14                80:3 90:4 131:9
   138:9 154:17      120:22 123:3,4         race 177:7            reassigned 34:5
   181:16 185:21     135:24 153:24          racial 124:4            85:20
         q           160:19 161:5           raised 102:25         reassigning
                     183:8                    152:23                141:3
 qualifications
                   questions 6:10           ran 116:5 117:11      recall 5:5 9:3,8
  55:24 56:6,15
                     21:6 32:2 36:5           117:12,13             9:16 14:7 16:10
  57:14 58:14
                     36:12 44:13              153:22                16:17,19 33:21
  62:12,15,18
                     45:15 46:22            rank 26:22              35:6,8 36:3,6,9
 qualified 18:2
                     92:9 94:25               28:18 39:22           37:2 51:21
  57:2 60:18
                     95:12                    106:9 111:9,15        53:11 59:25
 qualify 63:16
                   quicker 40:5               184:9                 61:19 72:15
 qualli 36:2 42:22
                   quickly 37:6             ranks 179:5             76:23 77:9 93:9
  48:5,9 50:10,18
                   quinones 130:11          rate 9:17 39:20         93:13 109:23,25
  52:22 53:19
                   quite 6:19 7:2             175:8 183:22          115:12 121:20
  54:25 67:13
                     27:9 55:17               184:13,15             128:2 129:3
  68:4 69:13,16
                     62:23                  rbs 1:3                 145:24 146:9,11
  70:20 71:2,16
                   quote 63:3               read 5:10 44:16         150:11,12 167:2
  76:20 77:24
                     136:14                   44:18,22 161:2        173:5 175:19
  79:10,10 84:4,21
                            r                 190:9 192:5           185:8,12,15
  84:21,24 86:14
                                            reading 97:25         receipt 190:18
  88:2,13 91:23    r 2:2 4:10 21:4
                                            real 139:12           receive 11:5 17:9
  97:13 98:13        167:14 189:2
                                            realized 70:18          38:8,19,24 42:19
  99:22 101:9        191:3,3
                                            really 62:14            156:13 173:13
  111:18 115:25    rabena 35:25
                                              68:22 70:15,22        178:2,5 179:7,10
  118:8 123:20       49:4 54:24
                                              83:7 84:17            180:12 183:13
  130:21 132:23      55:11,12 56:18
                                              162:7 185:19          183:16,18,21
  134:15 138:25      56:20 57:7
                                            reamed 133:18         received 10:3
  155:13 158:15      58:20,21 61:8,9
                                            reask 6:14              11:2 15:21 17:2
  159:18 170:4       63:2 68:3,18
                                            reason 7:4,5            20:25 33:14
  175:3,14           71:2 79:9,15
                                              60:21 80:15           37:6,10 38:14
 qualli's 87:18      98:12 101:16,24
                                              125:18 128:13         45:4 57:5 58:16
 question 5:23,24    102:4 103:23
                                              148:5 156:5           65:23 69:12
  5:25 6:12,18 7:5   111:18 122:20
                                              190:11 191:6,9        74:14,19 92:24
  7:7,8 8:9 28:3     123:19,22 126:2
                                              191:12,15,18,21       126:12 130:12
  45:11 49:16        135:2,2 139:15
                                                                    136:10 145:7
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS      Document 90-1   Filed 04/07/25    Page 81 of 93


[received - reported]                                                       Page 31

   147:21 178:5           61:6 130:7,7        162:4              removed 130:2
   179:13 180:23          132:20            relaxed 70:14          133:7 134:13,14
   181:10,24            referenced 190:6    relay 16:2,4           136:2,4,8,10,19
 receives 152:22        referred 20:20      relayed 15:10          137:2 139:24
 receiving 42:18          20:23,24 21:12      56:17                143:23,25
   179:24                 21:13 52:8        relaying 126:2       reopen 82:8
 recipient 152:10         132:12,14         release 181:9          85:22 87:24,25
 recognize 145:13       referring 30:20     released 69:6          88:4 91:7
 recollection 33:7        48:5 73:20        relevancy            reopening 91:6
   157:17                 101:12 120:15       160:21             repairs 130:19
 recommend                127:4 153:21      relocated 131:15       130:22 132:24
   139:21,22 151:3        155:25 165:15     relying 35:2         repeat 123:2
 recommendati...        reflect 7:19        remain 86:6          rephrase 6:13
   34:17 143:13,16      reframe 53:24         87:16                29:15
 recommended              113:6             remainder 27:22      replace 142:7,18
   25:4                 refuse 127:21       remained 88:16         144:12 168:17
 recommending           refused 79:21       remaining 186:9      replaced 129:23
   139:24               regular 23:24       remalia 21:21,24       134:8,10
 record 3:3,6,19          102:16              22:3,7 23:16       replacement
   4:16,23 5:9 7:19     reimbursement       remarks 52:14          25:22
   10:13 20:4,7,10        157:7,9             52:15 170:16       replacing 171:3
   30:20 44:10,24       reiterate 56:21     remedial 53:2,10     report 28:2,12
   45:2,9 93:4,7        rejection 149:16      53:12,14 162:13      28:14 29:2,10,14
   94:23 95:13,15       relate 32:2           166:3                36:24 37:12,12
   95:18 145:4,11       related 15:2 19:2   remedy 82:22           40:20 41:5 43:7
   151:5,8,9,12           19:14 55:15,16    remember 14:11         43:10 47:15,19
   177:3 180:19,22        90:10,23 91:8       16:18 23:25          47:23 49:13,24
   185:22                 126:17 159:3        26:11 27:9           165:7,12,19,23
 records 24:20            189:11              33:19 36:14          171:8,16,17,18
   25:4 150:23          relates 19:23         62:22,24 72:21     reported 28:5,8
 recourse 165:18          20:14 40:6          73:22,23 77:6        29:11 30:16,18
 recruited 11:16          53:12 88:17         110:4 144:19         30:25 33:5
 rectify 124:9            112:7 168:23        146:14 157:16        48:25 49:2,6,18
 reduce 78:14           relating 90:2,19      176:15,19            51:12 52:25
 reduced 77:18          relation 55:18        182:22,23            53:9 54:5 58:11
 refer 40:8             relationship        remotely 186:4         59:24 83:2 90:7
 reference 47:25          54:9 55:18        remove 135:13          95:23 108:6
   48:22 52:2,14          68:13 151:24        139:16 143:9,17      110:23,23
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS    Document 90-1     Filed 04/07/25    Page 82 of 93


[reported - room]                                                           Page 32

   111:22 135:22      requests 42:10       result 79:2 92:20       149:4 161:17
   162:11 176:5         115:16               142:6                 166:19 173:23
 reporter 1:19        required 48:12       results 64:16           185:18 186:23
   4:7,14 5:18 7:12     56:7 192:13        retained 3:5            186:25
   10:7 46:3 101:8    reservation 7:6      retarded 124:13       rizzo 114:2,2,4
   120:11             reserve 5:9          retire 177:13         role 28:22,25
 reporter's 6:4       reside 8:10,13         179:15                29:9 30:9 31:8
 reporting 28:4       resign 18:15         retired 178:4           31:24 32:12
   29:5,23 30:3,6,9     140:4              retirement 148:6        33:23 34:9,11,12
   30:13 31:16        resigning 181:18       148:7 149:22          34:20,24 38:23
   42:17 64:21,25     resolve 54:15          176:25 177:19         40:7,19 54:20
   82:12 103:18       resolved 88:6          177:24 178:3        roles 31:8
   104:14,16            137:20,22            180:11              ron 35:25 49:4
 represent 3:23         159:14             return 25:5             54:24 55:6,11,12
   68:15 128:15       resources 42:23        149:23 150:8,13       56:18,20 57:7
 representative         141:4,7              150:21 151:14         58:19,21 60:6
   112:16             respect 52:25          190:13,17             61:8,9 63:2 64:2
 reprimand              106:7,8,9 111:9    returning 128:7         64:5 66:25 68:3
   50:11 77:23          111:15,16          review 12:17            68:18 71:2 79:9
 reprimanded          respectful 18:21       67:23 98:2,15,16      79:15 98:11,12
   54:23              respiratory            146:3 157:6           101:15,21,24
 request 60:16          83:10                190:7                 102:4 103:23
   63:14 75:20        respond 160:18       richard 33:10           104:20 111:18
   124:17 131:17      responded 182:4        59:13                 111:24 120:15
   145:6,16,25        responds 126:23      rid 129:9 140:24        122:6,20 123:19
   146:25 147:2,21    responses 7:16       riding 128:12           123:21 125:5
   148:21 149:17        7:23               right 3:2 5:10          126:2,7 128:2
   171:9 173:13       responsibilities       7:25 22:13            131:24 132:24
   176:13 181:8         54:14 88:23          27:10 28:22           134:15 135:2,2
   188:15,16            158:6                30:12 32:2 41:9       135:25 136:19
 requested 65:6       responsibility         43:7 44:23 63:8       139:15,15 140:9
   75:15 129:20         85:2                 69:5 70:12,14         152:7,16,24
   131:14 144:4       responsible 33:8       71:10 72:22           153:23 156:18
   148:9 168:19         51:15 92:18          73:25 74:10           175:14
 requesting 57:16       105:24,24,25         83:25 89:20         room 31:21 36:4
   129:22 135:7         106:2 142:25         90:13 107:19          54:12 61:2
   148:5              restaurant 70:8        119:8 123:10          108:8 109:21
                        72:14                134:11 148:16         110:7,8,10,20
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS    Document 90-1     Filed 04/07/25    Page 83 of 93


[room - sergeant]                                                           Page 33

   125:10 131:19              s            83:18 94:10           selected 31:17
 ross 2:3 30:23       s 2:2 120:13         126:20 127:3,4          33:16 34:24
   33:10,12,16 34:6     188:7 191:3        144:20 150:17           129:4 143:21
   34:15 35:9,18      safe 85:2,3,4        166:24                selecting 156:13
   37:8 40:21,25        88:24 89:5       scale 184:10            self 97:5
   41:10,17 42:15       130:23 138:12    schedule 9:19           send 16:15 58:8
   42:21 43:6           174:22             32:21 33:2              125:20 142:16
   59:13,17 97:12     safely 138:14,17     41:21,24 74:22          146:3 181:12
   98:2,3,18,21       safety 72:24         175:15                sending 64:12
   128:11 129:4,22      86:24 96:14,22   scheduled                 124:22
   129:25 130:4         97:4 106:2         100:10 186:21         sense 6:15 75:9
   140:17 143:11        111:23 112:2     schedules 186:8           139:13
   143:17,20            131:8            scheduling 23:8         sent 74:22 126:4
 ross's 37:23         sake 28:7            23:9                    126:8 130:10
 rule 7:11            salary 9:14,23     scholarship               132:19 181:4,6,7
 rules 5:13 27:6        9:24 10:22,23      152:18 153:6            182:13 190:14
   59:8 114:12          11:4 17:19 50:3 school 83:20             sentence 136:13
 run 42:25 71:16        50:7 66:13,16,23 scolded 88:13           separate 45:22
   72:3 81:7            173:23 175:8     second 20:4               75:10 147:21
   116:15 125:15        180:6 182:23       75:22 80:25             176:14 177:10
   125:21 153:6,8       184:11             92:4 136:18             188:16
   155:6              saw 21:2 56:20       151:6 169:5           separately 75:15
 running 65:14          81:14,16 85:7    secure 11:17              126:16
   130:18,19            93:11 94:3         131:16                separation 148:5
   171:25               112:14 142:10    secured 17:8              176:18
 runs 116:12            157:8,18 165:8   security 25:13          sephora 8:7,23
   128:18,18          saying 5:19,20     see 5:17 23:9             9:6,13 12:7
   152:17 153:7         24:24 37:21        55:23 74:17             18:14 24:13
 rush 36:2 69:14        53:8 91:5 113:7    75:23 88:10           sequencing
   69:14,23 71:9        120:24 124:4,14    127:23 173:9            76:25
   72:23 73:19,20       129:18,19 139:7    176:24 180:17         sergeant 27:2,19
   74:11,21,24 76:2     150:20 152:13    seeing 21:21              28:15 29:4,11,23
   76:6,21 77:2,4,7     152:16 154:4,23    150:9                   29:25 30:4,9
   107:7 125:23         161:7 165:13     seek 22:8 83:11           33:15,20 34:3
   126:4 127:9          170:19           seen 93:10 119:6          37:7 48:13
 russell 19:12,15     says 10:22 59:12     128:16                  85:21,22 86:17
   19:21 20:11          65:24 73:18      sees 164:17,18            162:5,6,7,16,18
   22:12 23:4,14        74:21 75:18        164:20                  162:21,25 163:9
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS    Document 90-1     Filed 04/07/25    Page 84 of 93


[sergeant - sought]                                                         Page 34

   163:10,11,16,23    setup 164:18         shut 83:23 84:12      site 117:10
   163:24 168:6,6,6   seven 26:18            85:9,24 86:19       situation 4:24
   168:16,16,17,20      27:13 65:13          87:16 117:24          53:4,5,7 67:11
   168:22 169:14      seventeen 9:18         165:17                84:9 95:24
   169:15,24 170:7    severe 22:23         sic 24:3 28:10          133:13 163:4
   170:7,8 172:15     shake 7:16             100:17 109:6          175:2
 sergeant's 26:25       108:17,19            180:15              situations
   160:3                109:17 110:14      sick 56:11 81:5         137:23
 sergeants 47:8         110:18,19            81:22 178:17        six 9:12 27:13
   47:10,12,15,18       123:12 125:12      side 55:3 109:21      skill 116:8
   47:21 48:18,20       127:13,21,23         156:5,11 169:6,8    skipped 27:6
   84:3,20 86:3,10    shaking 108:9        sidebar 102:20          110:19
   86:14 133:21         109:21 110:19        103:9 104:20        skipping 108:9
   159:19 161:3,24      112:14 119:18      sidebars 103:22       sleep 19:3 24:11
   162:9,14 168:9       122:22               105:5                 24:16 131:11
   168:14 169:5,13    shame 88:14          sided 97:19,24        small 22:25
 serious 163:14       share 102:21,22        98:4                smell 83:14
 seriously 163:16       174:13             sides 69:10           smelled 81:4
   171:9              sharing 17:20        siding 133:24         smoothly 5:14
 serve 124:24         sharon 2:17 3:25       151:23 152:5        sneak 131:10
   128:15               186:14,24          sign 5:10 54:7        social 25:13
 served 112:17        sheet 190:11           67:24 93:25         solidify 68:13
   113:19             shift 32:14,17         176:16 177:2        solutions 190:23
 service 113:18         41:21                179:13 190:12       somebody 58:9
 services 65:18       shifts 32:15         signaling 81:18       son 55:17
   65:21 66:8         shook 61:3           signature 145:14      soon 60:12,25
 serving 38:22          109:15               147:24 189:17         61:18 67:12
 set 9:19 23:11       short 44:15          signed 176:19,24        84:7 140:22
   33:2 41:21,23        168:5                178:25 190:20         165:10 169:16
   69:15 74:11,12     shorthand 1:18       signing 67:21         sorry 18:17
   76:6 176:8         shortly 87:8         similar 109:7           22:15,19 23:14
   184:15,19 186:8      133:10             simplicity 28:6         24:23 29:17
   189:15             show 71:16 72:3      simply 40:14            50:17 54:18
 sets 183:19            82:10 92:17          175:3                 64:19 117:12
 setting 85:17,18       98:7 115:5         sinclair 2:20 3:4       147:2 160:2
   165:11 177:20      showed 86:16         sit 71:16 72:3          172:22 183:8
   177:21               88:8 106:6           107:9 175:25        sought 23:17
                        107:18 119:12        176:9
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS    Document 90-1     Filed 04/07/25    Page 85 of 93


[sound - sullivan]                                                          Page 35

 sound 15:14           144:2,14 148:14       96:11 101:9         structured 49:7
   16:8 147:16         155:22 164:5          103:13 108:13       struggle 139:5
   186:15              182:7,10,19           109:19 128:13       stuff 62:4 117:7
 sounds 44:3         spoken 15:22,23         148:4 151:17          160:6 163:13
 southwest 57:19       69:14                 169:21                165:5
 sparking 137:25     spores 85:6           statement             subject 126:18
   138:8,25,25       sport 116:21            103:14 107:8          135:21
 speak 52:2          sports 115:24         states 1:2 3:8        submit 34:8
   125:11,12 130:6   squad 31:18             115:4                 145:20 146:2,9
   133:12 140:25     stack 82:12,20        stating 141:22          146:22 157:8
   144:16 160:6      staff 31:20 47:24     status 148:10,17      submitted 42:10
   162:17 166:5,6      48:2 52:20            149:24                109:6 115:15
 speaking 7:22         54:13 96:14         stay 81:6 125:21        116:2 145:24
   94:23 110:22        124:4 170:16,21       133:17,20,23          146:8,9,11,20
   134:19 135:3,18     171:3,4,5,6,19        144:16,21 152:6       172:19,22 173:7
   135:20 137:14     standing 12:12          162:17 169:21         176:13
 special 56:8          86:5 110:13           179:5               submitting
 specific 44:12        123:20,22 156:6     stayed 144:20           173:5
   53:6 55:5 67:10     181:20                178:6               subscribed
   77:16 92:9 95:3   start 10:18           stenographic            187:16 192:14
   120:21 124:17       141:10 174:13         189:9               subsequent
   150:12 160:17     started 5:12          step 8:8 10:13          99:21
   160:23 161:10       19:16 20:15         stole 142:6           sudden 135:21
 specifically          21:20 23:8 26:6     stomach 70:18           163:23
   36:13,19 69:24      129:21 142:2        stop 185:23,25        suggest 60:16
   79:7 95:5 115:4     143:5               stopped 83:13         suite 2:5,10
   121:4 136:19      starting 59:12          141:21              sullivan 2:15 4:3
   161:9 181:8,13      145:17              story 55:3              60:20,22,25
 spend 130:21        state 1:19 4:12       strange 163:20          64:16,19 65:2,4
   131:20 133:2        4:15 8:10,13        street 1:11 2:4,9       65:22 66:4,6,13
   138:18              12:24 24:21           2:15 3:14             108:8 123:18
 spent 103:14,16       114:10,11,18,20       115:19 169:6          129:16,19 130:6
 spoke 12:16           114:22 115:14       streets 31:21           133:6 134:12,18
   13:22 15:18         117:17 119:7        stress 19:3 90:10       134:23,24 135:4
   34:18 37:8          189:4               structure 28:4          135:9,13,16
   53:15 86:18       stated 14:12            43:9 47:17            136:2,3,12,14,18
   125:10 133:15       35:20 57:6,22         51:14 67:16           140:2,5,6,12,14
   140:5,16 141:15     77:8 86:22                                  140:15,21
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS     Document 90-1     Filed 04/07/25    Page 86 of 93


[sullivan - ted]                                                             Page 36

   141:15,17 142:2    supervisors 28:6      symptoms 20:16       122:9 133:19,24
   142:2,10,19          34:18 35:2            20:17              158:12 163:3
   143:5,8,15,22,24   supplies 85:18        system 26:13         169:21
   144:3,5,11 146:7   support 66:19         systemic 102:13    talked 24:20
   147:7 151:22       supported 87:2                t            88:2 123:10
   152:21 153:9       supports 66:17                             130:24 172:21
                                            t 4:10 127:3
   154:7,13 155:17    supposed 11:5                              185:5,10
                                              188:7 189:2,2
   156:2,23 158:10      23:7,9 28:17                           talking 6:3,7
                                              191:3,3
   158:17 159:8,24      39:21 42:22                              54:12 71:7
                                            table 80:11
   159:25 160:2         48:6 57:24 69:6                          104:25 111:12
                                              173:18 174:21
   162:13 163:7         69:6 79:22                               111:14 125:9
                                            take 7:2,3,9
   165:4,7,8,12,16      85:14,20 125:15                          128:20 134:20
                                              23:24 24:21
   165:17,24 166:5      142:24 153:20                            162:25 165:13
                                              25:6 44:15,21,22
   166:10 167:24        171:13 173:19                            172:3,11
                                              44:24 51:10
   169:10 176:2,9       174:19 175:11                          talks 45:18
                                              53:14 65:22
   176:10 177:16      sure 5:15 6:5                            tangible 78:6
                                              66:2 78:13
 sullivan's 65:17       7:15,22 20:5                           target 93:17
                                              117:16,18
   129:8 151:25         23:13 29:18,20                           163:5
                                              119:18 124:9
   152:10,15,20         35:17 39:24                            targeted 124:21
                                              129:5 136:12
   153:2 155:11         55:17 68:24                            teach 142:13,17
                                              141:2 144:25
   156:22,24            72:20 75:16                              142:18
                                              146:12 150:18
   161:20               85:11 97:4                             teaching 142:5
                                              163:8,15 166:4
 sum 179:17             100:12 123:5                             142:14
                                              171:9,24 174:9
 summarize              143:4 144:14                           team 31:19,20
                                              180:15
   175:23               145:2 149:9                              75:6,13,21 76:12
                                            taken 1:17 20:8
 sunny 67:13            157:16 160:25                            76:16 85:13
                                              45:7 53:2,10
   81:9,10 138:3        175:25 176:25                            90:22 114:4,17
                                              63:25 77:14
   158:4,5,15,16      surprise 17:10                             114:21 115:13
                                              83:15 92:11
 superior 60:19         143:2 160:12                             117:18 118:23
                                              93:5 95:16 99:5
 supervise 162:10     suspend 78:5,11                            119:3
                                              137:23 145:5
 supervising          swear 4:8                                tear 154:16
                                              180:20
   51:15              switch 32:21                               158:8
                                            takeover 171:2
 supervisor 28:9      switched 19:11                           technical 31:20
                                            talk 17:4 58:20
   28:14 29:24          19:19                                  technically
                                              69:20 70:11,13
   30:5 48:11         sworn 4:11                                 41:12
                                              70:15 71:5,12,13
   49:14,19 146:4       48:10 51:17                            ted 35:25 42:22
                                              81:10 102:17
   162:19               187:16 189:7                             43:4 48:5,8,9,12
                                              109:13 111:24
                        192:14                                   48:16,25 49:2,6
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS     Document 90-1     Filed 04/07/25    Page 87 of 93


[ted - time]                                                                 Page 37

   49:8,13,14,18,19   ted's 51:22,25        terms 21:23             160:7 161:19,21
   50:2,18,24,25        139:6                 36:16 42:18           162:22,24
   51:3,9,14 52:10    tell 8:2 11:14          43:11 47:2,14         173:11,15,16
   52:11,15,24 53:9     14:4,10,19,19,20      49:24 60:13           175:2 176:5
   54:2,13,21,25        16:21 18:14           89:8 97:10            177:23
   67:13,18 68:4        20:12 22:14           111:25 112:15       think 8:25 11:21
   69:12,15 70:20       26:4,6 27:7 28:7      117:22 185:4          29:19 32:14
   71:2,16 76:20        28:11 36:11,13      test 27:7               37:6 47:11 51:2
   77:24 78:3 79:9      37:17 43:13         testified 4:13          62:17 76:22
   79:10,24 80:7        52:16 69:13         testifying 110:21       81:12 92:11
   81:14,16 84:4,20     71:15 78:16         testimony 100:2         93:24 124:5
   84:21,24 85:23       79:7 81:17,18         104:12 108:21         149:9 150:22
   86:7,12,14 87:18     96:4 98:3,22          118:22 127:21         160:19 178:9,15
   88:2,13 90:22        99:24 100:16          129:15 159:20       third 81:21
   91:17,22 97:13       106:14 107:15         159:23 160:3,14       164:3 165:8
   98:13 99:22          108:2 112:7,9         161:4,6 190:9,18      168:19,21
   100:2,4,16,17        118:11 124:3,6        192:8               thought 20:19
   101:7,9 102:14       125:21 126:3,7      thank 18:20             98:22 155:23
   102:25 103:24        135:13 136:18         40:18 172:9           168:12
   104:19 111:3,5       137:3,10 142:19       177:8 187:5,6       thousand 178:20
   111:18 114:19        161:21 169:13       therapists 19:9       threat 59:19
   114:23 115:25        171:19 173:4          20:13               threaten 64:9
   118:8 120:15         177:11              thing 13:5 44:8       threatened
   121:25 122:5,9     telling 14:17           80:17 112:13          58:18
   123:20 125:5         81:16,18 87:2         115:18 116:18       three 19:19
   126:7,9,22 127:7     107:7 119:9           141:25 158:12         27:20 32:15
   128:2,8 130:21       133:22 140:25         178:19 182:18         80:21 82:14,21
   131:25 132:23        160:5 162:16        things 6:24 27:8        91:19 93:24
   134:15 135:2,25      169:18                31:2,3 34:21          113:3 130:13
   136:19 138:25      tells 70:5              79:24 80:8,12,20      132:4,16 135:12
   139:7,15 140:9     tendered 176:14         90:8 102:14,18        139:23 164:12
   155:13,19          term 6:11 18:5          103:7 111:22        threw 156:19,21
   158:15,16            106:18 107:3          112:8 113:2,9,22    throw 81:7
   159:17,22,24         145:21 164:17         117:20 118:15       throwing 81:15
   170:4 171:19       terminate 16:24         123:14 124:14       thyroid 19:6
   172:5,11 173:8     terminated              127:13 133:3          23:24 24:2
   173:12,25            12:19 13:8            137:20,22           time 1:17 3:12
   174:23 175:3,14                            138:19 141:2          5:22 13:8 16:20
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS       Document 90-1     Filed 04/07/25    Page 88 of 93


[time - trust]                                                                 Page 38

   18:3 20:6,9          title 11:12 26:10       169:16,19 174:3     travel 114:5,8,22
   24:21 26:11             27:12,16,18,21       174:4 175:25          115:13,21,22
   32:20,20 40:12          40:7 65:17           181:8,19 182:19       119:7
   41:3 42:17           titles 65:19          top 54:14 62:25       trazodone 23:23
   44:25 45:8 47:7      today 8:2 93:10         105:23                24:9
   49:4 55:15,16           172:21 185:5,14    topic 56:21           treasurer 157:24
   56:9,11,13,16,20        185:24 186:2         115:2                 157:25
   65:12 74:23             187:5,9            topics 105:2          treated 22:8
   75:4,20 76:3,7       today's 3:11          totally 125:17          112:11 120:19
   77:17,21 81:25          5:13               tour 80:20              120:24 121:6
   83:10 86:15          told 13:5,10          traditionally           122:24 123:8,15
   88:2 93:3,6,23          14:11,16,21          32:14                 125:4 185:12
   95:14,17 99:18          15:22 16:7         transcribing          treating 19:9,13
   108:16 116:4            17:10 20:16,18       7:13                  19:16,22,25
   117:3,16 126:18         30:25 34:6 38:3    transcript 190:6        20:13 23:5
   126:21 127:5            54:10,11,25 55:3     190:20 192:5,8        24:19 121:10,11
   132:7 141:13            55:21 58:2,18      transcription           128:3
   142:19 143:2            59:11,14,16          189:8               treatment 21:19
   145:3,10 149:11         65:24 70:12        transfer 55:25          21:22 23:17
   149:12 150:18           71:9,25 72:12        56:6,7,19,24          112:18 185:5
   150:20 151:7,11         74:3 76:7 82:6,9     57:2,13,15 58:6     treatments
   154:11 157:18           84:15,18,22,24       60:17 61:9            83:16,16
   161:14 167:8            85:23 86:7,12,12     62:13 63:23         tried 53:9 129:9
   168:5,15 178:9          86:17,18 88:14     transferred             129:25 133:6
   178:11,12,17            91:16,21 97:24       55:19,22 57:2,9       136:10 137:2
   179:4,6,16              98:25 101:3,4,16     57:16 58:15,21        138:2 143:25
   180:18,21               107:21 111:2,3,5     58:25 60:6,10         144:9 163:9
   183:22 187:7,11         111:6 114:12,23      61:25 62:5,8        trimmer 49:11
   190:19                  115:21 118:11        63:10,13              49:13,17,21 52:5
 timeframe 190:8           120:9,16 122:7     transferring            52:7 170:5
 times 42:6,7              122:11 123:22        59:22 60:13         trimmer's 50:7
   52:13 56:22             125:23 126:6       transition            trophies 103:13
   77:25 79:10             130:6 133:11,17      175:24                103:15
   93:24 100:13            136:14 144:15      transport 153:9       true 17:13 87:5
   102:15 115:16           144:15 148:20      transporting            189:8 192:8
   137:21 155:14           163:11 164:10        154:6,15 155:15     trust 166:11
   155:22 164:12           164:14,16,25         155:20                168:2
                           166:8 167:5
                                   Veritext Legal Solutions
                 215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS     Document 90-1     Filed 04/07/25    Page 89 of 93


[try - veritext.com]                                                         Page 39

 try 7:22 14:20        unable 79:20         unintelligible        usage 56:11
   40:4 52:24 92:8     underground           78:9                 use 117:6 131:13
   123:6 137:21         70:8                union 51:18             138:24 145:21
   143:23 171:23       underprivileged       130:25 184:7           154:15 155:10
   173:12 180:16        112:21              unisex 131:6            156:25 157:6,19
 trying 18:21          understand 5:15      unit 33:9 39:9          158:10,21 159:2
   75:9 87:23           6:11,12 11:21        40:10,13,16 46:5     usually 65:13
   89:20 104:17         15:9 36:22           46:7,11,12,13,15     utilize 89:5
   111:17 123:7,13      38:13 40:15          46:19 47:2,6,22        153:9 162:14
   132:22,23 134:8      45:21 106:18         48:7 51:16           utilized 130:14
   134:9 135:23         110:17 113:7         55:20,22 56:8,20     utilizes 154:9
   138:11,22            119:15 145:21        56:23,24 57:3,9      utilizing 141:4
   140:23,24            166:14               58:6,9,15,22           142:11,20
   164:21 166:3        understandable        59:2,5,8,9,23                 v
   169:20               118:18               60:7,11,12,14
                                                                  v 1:7 4:10 190:4
 tumors 22:25          understanding         62:2,6,10 63:3
                                                                    191:1 192:1
 turn 146:13            18:4 35:13 61:7      63:10 65:6,7
                                                                  vacation 178:9
   166:19               68:11,17 70:23       84:8 86:10
                                                                    178:18
 turned 61:8            71:8 74:25           103:5 105:12
                                                                  van 158:8
 two 18:10 22:24        76:19 79:23          113:13 120:20
                                                                  vans 153:9,25
   31:8 46:23,23,24     88:22 92:17          121:13 128:19
                                                                    154:9,10,14,18
   47:7,9,12 56:4       96:25 97:13,16       129:21,24 140:7
                                                                    154:24 155:6,10
   62:17,19 75:10       98:20 122:4          140:8 142:25
                                                                    155:14,17,20,25
   86:9 93:24           127:7 128:9,12       146:20 168:10
                                                                    157:2,19 158:10
   138:2 143:4          137:17 171:12        168:24 169:4,23
                                                                    158:17
   161:3,24 169:5      understood 39:7       169:25 170:22
                                                                  vehicle 158:22
   177:17               39:25 60:5          united 1:2 3:8
                                                                    159:6
 type 162:3             87:22 90:3          university 70:2
                                                                  vehicles 157:6
   170:17              uneven 113:23         70:10 72:15,16
                                                                  verbal 7:16,23
          u            unfairly 112:11       72:18,24 73:13
                                                                  verbally 77:24
                        128:3               unpack 84:16
 u 21:4                                                             107:17,21,24
                       unfavorable          unpaid 148:9,17
 ulak 2:17 3:25                                                     108:2,4
                        151:4,14,16          149:24
   3:25 18:17,20                                                  verify 190:9
                        159:15              unsafe 89:19
   106:22 187:2                                                   veritext 190:14
                       unfortunately         131:12
 ultimate 60:18                                                     190:23
                        127:5 178:4         upset 58:7 68:23
 ultimately 37:23                                                 veritext.com
                       uniform 174:20        111:21 128:8
   143:16                                                           190:15
                        175:10               174:11
                                 Veritext Legal Solutions
               215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS    Document 90-1     Filed 04/07/25    Page 90 of 93


[versed - white]                                                            Page 40

 versed 26:21        waited 179:2           69:14,25 70:3        wednesday 37:7
 versus 3:16         walk 108:17            71:4,13 74:11         37:8
   81:13 170:17,20   walked 60:25           91:24 97:12,14       week 9:20,20
 viable 83:25         81:3                  101:7,10,16           34:4 37:4 57:18
   86:21 87:3        walking 108:8          102:16 115:10         67:13 75:25
 vibrant 83:12       wall 139:3,8           115:20,23             76:12 80:16
 vice 102:3          walls 82:5             128:15 131:8          87:9 92:4 139:9
 video 3:7           want 5:8 6:2,17        132:15 134:12        weekend 173:19
 videographer         6:23,23 14:20         134:13 136:19         174:17,18,19
   2:20 3:2,5 4:6     21:6 23:12            143:14 144:5,7        175:5
   20:6,9 44:25       24:23 31:25           144:12 152:6         weekends 42:2
   45:8 93:3,6        46:18,21 52:17        158:19 173:14        weekly 141:21
   95:14,17 145:3     68:19 70:6,7,14       173:15               weeks 138:2
   145:10 151:7,11    71:25 76:7,8         wants 59:15 66:2       143:4 177:17
   180:18,21 187:7    82:16 83:22           69:20 128:18         went 12:14
 videotaped 1:15      84:15 87:20           132:10 153:24         16:18 21:20
 view 131:14          90:18 92:8,9,21       165:15                37:8 49:8 52:9
 viewed 89:11         92:22 94:22          warning 78:6           57:18 61:2 62:3
 violate 59:4         95:2 103:6           watch 169:18           65:5 76:22
   162:11             105:7,19,20,21       water 82:24            78:24 80:25
 violated 80:9        106:6 107:10,20      way 6:7,14 7:18        81:2,2 82:11
   173:16             111:7 112:4,6         27:24 28:3,11         85:10 86:7
 vision 81:16         114:9 119:9,16        29:20 40:11           91:18,25 92:2
 visit 57:18 80:18    124:7,8 130:21        44:14 49:7            93:24 111:3
   81:2,24 169:9      131:19 133:2,19       64:10 76:14           129:22,23,25
 visitors 139:8       135:11 136:7,7        78:23 85:25           130:24 134:22
 vividly 105:18       136:13,21 137:4       90:9 102:13           136:25 140:13
 voicing 78:21        137:8,9,11            107:13 108:14         143:25 148:13
   80:12 89:9         140:16,17             112:3,24 115:8        148:19 149:24
 voluntarily          142:22 144:21         116:3 123:6           160:8,12 163:24
   129:24             148:25 160:17         156:25 159:5          165:10 166:12
 volunteer 142:17     165:14,14             172:7 173:15          176:24 177:12
 volunteered          166:15 167:7          174:25 189:12        west 169:8
   65:22              171:20 185:10        ways 166:2            whereof 189:14
          w          wanted 43:17          we've 45:17           white 82:15
                      57:9 58:21            73:16                 108:20 112:19
 w 167:14
                      59:17 60:6 63:2      wear 154:16            114:3 116:22,23
                      64:17 67:15           158:8                 116:25 118:25
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
  Case 2:19-cv-04078-RBS    Document 90-1     Filed 04/07/25    Page 91 of 93


[white - zenak]                                                             Page 41

  120:6 129:6        women's 127:23         170:18 174:19        year 78:25
  170:12,13          word 18:18             175:11,16              103:15 110:4
 whitley 21:2        worded 181:13          183:17                 141:9 147:19
 wife 144:9          words 98:5,10         workload 141:3          152:4 154:9
 willingly 158:20    work 5:16 6:6         works 45:23             180:6 184:11
 wimberly 148:15      7:3 12:3,6 19:5       92:19 184:8          yearly 154:24
  167:13              24:22,25 25:5,12     workweek              years 18:10,12
 winded 28:10         26:5 34:22            183:11                 26:18 27:14,17
 winter 67:14         37:24 42:3,4,22      world 114:5             27:20 45:25
 wires 138:23         44:14 46:6,15        worry 27:5 61:6         46:5 56:5 62:16
 wise 84:7 118:14     48:18 49:17           61:10                  62:19 82:14,22
  180:12              54:15 56:10          wrestling 114:2         91:19 103:18
 wishes 91:6          58:13 59:9 66:3       114:4,21 116:11        113:3 130:13
 wissinoming          71:24 79:18,21        116:19 117:18          132:4,16 178:6
  80:13,15 81:2       82:16,18 85:11        118:23 119:3           179:2 183:24
  87:7 89:15 90:2     126:21 127:5         write 163:11            184:10
  90:14,25 91:13      131:3 132:23         writing 96:2          yell 88:2 159:18
  95:22 96:8          141:18,23             97:11 98:6           yelled 78:4
  111:23 113:3        144:10 149:2,3,4      146:10               yelling 77:25
 withdraw 28:23       149:23 150:4,6       written 62:24         yep 166:18,20,20
 witness 4:8,10       150:13,21 151:3       77:23 78:6 97:8      young 55:13
  18:19 44:18,21      151:14,18 159:3      wrong 22:19             57:8 61:10
  94:16 95:7          164:19 173:18         117:24 124:23        younger 81:25
  106:20 187:6        175:5 183:10,11       138:20 154:3           85:16
  188:3 189:6,14     worked 8:6 9:7         159:13 164:24        yup 127:2
  190:8,10,12,19      26:12 31:21          wrongs 115:9                   z
 witnessed 112:8      32:18,19 42:21       wrote 55:20 95:8
                                                                 zenak 81:13
 witnesses 186:18     49:15 125:3                  x
  186:19             working 8:4 9:6
                                           x 1:4,10 6:21
 woman 71:5,5         10:20 18:23
                                            188:2,7
  71:14,14,22         22:18,22 25:24
  91:11 107:5,16      26:6,8,17 35:21              y
  107:22 125:19       38:15 46:24          y 4:10 6:22
  125:20 127:15       48:6 49:24             167:14
  127:22,22           57:20,24 58:3        yeah 24:11 71:3
 women 71:23          66:10 79:22            87:12 106:25
  124:25              130:9,16,17            178:12 182:4
                      151:24 152:2
                                Veritext Legal Solutions
              215-241-1000 ~ 610-434-8588 ~ 302-571-0510 ~ 202-803-8830
Case 2:19-cv-04078-RBS   Document 90-1   Filed 04/07/25   Page 92 of 93



                 Federal Rules of Civil Procedure

                                  Rule 30



     (e) Review By the Witness; Changes.

     (1) Review; Statement of Changes. On request by the

     deponent or a party before the deposition is

     completed, the deponent must be allowed 30 days

     after being notified by the officer that the

     transcript or recording is available in which:

     (A) to review the transcript or recording; and

     (B) if there are changes in form or substance, to

     sign a statement listing the changes and the

     reasons for making them.

     (2) Changes Indicated in the Officer's Certificate.

     The officer must note in the certificate prescribed

     by Rule 30(f)(1) whether a review was requested

     and, if so, must attach any changes the deponent

     makes during the 30-day period.




     DISCLAIMER:     THE FOREGOING FEDERAL PROCEDURE RULES

     ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

     THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

     2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

     OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
Case 2:19-cv-04078-RBS   Document 90-1   Filed 04/07/25   Page 93 of 93

               VERITEXT LEGAL SOLUTIONS
     COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

Veritext Legal Solutions represents that the
foregoing transcript is a true, correct and complete
transcript of the colloquies, questions and answers
as submitted by the court reporter. Veritext Legal
Solutions further represents that the attached
exhibits, if any, are true, correct and complete
documents as submitted by the court reporter and/or
attorneys in relation to this deposition and that
the documents were processed in accordance with
our litigation support and production standards.

Veritext Legal Solutions is committed to maintaining
the confidentiality of client and witness information,
in accordance with the regulations promulgated under
the Health Insurance Portability and Accountability
Act (HIPAA), as amended with respect to protected
health information and the Gramm-Leach-Bliley Act, as
amended, with respect to Personally Identifiable
Information (PII). Physical transcripts and exhibits
are managed under strict facility and personnel access
controls. Electronic files of documents are stored
in encrypted form and are transmitted in an encrypted
fashion to authenticated parties who are permitted to
access the material. Our data is hosted in a Tier 4
SSAE 16 certified facility.

Veritext Legal Solutions complies with all federal and
State regulations with respect to the provision of
court reporting services, and maintains its neutrality
and independence regardless of relationship or the
financial outcome of any litigation. Veritext requires
adherence to the foregoing professional and ethical
standards from all of its subcontractors in their
independent contractor agreements.

Inquiries about Veritext Legal Solutions'
confidentiality and security policies and practices
should be directed to Veritext's Client Services
Associates indicated on the cover of this document or
at www.veritext.com.
